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EXHIBIT A
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Day 1                                                               NAE Arbitration                                            15 June 2016

  1                             Wednesday, 15 June 2016                       1   MR NESBITT: As the Tribunal and the respondents are aware,
  2     (10.00 am)                                                            2     one of our witnesses, Mr Carbonara, who is based in
  3                  (Proceedings delayed)                                    3     Myanmar, unfortunately has a medical issue, which means
  4     (10.30 am)                                                            4     he is unable to travel. So we're arranging for him to
  5                      Housekeeping                                         5     give his evidence by video link, I think on Friday
  6     THE CHAIRMAN: Good morning, everyone. It is June 15, 2016.            6     morning.
  7       This is LCIA arbitration 132498.                                    7        The second issue is, again, as I think the Tribunal
  8         My name is Tom Webster. On my left I have as                      8     will have seen from the emails last night, in light of
  9       co-arbitrator Lord Hoffmann. On my right,                           9     Dr Moy's latest iteration of his production forecast
  10      Professor Lew.                                                     10     that has inevitably caused a delay to both Mr Filippi
  11        The first thing is if people on both sides could                 11     and Mr Good finalising their expert presentations. So
  12      have the attendees identify themselves for the record.             12     one remaining item on the agenda is to fix a time for
  13    MR NESBITT: Thank you, Mr Chairman. I am Simon Nesbitt.              13     those to be provided. Ditto Mr Good and Mr Taylor are,
  14      The Hogan Lovells' team beside me are Rob Shoesmith,               14     I understand it, preparing a revised joint report to
  15      Kate Wilford, Rowena Evans, Richard Trinick,                       15     reflect the new figures generated by the impact of
  16      Jess Webster, Mike Hornsey and Fred Kuchlin.                       16     Dr Moy's further amendments, and that also we need to
  17        And then from NAE and Eni, we have                               17     seek a deadline in respect of that.
  18      Mr Georgio Vicini, Gulio Caropreso, Giuseppe Cerrito,              18        We are, I think, in a position where we can propose
  19      Enrico Caligaris from Eni Legal, Mr Ellis Ebohon from              19     end of tomorrow, if that's satisfactory to the Tribunal.
  20      NAE Legal. We have Mr Michael Davison from                         20   THE CHAIRMAN: Very good.
  21      Hogan Lovells, and besides Michael is                              21        Respondents, any procedural issue? Then you can
  22      Ms Daniella Ascoli, who is our Italian-English                     22     respond in particular to the last item as regards the
  23      interpreter.                                                       23     timing.
  24    THE CHAIRMAN: Thank you very much.                                   24   MR WADE: The initial procedural issue which I must address
  25        Mr Wade, from the respondent's side?                             25     is my clients' reservation of rights in respect of

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   1    MR WADE: From the respondent's side, I am Mr Wade. Next to            1     jurisdictional matters, both before the High Court and
   2      him is Mr Gunning. Next to him is Mr Harley. Mr Malek,              2     before this Tribunal. There are two separate pending
   3      from Allied sits next to him. Beside -- I can't see who             3     matters still.
   4      is beside you, actually.                                            4        In relation to the service of joint expert reports
   5         Julie Forsyth is next to Mr Malek, and                           5     and presentations, I believe that the current version of
   6      Mr Maxime Girard from Navigant is next to them, and                 6     the reservoir engineers' joint statement is with
   7      I will allow the people on the back seats, sorry                    7     Mr Filippi, and if tomorrow works, then we are content
   8      gentlemen, to identify themselves.                                  8     with that, and the presentations should be delivered as
   9         Felicity Yates, Ayo Awe, Alex Thornton,                          9     soon as possible thereafter.
  10      Camille Arnold.                                                    10        There is, I believe, although that might have been
  11    THE CHAIRMAN: Thank you very much.                                   11     remedied already -- I'm not sure we have received the
  12         First of all, before we start, thank you very much,             12     updated index of the bundles, and so the bundles were
  13      everyone, for the efforts to be here and be prepared by            13     amended yesterday, and we don't have a consolidated
  14      June, following our case management conference of                  14     index of those. That would be helpful. I am sure it is
  15      October. Your efforts are very much appreciated.                   15     coming.
  16         The Tribunal views that it is appropriate in                    16   THE CHAIRMAN: You can check on that and work that out
  17      international arbitration to proceed with reasonable               17     between the parties. As regards the timing as well of
  18      speed, that's why we have proposed this schedule, and              18     any updated joint report, again we would ask you to work
  19      you've accomplished it, thank you.                                 19     that out between the parties and then get back to us
  20         From a procedural point of view, any issues on the              20     with how you see that coming out, and the Tribunal will
  21      claimant's side?                                                   21     be happy with what you have worked out within reasonable
  22    MR NESBITT: I have couple of housekeeping points,                    22     limitations.
  23      Mr Chairman, if you want me to raise them now, if that's           23        Now, with that, start with, I believe, the opening
  24      what you mean by procedural points?                                24     presentation of the claimant first. The court reporters
  25    THE CHAIRMAN: Yes.                                                   25     have asked me to propose to you that there be

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                                                                                                                          1 (Pages 1 to 4)
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  1       a mid-morning break at some point, so you might want to              1       page 9 at tab 1 you will see there, in Article 1.1,
  2       factor that in.                                                      2       which is the definition section, the definition of "the
  3         I think that was factored into your timetable to                   3       transferred interests".
  4       a certain extent, but I just make that point as                      4          So those transferred interests comprised, first,
  5       a warning.                                                           5       NAE's 40 per cent interest in the two deep offshore oil
  6     MR NESBITT: A point well taken, Mr Chairman. Sorry, just               6       mining leases, OMLs, 120 and 121, the transfer of which
  7       in response to what Mr Wade said. I think he said that               7       was effected by way of a deed of assignment on
  8       the revised reservoir experts' joint report is with                  8       completion, and it is OML 120 which contains the only
  9       Mr Filippi. As far as I'm aware, it is not suggested                 9       producing discovery in the block, the Oyo field.
  10      that there be a revised reservoir experts' report,                  10          The second important element of the transferred
  11      Mr Filippi simply requires additional time to prepare               11       interests concerned the production sharing contract,
  12      his PowerPoint presentation, which is what we're                    12       which the parties entered into in 2005 and pursuant to
  13      proposing he'll be able to provide by the end of                    13       which NAE was operating contractor of the Oyo field.
  14      tomorrow. It's the quantum experts who, as I understand             14       That part of the transferred interests is more
  15      it, are preparing a revised joint report.                           15       particularly defined in the SPA as:
  16    THE CHAIRMAN: Very good. Thank you for the comment. We'll             16          "All of the sellers [that's NAE's] rights,
  17      let the parties work that out between themselves and let            17       interests, duties, liabilities and obligations under the
  18      us know if there's an issue.                                        18       PSC or deriving therefrom, including its liabilities and
  19            Opening submissions by MR NESBITT                             19       obligations as operating contractor."
  20    MR NESBITT: Thank you, Mr Chairman.                                   20          That part of the deal was completed by way of the
  21        With my colleagues from Hogan Lovells I appear for                21       deed of novation. Just for reference, you don't need to
  22      the claimant in this arbitration,                                   22       turn it up yet, but that's in bundle G21, at tab 560.
  23      Nigerian Agip Exploration Ltd, a subsidiary of the                  23          I should also add that also being transferred to
  24      international oil and gas company Eni SpA.                          24       Allied was all joint property, meaning materials,
  25        My clients claims are declaratory and monetary                    25       equipment, plant, machinery, et cetera, which had been

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   1       relief in respect of sums, which have at least in part              1       acquired for petroleum operation by NAE during the
   2       been outstanding for almost four years. In the                      2       course of the parties' co-operation.
   3       meantime, the respondents and their affiliates and those            3          It is a matter of record that Allied has held the
   4       who own and control them have been enjoying the full                4       OML since 1992, and that, apart from a relatively brief
   5       benefit of the assets in respect of which those payments            5       period of co-ownership with BP and Statoil during which
   6       are due.                                                            6       two exploratory wells were drilled, no serious
   7          Now, I have no doubt that the Tribunal has, not                  7       development activity was undertaken until NAE came on
   8       least as a result of the numerous interim applications              8       board.
   9       and hearings that there have already been in this                   9          It is also a matter of record that during its period
  10       arbitration, already acquired a very substantial degree            10       as operating contractor NAE has expended approximately
  11       of familiarity with the background facts which have                11       $1.3 billion in capital and operating costs on the Oyo
  12       brought us here today. But the nevertheless, I will                12       field.
  13       start with a little of the background. As we proceed,              13          Now, to that operating cost, Allied has contributed
  14       I will give you the bundle references for the documents            14       precisely zero, with the exception of the amounts that
  15       I mention, but unless you would like to or                         15       it did pay towards the GSO, although not all of those,
  16       I specifically invite you to, it shouldn't always be               16       as we know, have in fact been paid and the balance of
  17       necessary to turn the documents up.                                17       which forms part of NAE's claim in this arbitration.
  18          Under the SPA or sale and purchase agreement entered            18          Moreover, of those operating costs, NAE paid
  19       into at the end of 2011 and amended and completed in               19       approximately $60 million to Allied in respect of
  20       mid-2012, NAE contracted to sell to Allied Energy Plc              20       services provided by them during the period of NAE's
  21       what is defined in the SPA as "the transferred                     21       operatorship. And during its tenure as the contractor,
  22       interests". It might be helpful if at this point you               22       NAE conducted significant further exploration
  23       have to hand bundle A1, which is the so-called core                23       activities, culminating in the drilling of two new
  24       bundle, which contains a copy of the SPA and its                   24       wells, Oyo-5 and 6, of which Oyo-5 was the second
  25       amendment number 1. Indeed, if you care to turn to                 25       longest horizontal open hole gravel pack well in the

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   1     world at the commencement of production.                    1         Turning, first, to the deferred payments. The only
   2        So in return for the transferred interests under         2      issue remaining for the Tribunal to determine is whether
   3     clause 4.1 of the SPA, which you'll find at page 15 in      3      it has jurisdiction to make an award (a) as against
   4     the same tab, Allied agreed to pay a total consideration    4      Allied in respect of all of the deferred payments, and
   5     of US$250 million plus or minus certain adjustments, and    5      (b) as against CIL in respect of the third deferred
   6     of that $250 million, 100 million was payable on            6      payment, the first two having been addressed in your
   7     completion with the remaining 150 payable in equal          7      second partial award.
   8     instalments during 2013 and 2014 to be secured as           8         Indeed, that is a question that you have effectively
   9     originally agreed by a bank guarantee. Meanwhile, the       9      already determined in NAE's favour in relation to CIL's
  10     adjustments were to be addressed on completion on          10      payment obligation under the guarantee, and there is
  11     an estimated basis, with any positive estimated            11      nothing in Allied's evidence or its latest submissions
  12     adjustment payable immediately, subject to                 12      which suggests that you should reach a different
  13     a post-completion process for dealing with any             13      decision in relation to Allied's payment obligation
  14     additional payment or refund due either way once the       14      under the SPA. On the contrary, as set out at 2.6 of
  15     final figures were known.                                  15      our pre-hearing submissions, the position as regards
  16        But as the Tribunal knows, on 28 June 2012 at           16      Allied is even more straightforward.
  17     Allied's request the parties agreed certain amendments     17         Now, in a last-ditch attempt to avoid its liability
  18     to the SPA, including, importantly for this arbitration,   18      in its final formal re-amendment of its defence on
  19     first, the bank guarantee in respect of the three          19      22 April 2016, Allied ran a rather half-hearted double
  20     instalments of $50 million or the deferred payments was    20      recovery argument. You don't need to turn it up, but
  21     replaced with a guarantee in the sum of $150 million       21      the reference is bundle B1, tab 4, page 113 at
  22     from CAMAC International Ltd, the parent company of        22      paragraph 176. In fact it is so half-hearted that
  23     Allied and now the second respondent in this               23      Allied seems to have already forgotten that it made it
  24     arbitration.                                               24      and makes no reference to it in its pre-hearing
  25        The payment dates for the three instalments were        25      submissions.

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   1    deferred to 31 December 2013, 2014 and 2015, and instead    1        If the argument is maintained, it is one that
   2    of being paid on completion, the adjustments were to be     2      appears to confuse the concept of claiming the same debt
   3    paid in three equal instalments, the first due six days     3      as against two different parties with recovering the
   4    after completion and the second and third due at 60-day     4      same debt against two different parties. As we set out
   5    intervals thereafter. In addition, certain changes          5      at 2.8 of our pre-hearing submissions, there is no
   6    market share made to the provision which refers to the      6      difficulty with the former.
   7    adjustment mechanism, and there is a dispute about what     7        Now, one curious feature of the failure to make the
   8    those changes mean.                                         8      deferred payments and, indeed, the adjustment payments
   9       Finally, in light of the deferral of payment of the      9      is that Allied's own chairman, Dr Lawal, seems to be
  10    adjustments, a second guarantee was provided, this time     10     unclear about whether liability for the payments is
  11    in the sum of $55 million, again by CAMAC International     11     denied or admitted and even whether they've been paid.
  12    Ltd. Because, of course, by that time the parties knew      12     In his witness statement in February 2016 he says that
  13    that the adjustments would be positive, rather than         13     NAE's claims are denied. The reference there is
  14    negative, and they also knew the approximate amount of      14     bundle E1, tab 1, page 3 at paragraph 11.
  15    the adjustments, as NAE had sent its estimated adjusted     15       This is what he said in a different context on
  16    statement to Allied on 21 June 2012, showing total          16     24 February 2014.
  17    adjustments of around 54.3 million, hence CIL's             17       (Video recording played to the arbitration)
  18    agreement to provide a guarantee with a ceiling of 55.      18   MR NESBITT: So here we have the chairman of Allied publicly
  19    With those amendments, the deal completed on the same       19     representing that he's invested into the acquisition of
  20    day, 28 June 2012, and the first payment of $100 million    20     ENI's interests in Oyo to the tune of in excess of
  21    under the escrow account arrangements set out in            21     $250 million while, as we sit here today, more than two
  22    clause 4.3 of the SPA was made.                             22     years since Dr Lawal made that statement, we know that
  23       Unfortunately, the first payment was also the last.      23     he has most certainly not invested in excess of
  24    Not a further cent of the agreed consideration has been     24     $250 million to acquire NAE's interest, rather his
  25    paid by Allied, and that is why we are here today.          25     investment is short by over $200 million, of which over

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   1     $100 million was already overdue for payment at the time    1        Conversely the respondents' position on the issue of
   2     he made that statement.                                     2     the delivery of the 8 August letter is remarkably
   3        Be that as it may, moving on to the adjustments. As      3     unclear. They do not attempt to commit to when or even
   4     the Tribunal is already aware, the adjustments concern      4     how the letter was delivered. They offer no more than
   5     liabilities which NAE incurred on Allied's behalf during    5     uncorroborated witness evidence as to how what they say
   6     the operation of the Oyo field, in part in conducting       6     their normal practice ought to have been, which they say
   7     the gas shut-off operation, or GSO, between                 7     would have been by hand or by courier to NAE's Abuja
   8     December 2010 and February 2011 -- those are the            8     office. The Tribunal will recall that the respondents
   9     so-called Oyo-5 GSO liabilities -- and in part during       9     were specifically asked at the 8 December 2014 hearing
  10     continued operations during the period from                10     on the guarantee claims to search for documents
  11     31 December 2011 up until completion on 28 June 2012,      11     evidencing delivery, and at the March CMC they expressly
  12     part of the so-called post-economic date liabilities,      12     confirmed that they had enough time to search for
  13     all of which Allied assumed liability for pursuant to      13     relevant documents, and they produced nothing, in our
  14     clause 11.2 of the SPA.                                    14     submission, of any relevance.
  15        Now, there are four questions before you relevant to    15        That seems very odd, frankly. If, as their normal
  16     the adjustments, as set out in the parties' agreed list    16     practice would suggest, the letter was delivered by
  17     of issues, and I will address each of them briefly in      17     courier or by hand, and in particular if the courier was
  18     turn.                                                      18     a reputable commercial courier, as is expressly required
  19        At this point, could I ask you to take out              19     by clause 17.1 of the SPA, even if the relevant
  20     bundle G21 and turn to tab 566.                            20     documents no longer exist in the files of Allied, it
  21        Now, the first issue before you is whether this         21     shouldn't be too difficult to ask the courier company to
  22     letter authored by Allied and bearing the date             22     check its database for the relevant period, or if it was
  23     8 August 2012, if it was indeed a contractually            23     delivered by hand to seek witness testimony from the
  24     compliant dispute notice for the purposes of clause 5.5    24     individual who delivered it. But they have come up with
  25     of the SPA. Apologies, I should have also requested        25     precisely nothing in terms of hard evidence and no

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   1     that you kindly keep open bundle A1 and this time turn      1     explanation has been provided as to what searches or
   2     to the second tab, which contains amendment number 1,       2     enquiries were made.
   3     and in particular we will be looking at page 65.            3        By contrast, despite being in the position of the
   4        So the issue is whether the 8 August letter was          4     recipient of the letter and, therefore, not required to
   5     delivered to and received by NAE within the ten business    5     bear the burden of proof of the date of delivery, NAE
   6     days stipulated in clause 5.5, which you'll see at          6     has, through its investigations, produced no less than
   7     page 65 and the provisions of which the Tribunal will be    7     five items of documentary evidence relevant to receipt
   8     already intimately familiar.                                8     of the letter, supported by witness evidence, and all
   9        If it wasn't delivered on time, we say that the          9     indicating that the date of receipt stamped on the
  10     respondents' defence to its liability to pay the sums      10     letter, 15 August 2012, was indeed the date on which it
  11     due, insofar as they are to be treated pursuant to the     11     was first received by NAE.
  12     adjustments mechanism, falls at the first hurdle.          12        Now, in answer to that, the respondents don't go so
  13        Now, in the SPA the parties agreed that it was for      13     far as to assert in terms that the letter would have
  14     the party making delivery to prove the fact and time of    14     been or even should have been received on the day it is
  15     delivery. The burden is on them. If you want to turn       15     dated, 8 August, or the day after, rather the
  16     it up, but it isn't really necessary just now, you will    16     respondents simply speculate about what NAE may or may
  17     find the relevant provisions at clause 17 of the SPA at    17     not have done or of events or processes which may or may
  18     page 35 of A1.                                             18     not have delayed delivery of the letter.
  19        Now, it is common ground that the dispute period        19        But that is all really beside the point because it
  20     expired on 9 August 2012. NAE's position is very clear,    20     was the respondents' responsibility to ensure that the
  21     it says that it received the letter on 15 August, well     21     letter was delivered to NAE within the contractual
  22     after expiry of the period, and relies inter alia on the   22     deadline, and it is for the respondents to prove on
  23     date stamp shown on the letter. That date stamp was        23     a balance of probabilities that they delivered the
  24     applied by the secretary of the gentlemen to whom the      24     letter to NAE by no later than 9 August, and they
  25     letter was addressed, Mr Caropreso.                        25     haven't done so. Indeed, in their most recent

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   1     submission at 11.33, the respondents indulge in what can    1     that this has not yet been done it is premature for
   2     only be described as further fanciful speculation about     2     Allied to comment or for the adjustment statement to be
   3     the meaning of the internal emails within NAE, which        3     final.
   4     followed the receipt of the letter, and in what one can     4        Now, on any fair reading that is not a dispute.
   5     only assume is something of a fit of desperation they go    5     Rather, it is the adoption of a position which was not
   6     so far as to contend that the internal correspondence       6     actually within the scope of possible reactions to the
   7     shows that NAE had concluded that the letter was            7     final adjustment statement contemplated in the SPA.
   8     received in time but in this arbitration has                8     Under the SPA, NAE could only send what it regarded as
   9     nevertheless decided to maintain the opposite. Of           9     a final adjustment statement. So to say it can't be
  10     course, that contention is not correct.                    10     regarded as final is essentially meaningless. It was
  11        Now, turning back to amendment number 1 to the SPA      11     the final adjustment statement. It wasn't a refusal to
  12     and looking in particular at clause 8, which I already     12     pay either in full or in part.
  13     mentioned but also clause 12, which is the redefinition    13        So if the Tribunal were to consider that the SPA as
  14     of the positive adjustment, the second issue before you    14     amended does in some way require the parties to agree
  15     is whether, if the Tribunal determines that the letter     15     some of the cost items, the only contractual process so
  16     arrived on time, it did or did not amount in substance     16     agreeing or not agreeing them was for NAE to include
  17     to a dispute notice within the meaning of clause 5.5,      17     them in the final adjustment statement. There was no
  18     which says that:                                           18     other process. And if Allied did not agree to them, for
  19        "The purchaser shall notify the seller of any item      19     whatever reason, it had to say so in terms and in time,
  20     or items that it wishes to dispute, together with the      20     and it didn't do either of those things. So it follows
  21     reasons for such dispute and a list of proposed            21     that the only possible and logical outcome of that
  22     adjustments."                                              22     process is that the costs fall to be treated as agreed
  23        So you need to determine whether what this letter       23     under the SPA. Until the commencement of this
  24     contains falls within the meaning of clause 5.5 in         24     arbitration, as we'll see in a moment, there was no
  25     respect of either seven cost items which were not          25     suggestion from Allied that it took issue with that

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   1     expressly listed out in paragraph 1 of part 1,              1     logical outcome.
   2     Schedule 1 to the SPA, that's the clause 12 of amendment    2        Now, in respect of the remaining cost items, by
   3     number 1 that we're looking at, or in relation to the 12    3     which I mean those that are expressly listed out in
   4     items which were.                                           4     clause 12 of the SPA amendment, the position is even
   5        I should say in fact the seven items are now reduced     5     clearer. To the extent that the August letter could be
   6     to six, as the respondents' quantum expert has conceded     6     said to refer to them at all, it simply says:
   7     that what's referred to as maintenance/repairs, which is    7        "Allied will require such additional time as is
   8     a cost item in the sum of $1.788 million, is the same       8     reasonable for it to fairly and adequately comment on
   9     thing as item 6 in clause 12, referred to as "assistance    9     the most recent adjustment statement and accordingly the
  10     field service engineer". The reference for that to the     10     dispute period provided under the SPA needs to be
  11     quantum experts' joint report is bundle E3, tab 4,         11     reasonably extended."
  12     page 19.                                                   12        So that, again, is not a dispute, it is a request
  13        Now, we address the issue of the contents of the        13     for an extension, a request for a variation of the SPA,
  14     8 August letter in some detail at 3.39 to 3.66 of our      14     which had clearly provided that time was of the essence
  15     pre-hearing submissions, and I am not going to repeat      15     for disputing the final adjustment statement. That
  16     all of those points. But the essence of our position is    16     request was not granted by NAE.
  17     that if the respondents had wanted to dispute any items    17        So we say that the letter was not in substance
  18     of cost, then they had to say so in terms as required by   18     a dispute notice.
  19     clause 5.5. They had to say "We dispute this in that       19        The third issue is whether NAE otherwise waived the
  20     amount for the following reasons and here is our propose   20     contractual requirements for a dispute notice. And,
  21     the list of adjustments". They did not do that, rather     21     again, we've addressed that issue in some detail at 3.71
  22     in respect of the six cost items, although, of course,     22     to 3.84 of our pre-hearing submissions.
  23     the letter doesn't actually provide any list of specific   23        Again, the essence of our position is that there is
  24     items, they simply say that those items were to be         24     nothing in any of the letters sent by NAE, either before
  25     agreed between the parties after completion, and given     25     or after 15 August 2012, which was inconsistent with its

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   1     position that the 8 August letter had been received out     1     letter validly disputed the entirety of the final
   2     of time or was inconsistent with the expectation that       2     adjustment statement, which, of course, we say it
   3     Allied would meet its contractual deadlines and comply      3     doesn't, nevertheless the Tribunal still has a job to do
   4     with its obligation to pay the adjustments. Indeed, the     4     in respect of the adjustments. The parties can't agree
   5     striking feature of that correspondence is not so much      5     on the meaning of their contract and, indeed, two
   6     what NAE said as what Allied didn't say. If, as is now      6     independent accountants, the parties' respective quantum
   7     suggested, Allied genuinely believed that it had issued     7     experts, Mr Taylor and Mr Good, they can't agree if they
   8     a valid dispute notice in time, why did it not write        8     are qualified to interpret the parties' contract for
   9     back to NAE to say so? The people behind Allied are not     9     them. You'll see that from their joint report,
  10     slow to go into print when they believe that they have     10     bundle E3, tab 4, at page 91.
  11     a complaint. But Allied didn't do so, rather it did        11        They can only agree what the financial implications
  12     what it always seems to do when it is faced with           12     would be if one or other of the different possible
  13     a demand for payment, it sought more time to pay.          13     interpretations of the contract is upheld. So it is
  14        If I could ask you to turn up bundle G22, which is      14     only in light of a determination as to the meaning of
  15     just the next one in the sequence, and turn to tab 600,    15     the SPA that there could be a resolution to the
  16     this is a letter sent by Mr Kamoru Lawal to Mr Casula,     16     adjustment claims dispute, and there is no reason why
  17     the chairman of NAE, on 1 October 2012, so that's after    17     this Tribunal should not now make that determination.
  18     all of the various letters of demand for payment have      18        In any event, the Tribunal still retains
  19     been sent by NAE.                                          19     jurisdiction over NAE's alternative claim for these sums
  20        He says as follows -- I am looking here at about        20     under clause 11.2 of the SPA, to which no jurisdictional
  21     four lines from the bottom of the first paragraph:         21     objection has been taken. The value of the 11.2
  22        "To enable Allied to fund the new wells while           22     indemnity claim is simply commensurately greater or
  23     meeting its current OPEC's obligations, we request that    23     smaller, depending on whether the Tribunal determines it
  24     the payment of the positive adjustment be rescheduled      24     has jurisdiction over none, some or all of the amounts
  25     until December 31, 2016, such time being after the wells   25     claimed as adjustments.

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   1     will have been drilled, additional production will have     1        Now, Allied now says that that's not the effect of
   2     come on stream and the deferred payments will have been     2     the SPA as amended because the amounts claimed under the
   3     made."                                                      3     indemnity provision were excluded from the entire scheme
   4        So no indication of any unhappiness with the amount      4     of the SPA, and they say that at 15.14 of their
   5     of the adjustments. You can put bundle G22 away.            5     submissions.
   6        The final issue, if we're wrong in relation to the       6        Now, we say that that is not a tenable reading of
   7     six cost items, i.e. the Tribunal decides that Allied       7     clause 12 of amendment number 1, because that relates
   8     did serve a valid dispute notice as regards those items     8     expressly only to the positive adjustment and the
   9     on time or that NAE otherwise somehow waived its rights     9     question of what items it should include and when they
  10     to insist upon compliance with the contract, is whether    10     should be paid. Essentially, the whole scheme of the
  11     the Tribunal nevertheless still has jurisdiction to        11     adjustments sets out a payment mechanism, whereby NAE
  12     determine NAE's claim for those cost items insofar as      12     would have the comfort that it would receive payment of
  13     they are being treated under the adjustments mechanism.    13     those specific sums in accordance with the defined
  14        Well, if the Tribunal has jurisdiction to determine     14     schedule relating to costs arising within the wider
  15     NAE's claim in respect of all of the other cost items      15     context of the post-economic date liabilities.
  16     set out in the final adjustment statement, which we say    16        It says nothing about clause 11.2 or the amounts to
  17     plainly it does, as we say at 3.66 of our submissions,     17     be covered by the indemnity, and clause 11.2 was left
  18     it would be somewhat inconsistent with the principles      18     completely untouched by the amendment. There is no
  19     that the respondents have so enthusiastically embraced     19     witness evidence of any discussion about clause 11.2.
  20     in respect of the PSC claims for the Tribunal, one         20     And the post-economic date liabilities in Article 1.1 of
  21     seized of disputes regarding the final adjustments         21     the SPA are expressly defined to include "any
  22     statement, to stop in midstream and leave determination    22     liabilities incurred by the seller not taken into
  23     of some of the cost items to accountants in a procedure    23     account in full in the adjustments".
  24     that has never been instigated by either side.             24        So the respondent's jurisdictional argument comes to
  25        Even if you were to consider that the 8 August          25     nothing, whichever way you look at it. It is for the

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   1    Tribunal to determine what the SPA means, the payment of     1     aspect of the Oyo field from highly technical reservoir
   2    what amounts NAE is entitled now by way of adjustments       2     drilling and production information, to every contract
   3    and to what amounts it is entitled under the clause 11.2     3     entered into with every service provider.
   4    indemnity.                                                   4        The other unusual feature of this relationship is
   5       NAE has been out of its money wholly unjustifiably        5     that, financially speaking, it was completely one-sided.
   6    for a very long time and Allied needs to pay up.             6     Allied never paid or contributed to a single cash call
   7       I am going to turn now to the counterclaims which         7     in the entire history of the parties' relationship, and
   8    the respondents have brought in this arbitration.            8     the entirety of petroleum operations on the Oyo field
   9       We have said many times, and I repeat, that we            9     were financed by NAE, as I said, to the tune of
  10    believe that these counterclaims are no more than           10     $1.3 billion. However, in return for that zero
  11    a tactic to string out this arbitration and to delay the    11     contribution, and despite the lower than expected
  12    recognition of Allied's liability for NAE's claims. In      12     production from the field, Allied nonetheless lifted
  13    the post-SPA completion correspondence between the          13     around $150 million in crude oil produced from the Oyo
  14    parties, with which the Tribunal is already familiar,       14     field over the relevant period.
  15    there was no mention of any such claims. In fact, there     15        So against that background, in my submission, it is
  16    was no mention at all until this arbitration was            16     not plausible to suppose that NAE either by agreement or
  17    commenced by NAE. To some extent, bearing in mind that      17     inadvertently would have left itself exposed to the
  18    we have been in arbitration for some two and a half         18     possibility of historical claims by Allied in respect of
  19    years now, that delay tactic has been quite successful      19     petroleum operations. And they didn't, which brings me
  20    but NAE believes that it needs to stop now.                 20     back to the two there's hold questions.
  21       Now, as I mentioned at the recent CMC, there is          21        As the Tribunal will recall from the preliminary
  22    a long list of reasons why the counterclaims don't begin    22     issues hearing back in July 2014, it is NAE's position
  23    to get off the ground. We've set them out in                23     that any possible liability for claims of the sort now
  24    considerable detail in our submissions, so I will touch     24     being run by Allied is excluded by the express terms and
  25    on them here only briefly and in a moment we will           25     effect of the deed of novation.

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   1     address you on two important threshold issues.              1        Now, strangely, and perhaps in a sign of how keen
   2        But just by way of introduction, the counterclaims       2     they are to avoid the issue, the respondents -- and this
   3     are essentially for breaches of the PSC entered into in     3     appears even in their pre-hearing submission at 9.16 --
   4     July 2005 and eventually novated to Allied in June 2012.    4     continue to insist that the issue is already res
   5        Now, it is clear from the documents and the evidence     5     judicata in their favour as a result of the Tribunal's
   6     that this was not a typical operator/non-operator           6     first partial award. However, that was not one of the
   7     contractual relationship, where often the non-operator      7     preliminary issues being treated at that time, and the
   8     takes a bit of a back seat, pays his cash calls, and        8     majority of the Tribunal, you will recall, expressly
   9     lifts crude oil cargoes in proportion to his                9     stated that it was not determining that point. If you
  10     participating interest. On the contrary, in this           10     need the reference, it is hearing bundle C2 at tab 5,
  11     relationship, and however much the respondents now try     11     page 41, paragraph 133.
  12     to play down their role, the Allied parties and            12        Now, we maintain our position that the effect of the
  13     individuals wanted to be and were actively involved in     13     deed of novation was to exclude NAE's historic liability
  14     petroleum operations with personnel on the ground in       14     to Allied in respect of petroleum operations, and we
  15     Nigeria, including on the FPSO, regularly making           15     adopt our submissions that we made for the preliminary
  16     proposals and suggestions, reviewing and approving work    16     issues hearing on that point. For reference you can
  17     programmes, budgets, and key operational decisions, and    17     find those at bundle C1, tab 1, page 6 and tab 4,
  18     receiving information on a daily basis.                    18     page 94.
  19        That that is what the parties intended and wanted is    19        We say that its terms and meaning are clear. The
  20     also reflected in the terms of the co-operation            20     respondents say in their pre-hearing submissions -- this
  21     agreement and the secondment agreement, which they         21     is at 9/16 -- that the deed of novation expressly
  22     entered into in January 2016, and the master services      22     preserves Allied's rights against NAE, but they don't
  23     agreement of February 2009, as well as the integrated      23     explain how it does that. In fact, the deed of novation
  24     management team that they set up. Above all, they          24     states in terms that Allied will assume the liabilities
  25     enjoined very detailed knowledge of pretty much every      25     and perform the obligations under the PSC in place of

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   1     NAE. It is difficult to imagine how you can assume                   1       them -- please tell me if that's the case -- instead,
   2     something which doesn't yet exist, and so that must mean             2       I have a few slides to demonstrate what I am saying.
   3     that Allied was assuming past as well as future                      3          Before we begin with those, a few words as to the
   4     liabilities, and in that sense NAE's position is on all              4       nature of the counterclaims in general. On the
   5     fours with the views expressed by Mr Boswood QC in his               5       respondents' case, all claims concern only the Oyo
   6     dissenting opinion in October 2014, which is in                      6       field. The Tribunal will have seen the reference to
   7     bundle C2, tab 6, at page 73.                                        7       a partial assignment of the respondents' interest
   8        But even if the Tribunal disagrees with that                      8       dividing the Oyo and the non-Oyo interests for a short
   9     interpretation, such that it considers that the correct              9       period in 2010 and 2011. But it's common ground that
  10     construction of the deed of novation is that all                    10       non-Oyo part is not relevant to this arbitration.
  11     liabilities under the PSC incurred up to the economic               11          Second, all claims derive from the parties'
  12     date stayed with NAE, now that, following receipt of                12       participating interests under the PSC. It is that
  13     Mr Taylor's quantum report, we have seen for the first              13       contract alone that confers relevant rights and
  14     time how the respondents in fact approach the different             14       interests on the parties, including the right to assert
  15     elements of the quantification of their claims, we know             15       any of the potential counterclaims.
  16     that those claims are either legally impossible or are              16          There are some loose references in the respondents'
  17     brought in respect of the alleged losses of an entity               17       pleadings to a diminution in value of the OML's, but
  18     for whom no claim has ever been asserted in this                    18       Mr Taylor's report makes clear that what he calculates
  19     arbitration, either directly or via the supposed agency             19       and what is apparently claimed for is the effect of
  20     of Allied.                                                          20       NAE's alleged breaches on the value of the beneficial
  21        At this point, I am going to give you some relief                21       interests under the PSC.
  22     from me and handover to Mr Shoesmith, who is going to               22          Third, save in respect of a gas flaring fine, which
  23     expand on that with the help of a short presentation.               23       is valued about $1.5 million, I am not going to touch on
  24    MR SHOESMITH: Just before I begin -- thank you -- I wonder           24       that in this part of the presentation, all claims derive
  25     whether we might need a little more relief, given it is             25       from alleged breaches of a single provision of the PSC,

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  1       20 past 11. I have about 20 minutes' worth of material.             1       and that's Article 7.1(a). Mr Nesbitt will talk about
  2       I wonder whether you would like to hear me before or                2       that in more detail once I am finished.
  3       after the break?                                                    3          So moving on to my slides, the respondents'
  4     THE CHAIRMAN: Court reporters, would you like a break now?            4       collective potential counterclaims can be divided
  5       So we will resume in 15 minutes.                                    5       roughly through three limbs. I've have to apologise,
  6     MR SHOESMITH: Thank you.                                              6       I can't quite keep up with the changes of position. As
  7     (11.22 am)                                                            7       of about 7.30 last night this was the position. It's
  8                  (A short break)                                          8       now clearly going to change again on the respondents'
  9     (11.43 am)                                                            9       side. But three limbs.
  10    THE CHAIRMAN: Mr Shoesmith.                                          10          First, in respect of Allied's own loss. That's
  11           Opening submissions by MR SHOESMITH                           11       attributable to what is called the NAE beneficial
  12    MR SHOESMITH: Thank you, Mr Chairman.                                12       interest. That's 40 per cent participating interest in
  13        So, as Mr Nesbitt touched upon before the break, at              13       the PSC that Allied that acquired from NAE on
  14      sections 7 to 11 of NAE's pre-hearing submissions the              14       28 June 2012, and that's currently, I have to say now,
  15      Tribunal will have seen that questions have arisen                 15       quantified based on Mr Filippi's reservoir model at
  16      following the submission of the respondents' quantum               16       $8 million approximately, I don't think that will
  17      experts' evidence as to the nature and viability of the            17       change, and based on Dr Moy's latest model until last
  18      counterclaims. So I propose to provide the Tribunal                18       night approximately $380 million.
  19      with an overview of the circumstances relevant to that             19          Second, in respect of the Allied CINL beneficial
  20      issue and the consequences of it having arisen at such             20       interest for the period until the assignment of that
  21      an advanced stage in the arbitration, at four months               21       interest to CPL, that was on 7 April 2011. Though
  22      after the close of pleadings.                                      22       notionally a claim is said to accrue to Allied and CINL
  23        Like Mr Nesbitt, I will give you bundle references               23       in that respect, the parties' experts agree that Allied
  24      as I go along, but I don't propose to take you to any              24       and CINL suffered no loss in respect of that beneficial
  25      documents, unless you would specifically like to see               25       interest in that period. So the second bundle of

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   1     counterclaims is not really a claim at all.                 1     regard, again, we're not entirely clear, that appears to
   2        Third, perhaps surprisingly instead, the                 2     be asserted of as of at least February 2010, and that's
   3     respondents, through the eyes of their expert at least,     3     paragraph 6.7 of the respondents' pre-hearing
   4     seem to claim for losses allegedly suffered by CPL, the     4     submissions.
   5     affiliate that acquired the Allied CINL beneficial          5        Then there are two aspects of the Oyo-5 GSO, the gas
   6     interest in April 2010. Those losses, if they are           6     shut-off operation, namely delay in its planning.
   7     relevant, are quantified at either approximately            7     Again, we're not clear whether a separate damages claim
   8     2 million, based on Mr Filippi's model, or assuming it      8     is now maintained in that respect, but if it is, the
   9     remains the same somewhere in the region of 123 million,    9     alleged breach seems to have been between mid-January
  10     based on Dr Moy's model.                                   10     and coincidentally 7 April 2010. That's paragraph 5.10
  11        Now, the respondents arrive at that three-pronged       11     of the respondents' pre-hearing submissions.
  12     counterclaim through an analysis, and I would say          12        Finally, in respect of obtaining packers, as they
  13     a mis-analysis perhaps of various novations of the         13     are called, for the GSO. That failure is not really
  14     beneficial interests that occurred over the period since   14     dwelled upon at all in the respondents' pre-hearing
  15     2005. Let's start in 2005, then.                           15     submissions. So, again, there is a bit of doubt about
  16        At the outset of the parties' relationship, I've        16     that.
  17     a few pictures, as their name suggests there was the       17        In early 2010, therefore, the potential claims of
  18     40 per cent NAE beneficial interest, that's there on the   18     the parties can only have been as shown here. Looking
  19     left, being held up by a little NAE man, and               19     at the Allied/CINL side first, as indicated just now, it
  20     a cumulative 60 per cent applied Allied/CAMAC CINL,        20     is not certain whether breaches are alleged to have
  21     let's call it beneficial interests split 57.5 per cent     21     occurred prior to the novation date in respect of
  22     in favour of Allied, 2.5 per cent for CINL.                22     production, gas flaring, delay and packers. So I have
  23        There are no changes in the parties' beneficial         23     shown those on this slide as potential claims. They
  24     interests before the causes of action complained of        24     have a question mark in the appropriate box of bundle
  25     began to accrue. If they accrued, it was as follows.       25     claims for each party.

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   1        In respect of cementing of the 958 section of the        1        On the NAE side, as I will come on to and as
   2     Oyo-5 well at some point between July and October 2009      2     Mr Nesbitt alluded to already, there is even more
   3     we see that now from the respondents' pre-hearing           3     uncertainty. There is a dispute between the parties as
   4     submissions, paragraph 3.9 onwards.                         4     to whether NAE could ever have any claim for breach of
   5        In respect of beaning up of that same well, that's       5     contract against itself. NAE says that is simply not
   6     to say getting ready for production, accruing between       6     possible. But it is alleged those notional claims are
   7     October and December 2009, we see that from                 7     allocated on the slide along for everything else for
   8     paragraph 4.4 of the respondents' pre-hearing               8     demonstrable purposes. But I have put question marks in
   9     submissions. (Pause).                                       9     those boxes as well, just so you understand what that is
  10        If the respondents establish breach in respect of       10     about.
  11     the cementing and beaning up claims, there is no dispute   11        Whatever the viability of the counterclaims
  12     that those claims accrued before the first change in       12     allocated, for present purposes it's what happened next
  13     ownership of the beneficial interests. That was in         13     that is important, and that's the first deed of
  14     April 2010.                                                14     novation, as we're calling it.
  15        But it also seems likely -- you'll see on the slide     15        The parties disagree as to what was novated to CPL.
  16     there are some more potential claims. It's not entirely    16     The critical provision shown here in relevant part is
  17     clear, however, from the respondents' case that further    17     clause 2.1. So with effect from and including novation
  18     causes of action would have accrued in respect of          18     date Allied and CINL assigned to CPL all of their
  19     production from the Oyo-5 well, and that's between         19     respective rights, liabilities, duties, covenants,
  20     December 2009 and April 2010. Looking at the               20     undertakings, warranties, other obligations contained in
  21     pre-hearing submissions, it seems like a breach is         21     the PSC in respect of the Oyo field only, remember
  22     asserted as of December 2009. That's paragraphs 4.4 and    22     that's split, including all claims and demands in
  23     4.30 of the respondents' submissions.                      23     respect of the Oyo field arising in connection with the
  24        In respect of gas flaring, that's in the same           24     PSC. You have bundle reference there.
  25     period. If a separate damages claim is made in that        25        NAE's case is that that wording had the effect of

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   1       passing to CPL all of the claims shown on the previous              1     irrespective of whether that's in Allied or CINL's hands
   2       slide as having, on the respondents' case, accrued to               2     or in CPL's hands, the position is the same. The
   3       Allied and/or CINL. In NAE's submission that is the                 3     experts agree there is no loss.
   4       only possible reading of clause 2.1 because Allied and              4   LORD HOFFMANN: Yes.
   5       CINL would only ever have the right to claims that had              5   MR SHOESMITH: So I think we're here. I've shown this on
   6       already accrued as of the novation date. They could                 6     the slide by a little greyed-out no claim sign, so you
   7       never have a right to claims accruing thereafter because            7     can see that that's what happened.
   8       all rights had passed by agreement to CPL. It's the                 8        Over more or less the next two years, from
   9       same point that Mr Nesbitt made earlier as regards the              9     April 2010, the allocation of beneficial interest under
  10       three deed of novation, and I will come back to that.              10     the PSC remained the same in all relevant respects.
  11          The respondents' reading of that provision that only            11     I say "relevant" because, as I've explained, there is
  12       future claims passed, renders redundant the final words            12     there is non-Oyo element, and that's rejoining the Oyo
  13       regarding claims. They are effectively read out of that            13     element in the intervening period, but no claims arise
  14       provision.                                                         14     in respect of that.
  15          On 7 April 2010, in NAE's world view, the picture               15        So in that period of two years, the respondents
  16       therefore changes considerably. The only parties who               16     suggest that further claims arose or may have arisen if
  17       could conceivably have claims under the PSC at that                17     they'd not already accrued prior to April 2010. That's
  18       stage in respect of any matters occurred prior to the              18     by operation of Nigerian law, the claim accrues as at
  19       novation date are NAE, but I've already said that leads            19     the date of breach, further damages do not give rise to
  20       to considerable doubt as to that, and CPL, CPL having              20     a separate free-standing claim.
  21       acquired all of Allied and CINL's rights, including                21        So NAE and/or CPL may have gained additional claims
  22       expressly all claims. Allied and CINL, you will see on             22     in respect of production, gas flaring, delay and
  23       the slide, have none.                                              23     packers. Those are the alternative claims, if they
  24          Of course, that's of very little practical                      24     haven't already accrued.
  25       significance now because we know the quantum experts               25        In respect of the outcome of the GSO and the

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  1       agree that any such claims resulted in no loss in the                1       alternative procedures adopted, the relevant period for
  2       period prior to 7 April 2010.                                        2       those, December 2010 to February 2011, are the dates of
  3     LORD HOFFMANN: Sorry, say that part again?                             3       the GSO, so it is not contentious that they can only
  4     MR SHOESMITH: The parties' quantum experts agree that the              4       have arisen after the assignment.
  5       parties suffered no loss, there was no loss incurred for             5          Again, in the hope that it aids understanding, I've
  6       matters occurring prior to 7 April 2010.                             6       put this up visually here, or at least I've tried.
  7     LORD HOFFMANN: Right.                                                  7       CPL's pool of potential claims on the right has expanded
  8     MR SHOESMITH: So it doesn't really matter who held them,               8       but, as I've said, pre-and post-novation claims are
  9       whether it is Allied and CINL or whether it is CPL.                  9       alternative claims not cumulative claims, so they are
  10      Even a claim by CPL in respect of such matters is not               10       all shown here with a question mark.
  11      viable. If you recall, on my original slides going                  11          Allied and CINL continued to have no claims
  12      through the quantum experts' table, it is this one. It              12       whatsoever against NAE under the PSC.
  13      is categorised as Allied's loss in respect of the                   13          Of course, it remains NAE's position that
  14      Allied/CINL beneficial interest. The next line down                 14       post-novation claims against itself are as impossible to
  15      underneath the circling, loss between 5 December 2009               15       as pre-novation claims. It can't claim against itself,
  16      and 7 April 2010. Reading across, you'll see these are              16       but that's in dispute, and so, again, they are shown on
  17      negative figures here --                                            17       the slide just so that you can see what that looks like
  18    LORD HOFFMANN: Yes.                                                   18       on the respondents' case.
  19    MR SHOESMITH: -- they are a negative loss. They are no                19          The NAE dispute becomes relevant at this stage.
  20      loss at all.                                                        20       We're now at 28 June 2012 because NAE and Allied
  21    LORD HOFFMANN: After 5 December 2009 is --                            21       disagreed as to the effect of the third deed of
  22    MR SHOESMITH: From when the respondents say their cause of            22       novation, which they executed on that date. The
  23      action accrued, when the losses started to be incurred,             23       relevant wording as before coincidentally perhaps is in
  24      until the disposal of the relevant interest on the                  24       clause 2.1. That reads:
  25      7 April 2010. So obviously for that period,                         25          "The parties severally agree that with effect from

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   1     completion as to the terms defined in the SPA, NAE shall    1     potential counter-claimants against NAE, Allied, if it
   2     cease to be a party to the PSC in respect of the            2     acquired NAE's impossible claim against itself -- you
   3     transferred interest and Allied shall remain a party to     3     will see I have put an extra large question mark on
   4     the PSC and all agreements deriving therefrom and shall     4     that -- and CPL, having acquired potential claims
   5     assume the liabilities, perform the obligations and be      5     pursuant to the first deed of novation. Those were
   6     entitled to all the rights and benefits therein in the      6     untouched by the third deed of novation.
   7     place of NAE."                                              7        There never was and, it is now common ground, there
   8        NAE says that this wording has the effect of             8     never could have been any viable claim by CINL against
   9     assigning to Allied the entirety of its beneficial          9     NAE. The only viable claim it might have had on the
  10     interest in the PSC from the beginning. That is the        10     respondents' interpretation of the first deed of
  11     only sensible reading, as we've put in our submissions,    11     novation, even in their world view, is a claim that all
  12     of liabilities, which are separate from obligations in     12     parties agree resulted in no loss.
  13     this clause.                                               13        That is the position in which the parties found
  14        Like claims under the first deed of novation, the       14     themselves on the date when the counterclaims were
  15     liabilities referred to must have already arisen.          15     eventually brought, in October 2013. No further causes
  16     Future liabilities accrue to Allied as a result of the     16     of action, I have put on the slide, are said to have
  17     assumption of all obligations.                             17     accrued since 28 June 2012. Despite that, rather than
  18        Consistent with that, NAE also says that Allied         18     bringing claims on behalf of itself, Allied, were any
  19     acquired all rights from the beginning of their            19     such claims possible and CPL, Allied expressly commenced
  20     relationship, including any right that NAE may have had    20     arbitration only in respect of itself and CINL. You can
  21     to claim in respect of its interest under the PSC. But     21     see that from the response. That's at bundle B1, tab 2.
  22     we know a claim against itself is not possible. There      22     We don't need to go there now.
  23     is no such right.                                          23        What is more, it has at all points up to and
  24        Allied's position is less clear. Initially, it said     24     including the submission of its further amended defence
  25     clause 2.1 was of prospective effect only. We refer to     25     and counterclaim -- that was just a couple of months ago

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   1     at in our pre-hearing submissions at paragraph 11.45(b),    1     on 22 April 2016 -- claimed only in respect of losses
   2     but the more important reference perhaps is to Mr Wade's    2     allegedly suffered by Allied and by CINL. The bundle
   3     submissions at the preliminary issues hearing, and you      3     reference B1, tab 4, page 117.
   4     can find those in bundle C1, tab 4, page 166, starting      4        There is no indication on the face of the pleadings,
   5     at line 5. We don't need to go there now.                   5     despite their repeating formulation, of any intention to
   6        Following Mr Taylor's report, however, recognising       6     bring any claim on behalf of CPL. What the respondents
   7     that it has no viable claim against NAE by operation of     7     say they want, and have consistently said they want, is
   8     the first deed of novation, Allied's position now           8     for NAE to indemnify Allied and its affiliates but
   9     appears to be that clause 2.1 of the third deed of          9     crucially and expressly CINL in this case. You'll see
  10     novation has the curious result that Allied acquired all   10     that from the further amended defence and counterclaim,
  11     of NAE's rights in the NAE beneficial interest from the    11     B1, tab 4, page 92, and the paragraph reference, 123.1.
  12     beginning. That's consistent with NAE's reading, so        12        The respondents could not have been more clear as to
  13     that would include NAE's notional claim against itself,    13     what they intended to do. Nor has anything occurred
  14     were that possible. But at the same time, the              14     since the counterclaims were bought to change the
  15     respondents' case is that Allied left the corresponding    15     position as between the parties. You'll see I have put
  16     liability for past breaches with NAE.                      16     up here a reference to the 2013 transfer agreement.
  17        Now, not only is that not possible to see on the        17     That purported to reserve the respondents' right to
  18     face of this contract, which deals with rights and         18     claim against NAE, but we've seen there were no such
  19     liabilities together, but it is a legal impossibility.     19     claims in respect of the Allied CINL beneficial
  20     Whether as a matter of English law or Nigerian law, no     20     interest. They gave them away. And no claims accrued
  21     party can have a cause of action against itself, nor can   21     to Allied in respect of the NAE beneficial interest
  22     it assign that cause of action to another. But the case    22     because they are legally impossible. On their original
  23     is advanced against NAE in those terms, and that           23     view, they never passed in the first place but if they
  24     assignment is, therefore, represented here.                24     did pass, they don't go anywhere.
  25        On or after 28 June 2012 there are just two             25        The inclusion of reference to alleged losses of CPL

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   1     in the respondents' expert evidence clearly acknowledges    1           Going back to my original slides, that table, the
   2     the fact that CPL, rather than Allied, or CINL is the       2       largest claim by value, that's nearly $400 million on
   3     proper counter-claimant. But that reference does not        3       the respondents' best case, subject to any changes they
   4     amount to formally commencing a claim. Nor is it            4       may now like to make, that claim never came into
   5     sufficient that in the request for relief submitted with    5       existence in the first place. That's legally
   6     the respondents' pre-hearing submissions just last          6       impossible. It never vested in Allied because it is
   7     Friday that the respondents now formally seek an award      7       impossible for it to have been assigned, if it did
   8     of damages and declarations in respect of Allied, CINL,     8       exist. Alternatively, based on the wording of the third
   9     and their affiliates. The reference to the pre-hearing      9       deed of novation, clause 2.1, Allied took liability for
  10     submissions there are paragraphs 17.2.6, 17.2.7, 17.3.1,   10       it, together with the right to claim. So it has its own
  11     17.3.2.                                                    11       legally impossible claim against itself, and it goes no
  12        No claim has ever been brought on behalf of CPL. It     12       further than that.
  13     is to this day a non-party to the arbitration. In fact,    13           CPL's claim, which is valued at around 100 million
  14     the respondents' confusion in this regard is still         14       currently on the respondents' best case, subject to
  15     apparent in their pre-hearing submissions. They            15       change, was not brought before the expiry of the
  16     continue to refer at paragraph 2.7.1 to NAE's liability    16       applicable statutory limitation period. It has not been
  17     to indemnify Allied and its affiliates, expressly CINL     17       brought now. Not only are the respondents entitled to
  18     in this case.                                              18       no remedy in respect of it, but there is no remedy now
  19        The importance of CPL's absence is clear. The           19       available to CPL. If any claim remains at all -- it's
  20     period provided by the Nigerian Limitation Act for CPL's   20       NAE's case that it doesn't -- that claim in respect of
  21     claims under the PSC has in all material respects          21       the period up to 7 April 2010, based on the Allied/CINL
  22     already expired. The period as in English law is six       22       beneficial interest, it is agreed resulted in no loss.
  23     years from breach. That's section 7 of the                 23           For those reasons, sir, it is NAE's contention in
  24     Limitation Act, which you'll see at bundle H6, tab 1,      24       this arbitration that it has no case to answer.
  25     page 1.                                                    25           Mr Nesbitt is going to explain, unless you have any

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   1        So CPL's potential cementing claim, for example,         1       questions for me, how we arrive at the same conclusion
   2     expired in or around July or October 2015 at a time when    2       looking at the substance.
   3     the pleadings clearly show that claim had not been          3           Further opening submissions by MR NESBITT
   4     brought. The bean-up production claim, they seem to         4     MR NESBITT: Tempting though it is to simply stop there,
   5     come together, appears to have become statute-barred in     5       nevertheless we are obliged to proceed to address the
   6     around December 2015. Again, long before any intention      6       balance of the issues raised by the respondents in their
   7     was demonstrated to bring it.                               7       supposed counterclaims.
   8        So the two principal planks of the counterclaims         8          At this juncture, it would be helpful if you could
   9     cannot be brought either by CPL, who is not here today,     9       have to hand the PSC, which you'll find still in
  10     and is statute-barred anyway, or Allied or CINL, who       10       bundle A1 at tab 5.
  11     either the disposed of or never acquired the relevant      11     MR LEW: We need to keep out volume G21?
  12     rights to claim.                                           12     MR NESBITT: No, you can put that away, sir.
  13        Clearly, any other pre-novation claims -- remember      13          You may with to turn to page 136, where you will see
  14     that bundle with a question mark on them, if they are      14       the contractual provision which has a starring role in
  15     maintained there is some doubt in that respect -- also     15       this arbitration, according to the respondents, that is
  16     ran up against the statute bar on 6 April 2016. That's     16       Article 7.1(a). That is the sole contractual term of
  17     before the further amended statement of defence and        17       the PSC of which breach is alleged.
  18     counterclaim, before the pre-hearing submissions. Still    18          That provision required NAE to:
  19     no claim evident on the face of the pleadings.             19          "Prepare work programmes and budgets and carry out
  20        What is left, in particular in respect of the GSO,      20       approved work programmes in accordance with
  21     the respondents from their pre-hearing submissions now     21       internationally acceptable petroleum industry practices
  22     appear to accept does not form the basis of any viable     22       and standards with the objective of avoiding waste and
  23     claim, even if it were notionally possible. So once        23       obtaining maximum ultimate recovery of crude oil at
  24     that is particularised, it is apparent that there are no   24       minimum cost."
  25     viable counter-claimant against NAE.                       25     LORD HOFFMANN: Sorry, what page did you say?

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   1    MR NESBITT: Page 136 of the bundle. It is page 13 of the       1     implied because it doesn't need to be. Every oil
   2      contract itself.                                             2     industry employee knows that petroleum operations are
   3    LORD HOFFMANN: That's what I wanted. Thank you.                3     covered by a plethora of published practices and
   4    MR NESBITT: As set out in our submissions, the respondents'    4     standards which have been peer-reviewed and adopted.
   5      position on what Article 7.1(a) actually means, and more     5        The parties to this agreement were operating in the
   6      particularly what "internationally acceptable petroleum      6     deep offshore environment, which was in 2005, and still
   7      industry practices and standards" are, which I will          7     is today, a particularly hostile, challenging and
   8      hence forth referred as to "standards" for short, has        8     difficult environment. It is not surprising that in
   9      continually shifted ranging from what I think was an         9     those circumstances an operator would not be willing to
  10      attempt to apply what we would say is the correct           10     agree to operate to anything other than a very clearly
  11      interpretation of Article 7.1(a) by actually identifying    11     defined standard, and that is the bargain that the
  12      the standards they say are the relevant ones, and they      12     parties struck.
  13      did that in their reply to defence to counterclaim --       13   LORD HOFFMANN: Well, you say "clearly defined", but the
  14      which you don't need to turn up, but the reference is       14     word "acceptable" suggests what the medical negligence
  15      B2, tab 7, page 11, at paragraphs 28 to 30 -- to            15     people would call the Bolam test, doesn't it? That is,
  16      pleading, albeit in their expert evidence, a completely     16     if you can find a responsible body of opinion who thinks
  17      different standard to the one articulated in the PSC        17     that's the right thing to do, that would be acceptable,
  18      based upon the hypothetical views of a hypothetical         18     even though other people might do things differently.
  19      international oil company. Indeed, in their pre-hearing     19   MR NESBITT: Well, our and our experts' view on this, in the
  20      submissions the respondents go as far as -- and this is     20     context of the petroleum industry, is that "acceptable"
  21      at 1.14 of their pre-hearing submissions -- to criticise    21     means a practice or standard which has been
  22      the claimant's experts for being so foolish as to           22     peer-reviewed and endorsed by the industry at large and
  23      consider the actual language of the clause in expressing    23     written up in that way.
  24      their views on what it means.                               24   LORD HOFFMANN: That's a higher level of requirement, yes.
  25         They also, one page back in their pre-hearing            25   MR NESBITT: Yes.

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   1       submissions, which is page 5, rely upon a Nigerian         1    MR LEW: It doesn't mean there is only one practice.
   2       Supreme Court authority as to the correct Nigerian law     2    MR NESBITT: Indeed, indeed.
   3       approach to the construction of contracts.                 3    MR SHOESMITH: I think if it helps sir, the Bolam test
   4          Now, in my submission, that authority supports the      4      obviously is setting the bar. If you find an acceptable
   5       approach taken by the claimant in this arbitration,        5      standard, what a bank of practitioners might deem to be
   6       rather than that of the respondents, because it says:      6      acceptable, that is a defence. What we're looking at in
   7          "The meaning to be placed on a contract is that         7      the contract, of course, is setting a standard to which
   8       which is the plain, clear and obvious result of the        8      NAE must live up to and comply with. So it is quite
   9       terms used in the agreement."                              9      right. I think it two sides of the same coin: NAE must
  10          I am reading from the pre-hearing submissions but       10     not fall short of the higher threshold of peer-reviewed
  11       the relevant passage is quoted.                            11     embedded standards but, of course, part of that would be
  12          Then moving further down, four lines from the           12     that if it lived up to a standard that its peers
  13       bottom:                                                    13     considered to be broadly acceptable, then it would not
  14          "In the construction of documents the question is       14     have fallen short.
  15       not what the parties to the document may have intended     15   LORD HOFFMANN: Well, that's what I had in mind.
  16       to do by entering into that document but what is the       16   MR SHOESMITH: Yes.
  17       meaning of the words used in the document. However,        17   LORD HOFFMANN: I mean, you might get a situation where peer
  18       where the meaning of the words used are not clear the      18     review and so forth establishes that that's the only way
  19       court will fall back on the intention behind the words."   19     to do it. On the other hand, you might get a situation
  20          Now, there is nothing unclear about the words used      20     in which people have different views on how it ought to
  21       in Article 7.1(a). The Article refers to                   21     be done, and in that situation one would normally say,
  22       "internationally acceptable petroleum industry practices   22     well, if there is a respectable body of people who think
  23       and standards". It says nothing about what                 23     that's the right way of doing it, then that counts as
  24       a hypothetical oil company would consider acceptable,      24     an acceptable way of doing it, even though somebody else
  25       and that's not an interpretation that can sensibly be      25     might do differently.

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  1     THE CHAIRMAN: Aren't you putting quite a gloss on these              1       of their eggs in the Article 7.1(a) basket, so that's
  2       words, though? There is no mention of peer review or               2       what we are dealing with.
  3       anything like that in these words.                                 3          Secondly, as I've said, the parties were operating
  4     MR NESBITT: Well, one has to interpret what the words mean           4       in the deep offshore world and obviously NAE would not
  5       and that is our interpretation. It doesn't say                     5       have wanted to be held to any higher a standard than it
  6       "peer-reviewed", but that is what the experts understand           6       felt it was comfortable with.
  7       those words to mean.                                               7          In any event, in fact Article 7.1(a) is not the only
  8     LORD HOFFMANN: Acceptable?                                           8       contractual restraint, if you like, on NAE's conduct.
  9     MR NESBITT: Yes. But equally --                                      9       Article 7.1(k) also requires NAE to indemnify Allied
  10    THE CHAIRMAN: The experts are expressing their opinion in           10       against loss and damage as a result of negligence, and
  11      their area of expertise. We have to interpret the                 11       that's something which the respondents have expressly
  12      contract.                                                         12       confirmed they do not allege in this arbitration.
  13    MR NESBITT: Yes, and the experts are trying to assist with          13          Turning now, if I may, to the matters in respect of
  14      that.                                                             14       which breach is alleged.
  15    MR LEW: Two experts might reach different views.                    15          As originally set out in the counterclaims, it was
  16    MR NESBITT: Well, we have three experts who have reached            16       said that there were five matters which gave rise to
  17      the same view and one who has a different view.                   17       breaches of Article 7.1(a): drilling, cementing,
  18    LORD HOFFMANN: Well, exactly. I am trying to make a point           18       production, the management and implementation of the
  19      in your favour, actually.                                         19       GSO, and the failure to re-inject gas and the
  20    MR NESBITT: Yes, I understand that.                                 20       corresponding gas flaring.
  21    LORD HOFFMANN: You may not recognise it as such.                    21          Now, according to 1.15 of the respondents'
  22    MR NESBITT: Well, when you read the respondents' experts'           22       pre-hearing submission, that has now been reduced down
  23      expert reports, there Mr Dyson says that he is applying           23       to two: cementing and aggressive production. That does
  24      the test of what would be acceptable to a hypothetical            24       not come as a particular surprise and is fairly typical
  25      international oil company. And that's all very well,              25       of the way in which the respondents have changed their

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   1       but when you actually look at what he says in his                 1       case as the arbitration has proceeded.
   2       reports it is pretty clear that what he's really                  2          That change is perhaps most striking in respect of
   3       applying is his own subjective view of whether what NAE           3       the gas shut off, the GSO, where the claim seems to have
   4       did or didn't do would have been approved by his                  4       changed from very specific operational aspects of the
   5       hypothetical international oil operator. In the vast              5       GSO, such as the procurement and functioning of packers,
   6       majority of cases that he refers to, there's actually no          6       et cetera, as Mr Shoesmith mentioned, down to the issue
   7       analysis or explanation of why he believes that to be             7       it would seem of whether or not it can fairly have been
   8       the case. He might conceivably have referred to what              8       described as successful. The Tribunal will recall that
   9       another company with similar attributes to NAE actually           9       the respondents devoted large sections of their
  10       did in similar circumstances, but there's none of that           10       pleadings and expert evidence to the GSO, only for their
  11       analysis. It is hypothetical in the extreme. Indeed,             11       expert ultimately to concede that the original plan was
  12       he rarely makes references to what he says are examples          12       technically and operationally sound, that the
  13       of practices and standards exhibited to his report. We           13       contingency plan that NAE put in place was the only
  14       say that that type of test is not what the contract              14       option in the circumstances, and that risks were
  15       intended and, even if you feel that you need to give             15       successfully managed, et cetera, and that the operation
  16       consideration to the parties' intentions, that can't be          16       was successful in placing what's called the MaraSEAL
  17       what they intended.                                              17       polymer into the target formation.
  18          I think one of the points made or suggested by the            18          The Tribunal will have seen that in our covering
  19       respondents in their pre-hearing submission is that,             19       letter sent with our pre-hearing submissions we picked
  20       well, if you interpret Article 7.1(a) as we do, that is          20       up on this apparent shift in position after we'd seen
  21       relatively narrow and so there might be operations where         21       the respondents' list of issues and asked them to
  22       NAE is effectively operating without any restraint or in         22       confirm that they had dropped their allegation of breach
  23       a vacuum, or whatever way you want to put it. In                 23       of 7.1(a) in respect of specifically the GSO, although
  24       response to that, first of all, we're obviously                  24       we have not had a response to that invitation.
  25       responding to the respondents' case. They have put all           25          Now, just pausing there for a moment. Of course,

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   1     the technical matters which underlie the counterclaims      1     shown, an analysis of the temperature results from the
   2     are very interesting, and one can, and indeed one has,      2     PLT data, which was conducted as part of the GSO
   3     spent hours, days and weeks as a layperson getting one's    3     operation in an effort to identify the source of the
   4     head around them. Of course, because they've been           4     gas, shows convincingly that the gas entering the well
   5     raised, we have to deal with them in considerable           5     closest to the area around the casing shoe could not
   6     detail. But at the risk of stating the obvious, just        6     have been travelling down behind the casing, which it
   7     because they are technical and complex doesn't mean that    7     would have been had there been a channel in with cement,
   8     they are of any substance as legal claims.                  8     and because if had the PLT data would have shown
   9        Turning to the first of the respondents' surviving       9     a temperature cooling effect, and there is no evidence
  10     allegations relating to the cementing of the 9 5/8         10     on the PLT data of any such effect.
  11     section of the well.                                       11        Turning to the production allegations, these
  12        As we set out in our submissions that claim             12     effectively amount to an allegation that NAE's approach
  13     originally consisted of eight separate elements,           13     was too aggressive in terms of bean-up Oyo-5, with too
  14     a number of which were abandoned at the expert evidence    14     wide a choke size, and in its management of ongoing
  15     stage. But essentially the fact remains that the           15     production. Although, as the arbitration has
  16     respondents have adduced no proof positive that the        16     progressed, the respondents and their experts have now
  17     cementing was actually defective, quite aside from the     17     accepted that the relevant measure is drawdown, rather
  18     question of the execution of the cementing job. Rather,    18     than choke size. That is the pressure differential at
  19     they are limited to criticising aspects of the execution   19     the bottom of the well essentially. This is expressly
  20     and the evaluation of the cementing work.                  20     conceded by Mr Dyson who says in terms that the key
  21        Now, we've addressed each of those aspects at length    21     parameter during bean-up and production of an oil and
  22     in our witness and expert evidence. We say that there      22     gas well is drawdown and choke size. The reference
  23     is nothing to them. Indeed, the respondents don't          23     there is the joint report at E3, tab 3, page 63.
  24     really tackle NAE's or its experts' positions head on.     24        Unfortunately, the respondents' experts rather got
  25     So, for example, one allegation is that NAE should have    25     off on the wrong foot by claiming that the initial

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   1     conducted what's called reciprocation and rotation of       1     drawdown applied by NAE during bean-up had been 400 psi,
   2     the casing as part of the cementing job. Reciprocation      2     pounds per square inch, which is the unit of measure for
   3     is moving the casing up and down. Rotation is rotating      3     drawdown. In fact it was about a quarter of that and,
   4     it. Although in the pre-hearing submission there is no      4     indeed, was expressly recognised as not being
   5     mention of reciprocation, only rotation.                    5     an aggressive level of drawdown by the respondents' own
   6        But the point I am making is the respondents don't       6     technical team in a report that they wrote after the GSO
   7     really make any attempt to address the evidence of NAE's    7     had been completed. The reference to that is
   8     expert, Mr Kellingray and indeed their fact witness         8     bundle G16, tab 441, at page 5.
   9     Mr Minelli as why it would be extremely foolhardy to        9        So, as we said in our pre-hearing submission, there
  10     attempt any casing movement on any deep offshore subsea    10     is a lot of reverse engineering going on. NAE's
  11     well. Equally.                                             11     position is, in summary, on our interpretation of
  12        As regards the segmented bond tool, the SBT log,        12     Article 7.1(a) that there are no applicable standards,
  13     which NAE ran over the casing and originally, of course,   13     either as regards the bean-up process or the level of
  14     as we know, the respondents had claimed that it was        14     drawdown to apply during production. The evidence shows
  15     something called a CBL, which is something different and   15     that the drawdown was carefully monitored in an effort
  16     a less-sophisticated type of cement evaluation, it is      16     to strike a balance between the gas entry, which was
  17     common ground between the experts that the SBT log was     17     happening, and maintaining for production at economic
  18     inconclusive, and in circumstances where all other         18     rates in accordance with Article 7.1(a). In any event,
  19     indicators suggested that the cement job was               19     as Mr Nigido testifies in his statement, even when the
  20     satisfactory, any decision by NAE other than to drill      20     choke size was reduced, there was no evidence that it
  21     ahead and carry on would have been inconsistent with       21     affected the gas ratio. It stayed the same.
  22     NAE's obligation to avoid waste and obtain maximum         22        In this context, it's helpful to compare the
  23     recovery of crude oil at minimum cost.                     23     drawdowns that applied on the bean-up of Oyo-5 with
  24        In any event, and we'll touch upon this when we get     24     those applied on the bean-up of Oyo-7, which is the new
  25     to causation as well, as NAE's expert, Mr Crumpton, has    25     well drilled by the respondents in 2014.

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   1        Could I also ask you to take out bundle E2, tab 1,        1     programme, in the third column that I referred to,
   2     at page 65.                                                  2     "bean-up cumulative time", by the time you get to 105 --
   3        Bundle 6. It is actually the same. So page 65,            3     is it 105? -- 105 hours and you then look across at
   4     120. It also says 65 in the bundle numbering.                4     drawdown, it says 104, but you need to go down one to
   5    MR LEW: E2?                                                   5     117 because what that means is that when you get to 105
   6    MR NESBITT: Bundle E2, tab 1, is the Navigant report.         6     hours drawdown is then stepped up to 117. So that was
   7    MR LEW: It's at page ...?                                     7     planning a maximum drawdown of 117 psi accumulative time
   8    MR NESBITT: 65. But looking first at the slide, at the top    8     to reach that value of 103 hours.
   9     of the slide is the Oyo-7 bean-up programme, and that's      9        Conversely, if you look down at the Oyo-5 bean-up
  10     been taken from an exhibit to Mr Dyson's report,            10     data, you can see that that involves a maximum drawdown
  11     exhibit MJD23, and it's a bean-up plan which Mr Dyson       11     of 112 psi, that's again the penultimate column, the 112
  12     expressly confirms accords with his interpretation of       12     figure at the bottom of that column, and that value has
  13     internationally acceptable petroleum industry practices     13     been agreed between the experts as the one that was
  14     and standards. He says that on page 65 in front of you      14     actually used, the cumulative time to reach that value
  15     at paragraph 7.2.14:                                        15     of 169 hours.
  16        "By way of example, the bean-up of the subsequent        16        So a comparison of those two sets of data shows that
  17     Oyo-7 and Oyo-8 wells, Allied/Erin did provide suitable     17     NAE was actually being very prudent in its approach to
  18     bean-up programmes along the lines required by              18     bean-up. It was taking a longer period of time to
  19     internationally acceptable petroleum industry practices     19     arrive at a lower drawdown. It's effectively applying
  20     and standards."                                             20     quite similar conditions to those designed for Oyo-7 by
  21        Although he doesn't, as I said earlier, identify         21     Allied.
  22     what those standards are.                                   22        Oyo-5 and Oyo-7 are similar wells and, as Mr Dyson
  23        Going back to the slide, below the actual the actual     23     says, they drain the same reservoir. It's also relevant
  24     drawdown data for Oyo-5. I will come back to that in        24     to bear in mind that NAE's approach to bean-up was taken
  25     a moment, but if I could ask you to stay in tab 1 and       25     more than five years before the start-up of Oyo-7, and

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   1      turn to page 79, page 79, tab 1, and I am now looking at   1      at that time NAE had no knowledge of the very high
   2      paragraph 7.5.5 about halfway through that paragraph,      2      propensity for gas incursion from the Oyo reservoir,
   3      Mr Dyson says:                                             3      whereas Allied had the benefit of all the relevant
   4         "The approach to the commencement of production         4      accumulated know-how.
   5      taken with Oyo-7 and Oyo-8, which drained the same         5    MR LEW: This is a question for the experts, are these two
   6      reservoir targeted by Oyo-5, was prudent and much more     6      wells, these Oyo-5 and Oyo-7, are they comparable?
   7      careful than NAE's approach. Both wells were carefully     7    MR NESBITT: Yes.
   8      and gradually beaned up in a controlled manner starting    8    MR LEW: They are?
   9      with smaller choke sizes than those used by NAE. In the    9    MR NESBITT: Yes. When you say "comparable", do you mean in
  10      first to eight to nine months of production I understand   10     their design, in their shape --
  11      that there has been virtually no gas produced from these   11   MR LEW: In their design, in their shape, in the amount of
  12      wells."                                                    12     production they can carry? Often when you move
  13         So the basis for Mr Dyson's statement appears to be     13     somewhere down the road in an oil field, things will
  14      that the bean-up on Oyo-7 started with smaller choke       14     change, for better or worse, depending upon the exact
  15      sizes and that the steps between each new choke size       15     situation. (Pause).
  16      applied were smaller, and so you can see in the table at   16   MR NESBITT: Based on what we know, we believe that they are
  17      the top on the left-hand column is the choke size, and     17     very similar wells, but obviously it is their well and
  18      in the third column what's called "bean-up cumulative      18     we don't have access to all of the technical data, such
  19      time" is the cumulative period of time at which the        19     as that which you referred to.
  20      choke was kept at that size.                               20   MR LEW: Thank you.
  21         But when you look at the drawdown figures, which you    21   MR NESBITT: As regards the GSO, as I mentioned the latest
  22      can see in the penultimate column of each table, you can   22     formulation of Allied's case suggests, although without
  23      see that the drawdown planned for Oyo-7 was actually to    23     expressly confirming, that Allied no longer relies on
  24      be stepped up much more rapidly than on Oyo-5.             24     the matters complained of in respect of the GSO as
  25         So if you look at, first of all, the Oyo-7 bean-up      25     breaches of contract. Instead, their position seems to

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   1    be that it is entitled to claim wasted because of the       1      Oyo-7 as follows.
   2    GSO as part of its damages on the basis that the GSO        2         So the top chart is the Oyo-7 oil rate. The bottom
   3    wasn't successful.                                          3      chart is the Oyo-7 gas-oil ratio. He identifies the
   4        We'll see what approach is taken today but it           4      breakthrough taking place in August 2015, I believe,
   5    appears that it may well be the case that the vast          5      about 70 days after the start of production.
   6    majority of Mr Dyson's and Mr Crumpton's evidence on the    6         So NAE's position is that this demonstrates that the
   7    GSO's execution may now have been rendered irrelevant by    7      problem of gas incursion from the Oyo field is linked to
   8    that shift of position.                                     8      specific reservoir features, as will be seen,
   9        On gas reinjection and flaring, there really is very    9      essentially a very high level of permeability, in
  10    little to say. A claim in relation to a supposed drop      10      combination with what are referred to as dipping strata
  11    in reservoir pressure was trailed in the respondents'      11      or sloping rock formations, in particular, at the heel
  12    pleadings but has never materialised. There is no          12      of the Oyo well which were not known at the initial
  13    quantification on either a "but for" or an actual basis    13      field start-up.
  14    of reservoir pressure by any of Allied's experts. So       14         So there is no causal link between NAE's work as
  15    the only surviving relevance of gas flaring seems to be    15      operator and the gas ingression.
  16    the DPR find, which we address in our pre-hearing          16         But even if there were, the respondents have not
  17    submissions at 7.1 to 7.10.                                17      come close to establishing a proper causal link between
  18        You can put bundle E away if you wish.                 18      the gas ingression and the supposed damages that they
  19        In short, for all of the reasons which are set out     19      claim by way of alleged volumes of lost production.
  20    in a great more detail in our fact and expert evidence,    20         Because key to Dr Moy's forecasts is one very big
  21    we say that the respondents don't come close to making     21      assumption: the drilling of two additional wills in the
  22    out any breach of Article 7.1(a).                          22      Oyo field, Oyo-7 and Oyo-8, would have been brought
  23        But even if that were found to be incorrect, that      23      forward by in one case almost two years and in the other
  24    does not, of course, get the respondents home. They        24      about six months. This is admitted in terms by the
  25    must then prove that, firstly, if there was a breach,      25      respondents in their pre-hearing submission. They say,

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   1    that it caused the gas ingression and, secondly, if it      1      at 8.9:
   2    did cause the gas ingression, that it caused a loss of      2         "The key driver in the value difference between the
   3    production to the respondents. That's how they framed       3      two production forecasts [that is Dr Moy's forecast
   4    their quantum claim: in terms of loss of oil production.    4      versus Mr Filippi's forecast] is the production profile
   5       As regards the cementing, as I have already              5      over time and, in particular, the dates on which the
   6    mentioned, the evidence and in particular the production    6      Oyo B and Oyo C [for which read Oyo-7 and Oyo-8] would
   7    logging tool data, the PLT data, shows that the gas         7      have been drilled in the 'but for' scenario."
   8    cannot have been entering via a channel in the cement.      8         Now, the sole evidential basis for this is
   9    That is also supported by Mr Filippi, who has modelled      9      a paragraph of one witness statement where the witness
  10    the effect of a gas breakthrough attributable to           10      says that the two wells would likely have been drilled
  11    a cement channel and concluded that there was none.        11      and completed by mid-2012.
  12       As regards production, as I've already said, the        12         In my submission, proof to the required standard
  13    beaning process and drawdown applied was low, lower than   13      that a significant undertaking, such as the drilling of
  14    that planned for Oyo-7 by Allied, and lowering it          14      a deep offshore well, would have been planned, budgeted
  15    further had no effect on the gas-oil ratio.                15      for, approved and executed far earlier than it actually
  16       In any event, as we'll see when we come to consider     16      was, needs a lot more than one paragraph in a witness
  17    the evidence in due course, the effect of the gas          17      statement. The respondents know that perfectly well.
  18    breakthrough was not the cementing or the approach to      18      They've tried to address the point at 8.16 of their
  19    production -- neither of which, as I've said, was          19      pre-hearing submissions.
  20    performed in breach of any applicable industry standards   20         But, frankly, those submissions don't add any
  21    in any case -- but the natural features of the             21      additional support to what is said in the witness
  22    reservoir. As Mr Filippi will explain, despite the         22      statement -- it is the statement of Mr Omidele -- and
  23    respondents' claims to the contrary and despite all the    23      even the respondents are forced to concede, as they do
  24    precautions apparently taken, there is also early gas      24      at 8.19 of their pre-hearing submissions, the obvious
  25    breakthrough on Oyo-7 and Oyo-8, shown by Mr Filippi on    25      point that:

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   1        "There can be no exact certainty as to when Oyo-7        1     a rock formation to transmit fluids, such as gas, oil or
   2     and Oyo-8 would have been drilled in the 'but for'          2     water, and it is measured in something called darcies.
   3     world."                                                     3     It is important in this case as the Oyo reservoir was
   4        But even if -- and now we're getting to the outer        4     found to have a significantly higher level of
   5     realms of Wonderland, perhaps -- the causation hurdles      5     permeability, as I mentioned a moment ago, than was
   6     and all of the other hurdles could be overcome, the         6     initially thought.
   7     respondents still need to prove their loss. For that,       7         So logically the higher the multiple you use, the
   8     they are dependent in the first place on Dr Moy. If         8     higher the permeability in your model. Its significance
   9     Dr Moy's reservoir model is not reliable, if the            9     is that a higher permeability results in more oil being
  10     modifications he has made to it are not appropriate and    10     produced and less gas. That is reflected in Dr Moy's
  11     if his production forecasts do not match history, then     11     revised actual forecasts in his amended report, which
  12     if there is anything left of the house of cards at that    12     are higher than in his original report.
  13     point it collapses completely.                             13         Could I ask you to take bundle E3 -- that's the
  14        We have set out at 14.3 to 14.25 of our pre-hearing     14     bundle containing all of the expert joint reports -- and
  15     submissions the key respects in which we say Dr Moy's      15     turn to tab 5. This is the reservoir experts' joint
  16     ever-changing forecasts and the flawed model from which    16     report. I am now looking, first of all, at page 193.
  17     they are derived show that his forecasts are not           17     The paragraph number is 6.15.2.5 in the middle of the
  18     reliable. There is clearly not enough to time them all     18     page. Here Dr Moy says:
  19     this morning -- and in any event that's a task that is     19         "The plots showed in figures 4, 5 and 43 as 'Dr Moy'
  20     perhaps best left to Mr Filippi and Dr Moy himself --      20     of BF1 have been taken from 'Actual_v2_3 ..."
  21     but I will give just one recent example. The Tribunal      21         That's the forecast you saw him referring to in his
  22     will recall that following the service of Dr Moy's         22     letter to Stephenson Harwood a moment ago:
  23     original report on 19 February, without leave, on          23         "... however this has been run as a 'but for' case
  24     24 February, an amended version of his report was          24     with a global multiplier of 0.2, instead of 0.1. This
  25     produced, containing amended oil production rates for      25     results in a less gassy Oyo-5 and consequent impact on

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   1     Oyo-5 and different forecasts for the other wells.          1     overall reservoir pressure and well performance.
   2        If I could ask you, having asked you to put it away,     2     I acknowledge that this run was incorrectly run with
   3     to retrieve bundle E2 and turn to tab 3, this is            3     a multiplier of 0.2 and I present in Appendix 9.4 ...
   4     Dr Moy's covering letter to Mr Wade at                      4     the results of the same run but using a multiplier of
   5     Stephenson Harwood, containing his explanation of why he    5     0.1."
   6     has amended his expert report. I am looking here at the     6         So essentially Dr Moy seems to have changed his mind
   7     second numbered paragraph of the letter, where he says:     7     back again. He now says that his actual production
   8        "I have further confirmed that the reservoir model       8     forecast was incorrectly run and he has rerun it using
   9     I developed applied a global permeability modifier of       9     his original multiplier of 0.1. The result of that is
  10     0.2 ... This was based on the core and well test           10     lower oil production forecast from the Oyo field than
  11     permeabilities (which are not mentioned in the D&M)        11     Dr Moy has stated in his amended report, and of course
  12     report). It was therefore necessary to ensure that the     12     a commensurate increase in the quantum of the
  13     same modifier value was used in all the models, and as     13     respondents' supposed damages.
  14     a consequence I amended the 'Actual_v2_3' scenarios."      14         Now, apart from the lack of confidence that, in our
  15        Figures, tables and their footnotes, et cetera, have    15     submission, that should inspire in the reliability of
  16     been revised.                                              16     Dr Moy's forecasts, by reverting to his original
  17        Now, the key bit really is that he says "it was ...     17     approach and using a multiplier of 0.2 in his "but for"
  18     necessary to ensure that the same modifier value was       18     forecasts and 0.1 in his actual forecasts, if I can put
  19     used in all the models".                                   19     it this way he has given the "but for" reservoir double
  20        Just for information purposes, the global               20     the permeability of the actual reservoir, which means
  21     permeability modifier is essentially a multiple which is   21     when the resulting production forecasts are used to
  22     used to dictate the degree of permeability that you        22     calculate a damages claim by comparing the two sets of
  23     ascribe to the reservoir in your model. I am sure that     23     forecasts, one is essentially comparing apples with
  24     the Tribunal has understood what permeability means in     24     oranges. Moreover, until yesterday evening, Dr Moy's
  25     this context, but essentially it is the ability of         25     new figures didn't just alter the forecast actual

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   1      production starting from January 2016, they also changed    1     to these provisions last, for no better reason than
   2      the figures for actual measured production from the         2     arguably one might say that you only need to consider
   3      field up until December 2015.                               3     the limitation provision if there is at least a prima
   4         Now, that is known production data. It can't be          4     facie case on liability, which for all the reasons we've
   5      changed. In other words, in an apparent attempt to          5     already discussed we say there isn't, you could just as
   6      improve his history match, his historical production        6     easily consider them at a preliminary stage, since they
   7      figures no longer matched actual history. Although          7     are yet a further reason why the counterclaims simply do
   8      under cover of the email that we received from              8     not get off the ground.
   9      Stephenson Harwood just before 8 o'clock last night, as     9        However, there is a threshold issue here too, which
  10      Mr Shoesmith mentioned, Dr Moy submitted a yet further     10     centres on the respondents' contention, which they still
  11      revised version of one of his forecasts, together with     11     maintain in their pre-hearing submission at 9.9 to 9.15,
  12      a covering letter in which he states that the table he     12     that the clause 12 exclusions do not apply to claims for
  13      included in the joint report the week previously was not   13     breach of the PSC brought in this arbitration, whether
  14      the one appropriate, which is I think another way of       14     they are framed as direct PSC claims or claims under
  15      saying wrong, and that his error this time around was      15     a clause 11.1 indemnity.
  16      that he had used historic gas rates rather than            16        Now, that is an issue which will already be familiar
  17      historical oil rates as the basis for his revised          17     to the majority of the Tribunal, since, of course, it is
  18      forecast.                                                  18     one which is ventilated at the preliminary issues
  19         I will leave it to Mr Filippi to comment in due         19     hearing in the context of Allied's position in respect
  20      course on whether or not that is an acceptable order of    20     of their agreement at clause 12.18 of the SPA, which you
  21      error in the circumstances.                                21     don't really need to turn to, but it is the top of
  22         I probably have about ten minutes left, Mr Chairman,    22     page 32, to waive any right of set-off as against their
  23      if you're willing to indulge me?                           23     payment obligations in the SPA.
  24    THE CHAIRMAN: Yes.                                           24        The arguments run by Allied at that time -- which
  25    MR NESBITT: Now, on the GSO wasted costs claim, the fact,    25     for reference you will find in bundle C1, tab 2,

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   1      of course, is that the respondent had agreed in the side    1     page 72, with NAE's arguments at C1, tab 1, page 26 --
   2      agreement, that's the one approved at the Macom             2     are broadly the same as the arguments that they are
   3      meeting -- and you'll find it, although you don't need      3     still running today. They focus on the definition of
   4      to turn it up, in bundle G12, tab 291, page 18 -- to pay    4     "Claim" in the SPA.
   5      the GSO costs, and that agreement wasn't in any sense       5        Now, our position is summarised at 18.59 to 18.73 of
   6      express or implied, conditional on the outcome of the       6     our pre-hearing submissions. There are a number of
   7      GSO operation.                                              7     reasons why the respondents are wrong, but the essence
   8         In any event, it's clear from the evidence that the      8     of our position is that this is an issue which the
   9      respondents knew that a successful outcome, in the sense    9     Tribunal has already had to determine in the context of
  10      of successfully shutting off the gas from entering the     10     clause 12.18, and we think that that determination holds
  11      well, was not guaranteed. You can see that from the        11     good for all of the limitation provisions set out in
  12      minutes of the very same Macom meeting at which the        12     clause 12, including the ones we rely on now.
  13      respondents agreed to fund the GSO, which is at            13        Now, as regards, first of all, the clause 11.1
  14      bundle G12, tab 294, page 102. No need to turn it up.      14     indemnity claims, you found in terms that any such
  15         It is also relevant to note that, as Mr Cerrito         15     claims would be "subject to the limitations and other
  16      explains at paragraphs 35 and 36 of his witness            16     provisions of the SPA". I am quoting those words from
  17      statement, Allied has already recovered the GSO costs      17     paragraph 181 of the first partial award.
  18      from cost oil, from crude oil lifted from the field.       18        So that's very clear.
  19         Now, finally, for the purposes of opening, the          19        As regards PSC claims, you found that that
  20      contractual exclusions and acknowledgements set out in     20     interpretation of clause 11.1, that it was subject to
  21      clause 12 of the SPA. So at this point it may be           21     the limitations and other provisions of the SPA, had to
  22      helpful if we go back to bundle A1, tab 1, and you'll      22     be applied consistently, with the result that you
  23      find clause 12 beginning at page 26.                       23     determined that the purpose of clause 12.8, which is
  24         The principal provisions on which we rely are           24     what you were looking at at the time, the set-off
  25      clauses 12.1(a), 12.2, 12.4 and 12.20. Although I come     25     waiver, was to exclude any claims relating to the

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   1     transferred interests, whether they were framed as PSC      1     has deleted Mr Malek's proposed insertion and the clause
   2     claims or as clause 11.1 indemnity claims. If that is       2     remains intact. So, in other words, Allied accepted the
   3     right, and obviously we say it is, exactly the same         3     scope of clause 12.1(a) in full knowledge of its meaning
   4     analysis must apply when considering the purpose of any     4     and consequences.
   5     other limitation provision in clause 12.                    5        Now, I said earlier that clause 12 provides another
   6        So we say that clause 12 applies to all of the           6     ground to dismiss the counterclaims on a preliminary
   7     counterclaims.                                              7     basis. To reach that conclusion, going back to the SPA
   8        In particular, we say that clause 12.1(a) excludes       8     and clause 12, and assuming you accept that clause 12
   9     NAE's liability for all of the counterclaims.               9     does apply to the respondents' counterclaims in this
  10     Clause 12.1(a) says that:                                  10     arbitration, you need only read clause 12.2 in
  11        "The seller shall not be liable in respect of any       11     conjunction with clause 12.1(a).
  12     claim to the extent that the matter or circumstance        12        And clause 12.2(c) says:
  13     giving rise to the claim was known or should reasonably    13        "Acknowledgement. Purchaser [that's Allied]
  14     have been known to the purchaser or its advisers, if       14     acknowledges and agrees that being a part of the
  15     any."                                                      15     contractor under the PSC Allied is fully aware of all
  16        We say that all of the counterclaims arise out of       16     information relating to the OMLs, Oyo field, the PSC,
  17     matters or circumstances which Allied knew or should       17     all related contracts and all the related matters
  18     reasonably have known about by reason of its access to     18     thereof."
  19     and involvement in the Oyo field and its operations.       19        In other words, when considering the applicability
  20        But what is more, it is clear on the evidence that      20     of clause 12.1(a), essentially you don't really need to
  21     Allied knew perfectly well that that was the effect of     21     investigate whether as a matter of fact the evidence
  22     that provision and during negotiations of the SPA they     22     demonstrates that Allied knew or should have known of
  23     attempted to limit its extent. This is the last bundle     23     the relevant matters or circumstances, because the
  24     that I will ask you to turn up. It is bundle G19. I am     24     bargain struck between the parties was that they agreed
  25     going to look at a couple of documents in this bundle.     25     and Allied in particular expressly agreed that it knew

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   1        First of all, tab 509 the first page, which is 245.      1     everything. That also makes claims of the kind made in
   2     That's an email from Mr Cerrito of NAE to Mr Malek of       2     this arbitration, to borrow Mr Shoesmith's phrase,
   3     Allied/CAMAC, sending a marked-up version of the SPA.       3     legally impossible. But that is not all.
   4        If you turn over the page, you'll see the email from     4        If you still have, and I hope you have, bundle G19,
   5     Mr Malek that Mr Cerrito is replying to. This is on         5     if you turn back to tab 506, that's the first tab in the
   6     23 December 2011, so very shortly before the SPA was        6     bundle, this is an earlier email than the one we just
   7     signed.                                                     7     looked at from Mr Malek to Mr Cerrito of
   8        In paragraph 1 he says:                                  8     20 December 2011. This is attaching Allied's proposed
   9        "Clause 12.1(a). Allied very reluctantly accepts         9     amendments to the SPA.
  10     the exclusions listed in clause 12.1(a), except that       10        If you turn to page 29 in the same tab, this
  11     these should only apply to claims arising out of           11     evidences that at that point in the parties' discussions
  12     breaches of seller's warranty rather than oil claims.      12     Mr Malek had also attempted to strike out clause 12.2.
  13     We should not be precluded from asserting a claim if NAE   13     You can see he's highlighted it -- sorry, 12.2(d), which
  14     fails to honour its indemnity obligations in relation to   14     it was at that time. He's highlighted it, and this is
  15     gas flaring, for example, simply because of an argument    15     the reason he gives:
  16     Allied should have known that there could be liability     16        "Delete (c) and (d). Given that seller is already
  17     for gas flaring. While we disagree with them, types of     17     providing very limited warranties and that Allied has
  18     exclusion listed in 12.1(a) can only make sense in the     18     complained on numerous occasions that NAE is not
  19     context of warranties and not for claims relating to       19     providing the information to which Allied is entitled,
  20     breaches of covenants and indemnities, such as the gas     20     clause (d) is inappropriate."
  21     flaring indemnity."                                        21        But, again, clause 12.2 was untouched in the final
  22        However, that was not agreed.                           22     agreement. In other words, Allied knew perfectly well
  23        If you turn to, in the same tab, page 275, and          23     what the effect of that agreement was, attempted to
  24     remembering that this is NAE's markup of the SPA sent      24     negotiate it away, failed and ultimately accepted it
  25     back to Mr Malek, you can see at the top, 12.1(a), NAE     25     with their eyes wide open.

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   1        But --                                                     1     submissions and so we prepared a set, even if we're not
   2    MR LEW: Forgive me, where was your comment that you just       2     entirely accustomed to doing that.
   3     made on Allied's view on the draft of 12.2(c) and (d)?        3        There are a number of introductory points I would
   4    MR NESBITT: Sorry, it is page 29 at the bottom. So do you      4     like to make on that slide, and the first is that in the
   5     see 12.2(d)? Page 29 in the bundle, 27 in the draft.          5     course of their pre-hearing submissions served last
   6    MR LEW: Yes, I have that.                                      6     week, the claimants have introduced an entirely new
   7    MR NESBITT: Yes.                                               7     argument in respect of novations, which rely heavily,
   8    MR LEW: I see. The clause is underneath that.                  8     although we didn't hear it today they were introduced by
   9    MR NESBITT: Yes. It is in square brackets and begins with      9     Mr Shoesmith, but they rely heavily on an interpretation
  10     the words "Delete (c) and (d)". But if we're wrong on        10     of Nigerian case law. So we reserve the right -- we
  11     all of that at 18.1 to 18.58 of our pre-hearing              11     will not deal with those submissions at this point, but
  12     submission we have summarised the detailed facts, which      12     we will respond to them in the written closing
  13     demonstrate that as a matter of fact the respondents did     13     submissions that are anticipated, and we are in the
  14     in any event possess the relevant knowledge of the           14     process of obtaining the necessary Nigerian law input on
  15     matters and circumstances which are alleged to give rise     15     those. We understand, even from a preliminary review,
  16     to the counterclaims by reference to each constituent        16     subject to what we would say in the end, that they
  17     element of the counterclaims as they were originally         17     depend on the misconstruction of the law of standing and
  18     pleaded.                                                     18     locus standi.
  19        In our submission, the facts speak for themselves.        19        So we reject those submissions but we will respond
  20     Everything that is now claimed by the respondents to         20     in detail in due course.
  21     constitute a breach of 7.1(a) in this arbitration is         21        The other introductory comment I will make, is that,
  22     something which the respondents and their personnel were     22     as you know, Mr Gunning QC has kindly agreed to share
  23     fully aware of.                                              23     the burden of my submissions with me, and the way we
  24        So in conclusion, for all of the reasons outlined in      24     have split the tasks between us is that he has agreed to
  25     our pleadings, submissions, evidence, the reasons            25     take on the task of introducing and explaining the

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   1       outlined by Mr Shoesmith, these counterclaims are not       1     technical aspects of the case, and we have referred to
   2       only wholly without merit but, frankly, given the           2     that quite loosely, they deal mostly with our
   3       obvious nature of that lack of merit and the time and       3     counterclaim side, and I will shortly ask him to
   4       effort and above all the huge expense involved in           4     introduce those aspects to you after I deal with the
   5       addressing them, they are little short of scandalous.       5     first preliminary question of the construction of
   6          Mr Chairman, unless I can assist you any further,        6     Article 7.1 of the PSC.
   7       those are my submissions.                                   7        After Mr Gunning's comments, I will return and deal
   8    THE CHAIRMAN: Thank you very much. Shall we now have           8     again at a high level with certain aspects of the case,
   9       a break until 2 o'clock. Does that give everyone enough     9     bearing in mind your other comment, Mr Chairman, that
  10       time? We will resume at 2 o'clock with the respondents.    10     you do not want to hear an entire exposition of the case
  11       Thank you.                                                 11     again. I am grateful to you for that guidance.
  12    (1.09 pm)                                                     12     Hopefully we will hit the high and the low points of
  13                 (The short adjournment)                          13     both parties' submissions. Of course, if you have any
  14    (2.00 pm)                                                     14     questions then please do ask them at any point.
  15               Opening submissions by MR WADE                     15        Like the claimants, I, speaking for myself, don't
  16    THE CHAIRMAN: Mr Wade.                                        16     intend to take you to many of the documents at this
  17    MR WADE: Thank you, sir. These are the counter-claimant or    17     point. But, again, if you would like to see any
  18       respondents' opening submissions for this hearing.         18     particular document, then please do ask and stop me, and
  19          Before I begin, I know I have already made              19     I will probably take you to one or two apart from that.
  20       a reservation of rights, but I will just refer back to     20        So turning, then, to the question of PSC
  21       those reservation of rights and state them again for the   21     Article 7.1(a), the text is on screen in front of you.
  22       record. No need to repeat them verbatim.                   22     Otherwise you have seen it in the bundle already today.
  23          I will stay on that slide for a little bit. The         23        The first question you need to think about when you
  24       difficulties of using slides, I recall that the chairman   24     look at this clause is the rules of interpretation that
  25       noted that he likes to receive slides of opening           25     apply to it. In our submission, it is the case of

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   1     Adetoun v NB Plc, which guides you on Nigerian law as to    1    a standard which any international operator of a similar
   2     the interpretation of that clause. You have already         2    stature, any IOC would consider to be acceptable,
   3     read through that paragraph today.                          3    whether it was being applied in Nigeria or in the North
   4        There is nothing in particular which is surprising       4    Sea or in the Gulf of Mexico.
   5     in the approach taken by the Nigerian courts. They          5       They were not accepting a parochial national
   6     formulate it slightly differently perhaps to other          6    standard, but they were looking for the international
   7     courts, but the basic approach is if the words are clear    7    quality of operatorship which is implied by the plain
   8     you don't need to construe them very far, only when         8    language of this clause.
   9     there is uncertainty do you need to look behind the         9   MR LEW: Do you accept that there can be internationally
  10     words.                                                     10    acceptable standards which would be different for
  11        In addition to that when looking at this clause, we     11    different oil fields?
  12     say you need to look at the context in which the clause    12   MR WADE: We do accept that, and we accept also that the
  13     was agreed, and that context we have submitted and         13    applicable standards and practices will vary from one
  14     continue to submit relates to the oil and gas industry,    14    circumstance to the other.
  15     and you will be aware, and we have submitted in our        15       So the test does have a -- not a subjective element
  16     opening, that these types of clauses are quite common      16    but an element which is directed at the operation that
  17     and seen in many similar contracts.                        17    the operator is conducting at the particular time. That
  18        The first point we would make about it is that --       18    is why we say that the test that Mr Dyson has asked
  19     and this will be obvious, so I apologise for stating the   19    himself can form as a helpful guide to the Tribunal,
  20     obvious -- this clause was negotiated between two          20    because he is asking: would an organisation with
  21     parties and included in their agreement, and it must       21    a significant international experience operating oil and
  22     have some meaning. It can't mean nothing.                  22    gas fields have considered in the relevant time and the
  23        The reason why I pause on that point is because, as     23    relevant actions that what they were doing was
  24     Lord Hoffmann, in making a point in favour of the          24    acceptable?
  25     claimant and pausing on the Bolam test, which is similar   25       That can help you apply the standard, which the

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   1     to the content of this clause, thought that this is         1     parties have agreed to a particular set of
   2     quite similar to a test where if there are other            2     circumstances. That is not to say that peer-reviewed
   3     companies of a similar nature who would adopt               3     documents can't guide you and shouldn't have guided the
   4     a particular course of action, this clause sounds like      4     parties. Certainly that's part of the plethora of
   5     that kind of test. He was a bit surprised, I think to       5     information sources that operators should have regard to
   6     hear the claimant not adopting that test wholeheartedly.    6     and operators complying with this clause should also
   7        The reason the claimant doesn't adopt that test is       7     have regard to.
   8     because they say it is to be construed solely to apply      8        So we have listed a number of sources which we say
   9     to a test of where there is -- to apply the standards as    9     that the Tribunal can look at, and they include expert
  10     to the -- what is their words? -- a standard imposed by    10     opinion. They include IOC manuals and recommended
  11     a peer-reviewed document which is written and published.   11     practices. They certainly include trade publications
  12        What they also say is that where there is no            12     and academic publication and, of course, the API
  13     peer-reviewed standard, then it is impossible for there    13     recommendations and practices.
  14     to be any standard and, therefore, they can do what they   14        There is one more point that I would like to touch
  15     want. That is why they don't want to be in a world         15     on before I hand over to Mr Gunning, and that is one of
  16     where their conduct has to be measured against what        16     the claims made by the claimants which can be quite
  17     other similar companies would do. They prefer the world    17     easily disposed of. They say that this clause on its
  18     where, if it's not a peer-reviewed standard, there is no   18     wording can only apply if we identify a work programme,
  19     standard and they are free to do what they want. We say    19     because it applies to preparing work programmes, and
  20     that is not the correct construction of this term.         20     they say we haven't identified a work programme.
  21        What is clear is that when the parties agreed to        21        That is a bit of a red herring, because it was the
  22     internationally acceptable practices and standards, they   22     claimants' obligation to work to a work programme, and
  23     were aiming at something which was higher than just what   23     if they weren't, then they are equally in breach. So it
  24     a particular operator wants to do or feels is              24     is their obligation to do one. And the suggestion that
  25     appropriate in the moment. What they were aiming at was    25     if they weren't working to a work programme and were

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   1     already in breach then they escape the standard that        1     suck eggs, and cut me off if what I am saying is too
   2     they were meant to work to because they haven't worked      2     simple. Probably what I am going to start is so
   3     to a work programme is easily dismissed. It makes no        3     exceptionally simple that you will regard it as mildly
   4     sense. It is relying on one's own breach to avoid its       4     offensive. It is this simply this, that oil and gas
   5     obligation.                                                 5     deposits are contained within sedimentary rocks. The
   6    MR LEW: Is there a particular work programme that you say    6     rocks are formed by sediments that are deposited in
   7     that they did not observe or did not follow?                7     layers on the bottom of rivers, lakes and oceans, and
   8    MR WADE: The drilling of Oyo-5 and production from it was    8     when the sediments are deposited and compacted they do
   9     done to a work programme, but it was not breached in the    9     not form a solid mass. Instead, spaces or pores exist
  10     sense that the well wasn't drilled. It wasn't drilled      10     between the grains and the amount of space as
  11     well. The well wasn't drilled properly and wasn't          11     a percentage of the total volume of a formation is
  12     completed properly and production from it wasn't           12     called its porosity.
  13     produced properly.                                         13        That is my first basic elementary point.
  14    MR LEW: So are you saying that that was not done in         14        Formation fluids -- so oil, gas and water -- will
  15     accordance with internationally acceptable --              15     accumulate in those pores and oil and gas will be formed
  16    MR WADE: Standards.                                         16     from the microorganisms that lived and died in the water
  17    MR LEW: -- standards?                                       17     that formed the sedimentary basin. The larger the
  18    MR WADE: Correct.                                           18     porosity of the rock, the more fluids, the more
  19    MR LEW: But that is a work programme that you say exists?   19     hydrocarbons that a formation will contain but high
  20    MR WADE: It does exist, yes.                                20     porosity doesn't necessarily translate to a high
  21    MR LEW: And is that the only work programme you say they    21     recovery of hydrocarbons.
  22     didn't work to?                                            22        For the ease of extracting hydrocarbons, oil and
  23    MR WADE: Yes. I am saying it's irrelevant, though. I am     23     gas, from the rock, what you want is for the rock to be
  24     saying if they didn't work to a work programme, then       24     permeable, and this is a point that Mr Nesbitt touched
  25     that's their breach and they can't rely on it to escape    25     on earlier. Permeability is essentially a consequence

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   1     the quality of the work they should have undertaken.        1     of the interconnectivity of the pores. So if the pores
   2    MR LEW: But it is only in this one area that you say here    2     are well connected in a sponge, there will be high
   3     is a work programme and in following that work programme    3     permeability. In very simple terms, the more permeable
   4     they didn't apply internationally acceptable standards?     4     a formation, the lower the pressure difference is that
   5    MR WADE: Correct. That's what I am saying.                   5     is required to extract the oil.
   6    MR LEW: Thank you.                                           6        Certain types of rock are essentially impermeable.
   7    MR WADE: With those points, I am going to hand over to       7     For example, shale and silty shale will be basically
   8     Mr Gunning, who will introduce the technical aspects of     8     impermeable, and they will form sometimes a cap on
   9     this case to you.                                           9     a reservoir. Sandstone by comparison is typically
  10            Opening submissions by MR GUNNING                   10     relatively permeable and so it is sandstone formations
  11    MR GUNNING: I was going to try to spend a few moments       11     that tend to contain the sandstone layers that will tend
  12     talking I hope in a neutral way about some of the basic    12     to contain the oil and gas. As my learned friend said,
  13     features of fuel reservoirs and drilling operations        13     the unit of the measurement of fluid permeability is the
  14     before giving a short overview of the respondents'         14     Darcy, named after Henri Darcy, the French engineer, and
  15     criticisms of the steps taken by NAE. I am conscious       15     when we come to look at these permeabilities you will
  16     that this is an extremely experienced Tribunal and that    16     see they are typically measured in millidarcies or MD.
  17     some of the matters that I might be covering are           17        So that's porosity and permeability, and I was going
  18     slightly elementary, but over the course of the next few   18     to swiftly mention water saturation. That is typically
  19     days we're going to be getting into some of the detail     19     measured so that you can work out the residual capacity
  20     of the way in which the work was executed, and I wanted    20     of the pores to contain hydrocarbons. So if you know
  21     to be sure that you're comfortable with the underlying     21     how much water is going to be contained in the space in
  22     technical basics, so that such questions as I have         22     the rock, then you can work out what the balance might
  23     aren't incapable of being understood.                      23     be that could be filled with hydrocarbons. So a way of
  24        So forgive me if there is an element of teaching        24     working out the volume of oil in place in a formation is
  25     grandmothers -- I am not calling you grandmothers -- to    25     you establish its volume, you establish its porosity,

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   1      you establish its water saturation and then you work out    1     area. In addition, at the very top right, there is the
   2      what factor you apply for oil as opposed to gas             2     far east area but, as far as I understand it, that
   3      extraction, and that will you give you an idea of your      3     remains undeveloped.
   4      original oil in place in the reservoir.                     4        Now, what you will see is that discovery and
   5         Now over geological time, because of the relatively      5     appraisal wells were drilled by Eni in the Oyo west
   6      buoyancy of gas over oil and oil over water, you will       6     area, so that's Oyo-3 and Oyo-2, and that was followed
   7      get a separation of layers. So as you see on the            7     by the drilling and exploration of Oyo-6. But those
   8      right-hand side, and this is a cutaway view of the Oyo      8     wells are quite some way away from the other ones.
   9      field, you have at the top a cap of gas and then you        9        So far as the other are concerned, you will see that
  10      have underneath that oil and beneath that water. And       10     in 1995 BP and Statoil drilled a discovery well, Oyo-1,
  11      the point where the separation occurs between gas and      11     and then two further wells are drilled in close
  12      oil is called the gas-oil contact or GOC for short,        12     proximity to that. One is Oyo-4, which I think is
  13      you'll see quite a bit of reference to that, and the       13     drilled in 2007 by Eni or NAE, and ultimately that was
  14      point where the rock separates between containing oil      14     to be used as the gas injection well for Oyo-5. But
  15      and containing the aquifer is called the water-oil         15     they got a certain amount of data about the formation
  16      contact, or WOC. So that's a basic Noddy introduction      16     from that. Oyo-5 was then drilled in 2009.
  17      to some of the features of a reservoir. Sorry for being    17        Now, the reason why this map is slightly inaccurate
  18      basic for it.                                              18     is because it makes Oyo-5 look as though it is a long
  19    LORD HOFFMANN: Speaking for myself, I am very grateful.      19     way away from Oyo-1 and Oyo-4. So I wondered whether --
  20    MR GUNNING: One of the things that you will see it is        20     I forgot to put in this presentation -- if you are able
  21      sometimes necessary to model the feature of a reservoir.   21     to take out bundle 9, tab 198. (Pause).
  22      And the right-hand side is an example of such -- I think   22        Tab 196, sorry, at page 147, you should have a page
  23      that's something taken from a model, and this is done by   23     in the middle of a presentation that was prepared by
  24      taking a formation and dividing it into a number of grid   24     Allied, which looks a little bit like that (indicates).
  25      cells, and then attributing characteristics, such as       25        So it is G9, tab --

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   1      permeability and porosity to each of those grid cells.      1   THE CHAIRMAN: 147?
   2      Then, depending on the computer power of your Apple Mac,    2   MR GUNNING: Tab 196, page 147, is the pagination in the
   3      or whatever it is, you can run a simulation of what         3     bundle.
   4      would happen if you were to start extracting oil in that    4   MR SHOESMITH: Page 23 of the PDF.
   5      formation.                                                  5   MR GUNNING: Thank you. Now what you will see there is in
   6         Now, there is a difficulty, as you will see, in          6     the middle of the map a little star with a 1 and
   7      terms of the level of detail that you have in each of       7     a little star with a 4, and those are Oyo-1 and Oyo-4,
   8      your grid cells, because ideally -- I mean, the fluids      8     and then you can see that Oyo-5 really runs between the
   9      will be flowing essentially through very small areas and    9     two. I could show you other drawings which show the
  10      small changes can make big differences, but for the        10     same thing but that's just to make the point that if you
  11      purposes of preparing these models often you need big      11     find this a helpful map of the overall Oyo field, do
  12      grid cells because otherwise it is impossible to do the    12     bear in mind that it's not perfectly to scale.
  13      computing for them, even with the most sophisticated       13   MR LEW: While you're educating us, could you tell us what
  14      computers.                                                 14     is the distance in miles or kilometres from the far
  15         Now, my next slide was intended to just give you        15     east, let's say, Oyo-5 to Oyo-5, part away across?
  16      an idea of the layout of the Oyo field. I found it         16   MR GUNNING: I think it's probably only a couple of
  17      exceptionally difficult to find a good drawing of this     17     kilometres, 4.5, there we go.
  18      in the bundles. This was the best I could find. It's       18   MR LEW: 4.5 kilometres, so that whole area is from one end
  19      in the Erin summer 2015 investor presentation. It's not    19     to the other 10 kilometres?
  20      actually perfect, for a reason I will point out to you,    20   MR GUNNING: It is about 700 metres between them but
  21      but what you can see is that the field is divided into     21     I thought it was a lot lower. It is about 700 metres.
  22      two parts, essentially. On the right-hand side, so the     22     It is a small distance between Oyo-5 and Oyo-1, but, as
  23      west side, you have -- well, on the east side, rather,     23     I say, you see Oyo-1 and Oyo-4 are drilled vertically
  24      you have something which says the central area, and on     24     and you will have seen the line for Oyo-5 is
  25      the left-hand side of the screen you can see the west      25     a horizontal line, so it runs between the two of them.

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   1        You will also see that Oyo-7 is in quite close           1      G7, tab 123.
   2     proximity, and I think my learned friend made the point     2         The other document which is very useful is at G8,
   3     that there are similarities that you would expect           3      tab 167, and that is the final drilling report. That
   4     between Oyo-7 and Oyo-5.                                    4      contains a description of what was done but also
   5        Oyo-8 is also in close proximity to those wells.         5      provides you with guidance on how to convert certain
   6     There are actually two wells in Oyo-8. I think it was       6      depths to other depth, a point I will come to in
   7     initially drilled vertically but then a horizontal          7      a moment.
   8     sidetrack was drilled, and there is a difference in the     8         You will see from that slide that at the end of the
   9     recorded readings from the vertical and horizontal wells    9      well bore there was an 8.5-inch hole that was drilled.
  10     which might be important a little bit further down the     10      It doesn't look quite like that, because naturally you
  11     line.                                                      11      don't have quite as strict a curve as that. But
  12        So that's an overview of the relevant reservoir.        12      essentially within that 8.5-inch hole there was run
  13        What I want to do is then to move on to the next        13      a pre-perforated pipe with wire wrapped around it that
  14     slide and here I was going to talk a little bit about      14      was surrounded by gravel, and because there are
  15     the casing and the well itself. The diagram on the         15      perforations, the oil can come in from the -- because of
  16     right that you'll see there, where the text is             16      the pressure difference, the oil will seep in
  17     completely illegible, is a diagram of the subsea well      17      essentially to that open hole section and up the well.
  18     head and I put it up there just to show you essentially    18         You will see from the image that the open hole
  19     the point that the casing runs as a series of concentric   19      section was horizontal here. And I think from one end
  20     pipes of different diameters, but it's like the opposite   20      to the other it was something metres or something like
  21     of a Russian doll, I suppose, because the longest of the   21      that. It is quite a substantial length.
  22     casings will be the smallest, but it is hung from          22         The end that is closest to the vertical part of the
  23     a casing hanger, which is at the well head level.          23      well is called the heel. So, if you like, the left-hand
  24        This will be an important drawing I think probably      24      side of that diagram on the bottom left, that will be
  25     for the purposes of -- or it may be useful for you to      25      called the heel, and the far end will be called the toe.

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   1     bear in mind when it comes to the question of               1         Now, inevitable there is going to be a gap between
   2     reciprocation, rotation, those sorts of things. Because     2      the casing and the well bore outside it. So when the 9
   3     the point is made, well, you can't really reciprocate       3      and five-eighths-inch casing is being run in a hole, the
   4     the nine and five-eighths inch casing because you are in    4      hole that is drilled is actually 12 and a quarter inches
   5     close proximity to this well head and if you start          5      wide, and the casing fitted into that. And that gap, or
   6     twisting things around and jabbering it up and down you     6      annulus, as it is called, presents a problem, because
   7     might damage the subsea well head, which is a big           7      unless that gap is filled in it creates a gap down which
   8     problem on subsea well, so it wasn't an appropriate         8      gas can run from the rock that contains gas down to the
   9     thing to do.                                                9      heel of the open hole section of the well. So in large
  10        In fact, as the casing was being inserted it will       10      part to stop that happening cement is injected through
  11     have been reciprocated and actually was reciprocated.      11      the casing and then back up into that annulus.
  12     So the issues, which was a very narrow one, and I think    12         As the well bore was being drilled originally,
  13     ultimately is not going to lead anywhere, is as to         13      drilling fluid will have been used for a number of
  14     whether it should also have been reciprocated during the   14      reasons, so to clear the drill cuttings, to balance
  15     period when the cement was being installed, and there is   15      fluid pressure, to create a filter cake to stop the well
  16     a difference of view about that.                           16      caving in and to lubricate the drill bit. But what it
  17        You will see what I've also tried to do on the          17      means is that when the casing is lowered in, the annulus
  18     left-hand side of the slide is to give you an idea of      18      will be filled with mud, and the mud will be permeable
  19     how the casing sizes change as you go down to various      19      and so it will provide a leak path for gas from the
  20     depths. I found extremely useful, but you don't need to    20      gas-oil contact down the heel of the well.
  21     look at them now, but I think for your note you might      21         So when cementing the aim is to stop that happening,
  22     find them useful, two documents. One is at G7, tab 123,    22      and that brings me on to the next slide.
  23     which is the mud logging report and contains a narrative   23         Essentially the purpose of the cement is to create
  24     description of how the casing sizes changed and what       24      zonal isolation between the gas-oil contact and the heel
  25     work was done as the casings were installed. So that's     25      of the well.

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   1        So what you try to do is you try to flush out the       1      you imagine a kind of crook in the page coming out of G,
   2     mud by using something called spacer fluid to start with   2      you will have had cement coming out horizontally and
   3     and then the cement afterwards. But the trouble that       3      pushing back and then up vertically.
   4     you have, particularly in a horizontal well, is that       4    MR LEW: That yellow band at the top of what looks like that
   5     naturally the casing is going to sag towards the bottom    5      the well --
   6     of the well bore. So that would obviously provide          6    MR GUNNING: Yes.
   7     a sort of resistance which would make it more difficult    7    MR LEW: -- is that the top plug?
   8     to remove the mud. To stop that what are used are          8    MR GUNNING: Yes, that I think is intended to show the top
   9     centralisers, and the centralisers that were actually      9      plug. There are some underneath it, non-return valves
  10     used in this case are shown in the bottom right-hand       10     essentially, to stop this cement spinning back up the
  11     corner, and the idea is that those will provide some       11     casing. But essentially the idea is that the top plug
  12     separation between the casing and the walls of the well    12     as it goes down will scrape off cement so you don't get
  13     bore.                                                      13     a leakage of cement down the casing as you're going
  14        Now, you will see I put an image at the top             14     down.
  15     right-hand corner that shows the sort of problem you can   15   MR LEW: Then what is the central bit? You have the valve
  16     have if you're not able to flush out the mud. You will     16     underneath it.
  17     have an area that is cemented in the annulus but then      17   MR GUNNING: Yes.
  18     an area that contains mud in it, and that is a problem,    18   MR LEW: Then you have got a --
  19     because it is a channel down which the gas can run down    19   MR GUNNING: This is an image --
  20     to the heel if it is not cleared out.                      20   MR LEW: -- darker grey.
  21        The sequence of events that you will find -- you        21   MR GUNNING: Yes, this is an image of a completed cementing
  22     will come across when we come to the cementing part of     22     operation. I wonder actually -- it might be useful just
  23     the case -- whenever you say we're coming to the           23     to take out this report, because it will show the
  24     cementing part of the case you probably just feel mildly   24     process that I was describing quite clearly. It is G29,
  25     depressed that that's what we are going to be talking      25     tab 17. You will find it at page 187.

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   1     about, but it starts off you put spacer fluid down the     1        The section on water actually begins at page 183.
   2     casing, you will then want to separate that spacer fluid   2      That's internal page 67 of the report. The top
   3     from the cement that is going to follow it. So there       3      right-hand corner of the report says page 67.
   4     will be something which is called a bottom dart that       4    THE CHAIRMAN: Sorry, that's --
   5     goes on top of it, then that will hook into a plug, and    5    MR GUNNING: G29.
   6     the plug with the spacer fluid beneath it will sink down   6    THE CHAIRMAN: Yes.
   7     the casing, cement will be on top of the bottom of the     7    MR GUNNING: Tab 17.
   8     plug.                                                      8    THE CHAIRMAN: Yes.
   9         The first cement that goes is called lead cement --    9    MR GUNNING: Then in the top right-hand corner of the page,
  10     it is not lead, it is lead cement -- and then following    10     it will say "page 67".
  11     that tail cement will be put on top, and then there will   11   THE CHAIRMAN: Thank you.
  12     be a top dart and a top plug, and above that there will    12   MR GUNNING: You should find the image that you have on the
  13     be mud, and the mud basically forces the cement down       13     screen in that page. So in our bundles it is on
  14     through the annulus and then back up -- down through the   14     page 183 but in the report it is internal page 67.
  15     casing and then back up the sides of the annulus.          15       If you go to page 187, you can see an image of -- in
  16         The diagram that I've shown you there in the middle    16     the bottom right-hand corner, which I just lacked the
  17     of the page comes from an exceptional -- if you're         17     computing ability to cut out because it is a funny
  18     trying to understand this in more detail                   18     shape, this shows a cementing operation in progress. So
  19     an exceptionally useful description of the process in      19     you have spacer fluid with two arrows going down to
  20     the chief counsel's report on the Macondo incident,        20     those float valves at the bottom of the casing, and
  21     which is bundle G29, tab 17, page 187. It is really        21     above that you have the bottom plug and then you have
  22     an exceptionally clear explanation of cementing            22     the cement, and then above that you have the top plug
  23     operations.                                                23     and then above that you have mud going down the casing.
  24         Now, in this case it not quite like this image         24     The idea is that as you push down, the bottom plug will
  25     because we have a horizontal well. So in this case if      25     break open and then you will continue to put pressure on

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   1     the -- continuing to insert mud on top of it, so that       1     will put your gamma ray tools down and that will enable
   2     will force the cement to come down. As it comes down,       2     you to work out -- you will have a map of the gamma ray
   3     it comes out and back up. So if you look at page 188,       3     readings going all the way down. There is usually a lot
   4     the next page, it sort of comes up the annulus between      4     of movement in the gamma ray curve, from high values to
   5     the well bore and the casing.                               5     low values. So you get a very good, precise sort of
   6        But the top plug should fit in position, as we see       6     fingerprint of the layout of the well.
   7     here, and essentially cap off the cement at the end of      7        The other point is that once you have the casing in
   8     the job.                                                    8     place, although the radiation measurements are reduced,
   9        Then you will want -- ultimately you will want to        9     they are not eliminated. So even with the casing in
  10     break is out so that you can then carry on with your       10     place you can work out what your depth is in the well
  11     drilling, but this is the process. Is that clear           11     bore because of the radiation measurements. So you can
  12     enough?                                                    12     get an exact depth measurement once the casing is in
  13        Now, one of the things that you're going to have to     13     place by comparing your cased hole gamma ray log to your
  14     consider looking forwards is whether the evidence          14     open hole gamma ray log. So, in other words, you can
  15     supports our hypothesis that the relevant steps were not   15     match your log as you've been going down with casing in
  16     to carry out -- a proper cementing job were carried out    16     place against where you were when there wasn't any
  17     by NAE, and as part of that process we will have to move   17     casing in place at all.
  18     on to one of the numerous logs that's kept on the          18        So it's very common to find that as a kind of depth
  19     project, and that brings me to my next topic, which is     19     gauge in these logs.
  20     well logging. For present purposes, I am just going to     20        The third thing I was going to mention is that
  21     focus on the characteristics of a well log rather than     21     typically you will have something that indicates your
  22     the content of any individual log.                         22     depth on these logs, and typically the depth that will
  23        We're going to be focusing I think on two particular    23     be shown is called the AHD or a long hold depth. That
  24     ones, going forwards. The first is the log that was        24     is not the same as the true vertical depth because the
  25     taken from something called the segmented bond tool that   25     well is going down and across and then horizontal.

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   1     you will have read about, the SBT, and that was sent        1        What I have tried to do on this slide is to give you
   2     down the well in December 2009, and it was used to          2     some useful figures going forward which identify for you
   3     assess the quality -- or meant to be used to assess the     3     the long hole depth of the gas-oil contact, and then its
   4     quality of the cement job before the open hole was          4     comparative true vertical depth, and also something
   5     drilled out.                                                5     called TVDSS, that is true vertical depth subsea. True
   6        The second log that we will be looking at is the log     6     vertical depths are often corrected to allow for the
   7     taken from the production logging tools in                  7     elevation above the mean sea level of the depth
   8     December 2010, which showed where gas was coming into       8     reference point of the well, and there was a 26-metre
   9     the producing part of the well.                             9     difference in relation to these measurements.
  10        But the points I wanted to draw your attention to at    10        Then I have given you also the end of the 9 and
  11     the moment are these. The first is when you look at        11     five-eighths-inch casing, you can find out where that
  12     these logs they will have these sort of characteristics.   12     is, and then the end of the 8.5-inch hole. So when
  13     There will be a series of columns and each of those        13     I said the horizontal hole was about 600 metres long,
  14     columns is called in the industry, as I understand it,     14     you can see it is the difference the AHD measurements on
  15     a track. So when there is talk about tracks, the first     15     that table.
  16     track, it will be the left-hand column.                    16        The final point I was going to make about logs is
  17        The second point is that very commonly you will find    17     that you will see that they record different information
  18     that the first track will show something, as you'll see    18     about different characteristics of the well in different
  19     here, called the gamma ray recording, and the gamma ray    19     tracks but they also sometimes contain different
  20     tools measure the naturally occurring radiation in the     20     information in different scales within the same track.
  21     well bore. They provide a very good indication of the      21        So if you look in the track 1, we have gamma ray
  22     presence of shale, as it happens, but more importantly     22     readings. We also have minimum delta T and maximum
  23     they provide a record against which you can then           23     delta T readings, and also we have differential tension
  24     correlate your depth in the well bore once the casing is   24     readings. They are all to different scales, they are
  25     in place. So before you have put the casing in, you        25     all measuring different things, but they are all on the

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   1     same track.                                                  1     naturally occurring level of gas in the oil, regardless
   2        That brings me on to the next slide, which is the         2     of any incursion from the gas cap. Indeed, the
   3     next topic along, which is about producing from the          3     expansion of that gas helps to force the oil up the oil
   4     well. The way that oil is produced in a well is through      4     well, because the gas will tend to expand I think more
   5     the pressure difference between the reservoir and the        5     than oil will expand when you go to a different pressure
   6     well bore. The pressure difference causes oil and gas        6     level.
   7     and water to expand out of the rock and into the well,       7        The natural level of the GOR, or gas-oil radio, in
   8     and the pressure difference between the bottom and the       8     the Oyo-5 well was measured in a pressure volume
   9     top of the well causes the oil, gas and water to expand      9     temperature analysis, which was done in October 2009,
  10     upwards. That pressure difference is affected by the        10     and the natural level was found then to be 649 standard
  11     choke, and choke measurements are typically given in        11     cubic feet per barrel. So if you had that level of
  12     64ths of an inch, and that is the diameter of the choke     12     gas-oil ratio it wouldn't necessarily ring any alarm
  13     incidentally. It's not the radius, it's the diameter of     13     bells because you would be expecting that to exist
  14     it. So there is a connection anyway between choke size,     14     naturally within the formation.
  15     pressure difference and flow through a well.                15        Another point to make is that as the pressure in the
  16    MR LEW: What did you say the width was?                      16     reservoir reduces, there will come a point where gas
  17    MR GUNNING: The diameter of the choke will just be called    17     will naturally bubble out of the oil, and that's called
  18     the choke measurement.                                      18     the bubble point pressure. Where that happens it means
  19    MR LEW: You said typically the size --                       19     that gas can enter the oil stream from further down the
  20    MR GUNNING: It will be measured in 64ths of an inch.         20     oily part of a formation. So once that happens, once
  21    MR LEW: 64th?                                                21     you pass the bubble point pressure, you would naturally
  22    MR GUNNING: Of an inch, exactly. So when you see 18          22     expect the gas-oil ratio to increase to some extent.
  23     64ths -- my maths has failed me. I should have chosen       23        But there's a quite separate process, which it is
  24     something simple like 32/64ths, it would be half an         24     very important to understand in this case, because it
  25     inch. Sorry about that.                                     25     I think explains in substantial measure one of the

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   1         Anyway. When the fluids emerged from the well they       1     things that went wrong, which is gas coning. That is
   2      have to be separated out and the quantities of fluids       2     a manner by which gas can migrate from the gas cap into
   3      will be measured using a separator, and here one of the     3     the production stream. It is called gas coning because
   4      stories that you will come across is that there were        4     the gas literally cones down from the gas cap, when the
   5      meant to be two separators, two functioning separators      5     buoyancy forces that are keeping the gas layer separate
   6      on the FPSO, a test separator and a production              6     are overcome. There's going to be quite a lot of
   7      separator. But the fact that there was only one working     7     evidence about this process. But I would just flag two
   8      meant that actually the entirety of the streams coming      8     points.
   9      from Oyo-6 and Oyo-5 were being joined together before      9        The first, and perhaps I found most unexpected
  10      separation. We'll have to examine what the consequence     10     point, until it was explained to me, is that gas coning
  11      of that are for the reliability of some of the data that   11     is most likely to occur where the permeability is lower.
  12      we have.                                                   12     The lower the permeability the more likely you are to
  13         Finally, I have also given the units of measurement     13     have gas coning. The reason for that is where the
  14      that you will come across in the right-hand side.          14     permeability is lower, a greater pressure difference is
  15      I found that helpful to have a note of those. They are     15     required to extract the oil. So that greater pressure
  16      relatively obvious when you know them. I don't think       16     difference results in a greater likelihood of in effect
  17      there is any significant difference between a stock tank   17     sucking the gas from the gas cap into the production
  18      barrel and a barrel. I think they amount to the same       18     stream.
  19      thing, but sometimes it is STB and sometimes it is BBL.    19        The second thing, though, which is the opposite end
  20         The comparison, though, of the volume of gas that is    20     of that, is that the gas will tend to cone through areas
  21      taken at the separator to the volume of oil gives          21     that are more permeable. So although it takes lower
  22      a gas-oil ratio, and that will be measured in standard     22     permeabilities to cause the coning to occur, it will
  23      cubic feet per barrel. Standard cubic feet of gas per      23     tend to come through the more permeable bits.
  24      barrel of oil.                                             24        So those are the technical features I thought
  25         And it is important to understand that there is         25     I would take you to and that brings me on swiftly to

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   1     what it is that we complain about.                          1      comply with that.
   2         I think those fall basically into three topics, the     2         The third thing is that NAE then undertook
   3     third, which is flaring, we can take quickly, because       3      an examination of the quality of the cement using
   4     you will see in due course the plan was that 98 per cent    4      a segmented bond tool before proceeding to drill out the
   5     of the gas that came out of Oyo-5 was intended to be        5      open hole section but they seemed to have done the
   6     reinjected into Oyo-4, but because of the high volumes      6      drilling without paying any sufficient regard to what
   7     of gas that were being produced and the unavailability      7      the segmented bond tool analysis showed. If they had
   8     of compressors on the FPSO that didn't happen, and as       8      examined it properly, they would have realised that it
   9     a result a lot of the gas had to be flared off, and         9      showed bad cement in the material area, which is from
  10     although it is a matter that Mr Wade will be dealing       10      the gas cap or the gas-oil contact point down to the
  11     with the claimant agreed to indemnify the respondent       11      heel, and that remedial work was required. But they
  12     against the fines that were incurred in relation to        12      didn't do that and so a leak path was permitted to
  13     that. So that's flaring.                                   13      remain in place between the gas cap and the well.
  14         Cementing and production. What we say in relation      14         So that's what we say, and we say that was not in
  15     to these is essentially that NAE went about the            15      accordance with internationally acceptable standards.
  16     cementing and management of production in                  16         That takes me on to the second area of criticism,
  17     an uncontrolled and inappropriate manner, and then it      17      which is the management of production. I think there
  18     failed to respond promptly or at all to the evidence of    18      are likely to be six questions that you have to consider
  19     problems by taking appropriate remedial action.            19      here.
  20         So that's the essence of our case. I'm not going to    20         The first is, was it important for the production of
  21     take any of the evidence for granted. This is the          21      oil from Oyo-5 to be carefully managed? It's the
  22     opening submissions, so you haven't heard the facts yet.   22      commencement of production to be carefully managed?
  23    MR LEW: You are stating the case and you are saying that    23         The second is, did NAE develop a suitable plan for
  24     it's failure to achieve zonal isolation and to recognise   24      opening up the well?
  25     the shortcoming in the cement job, that you say was in     25         The third is, what, if any, arrangements did they

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   1     breach of industry practice?                                1      have in place to enable them to monitor production as
   2    MR GUNNING: Yes, we do say that. We do.                      2      the well was opened up?
   3        In relation to cementing there are going to be four      3         The fourth point is, taking those arrangements, if
   4     questions that you are going to want to consider at the     4      any, into amount, did they control the opening of the
   5     end of the case. The first is -- and it is unlikely to      5      well sufficiently cautiously?
   6     controversial -- was the quality of the cementing of the    6         Then, fifthly, when problems were discovered, how
   7     nine and five-eighths inch casing an important process      7      did they respond?
   8     for the completion of the Oyo-5 well? That's the first      8         Then the final one, was that response sufficiently
   9     question.                                                   9      prompt?
  10        The second is, how did NAE plan to execute the          10         What I hope we will show you through the evidence on
  11     cement job?                                                11      these topics is that they knew or ought to have known
  12        The third is, did NAE depart from that plan when        12      that it was extremely important to manage the production
  13     executing the cement job and, if so, how and in what       13      process carefully to prevent gas entering the production
  14     respects did it depart from the plan?                      14      screen, because they knew the proximity of the gas cap.
  15        Then the final question you're likely to ask            15      They knew that.
  16     yourselves is, what steps did NAE take to satisfy itself   16         The second is they don't appear to have had
  17     at the end of the process as to the quality of the job,    17      a satisfactory plan for the opening up of the well, and
  18     and what conclusions should it have reached about it?      18      they appeared to have targeted a production rate of
  19        What I hope to show you, I'm not taking you for         19      around about 15,000 or 17,000 barrels of oil per day,
  20     granted, is that the cement job was extremely important.   20      which they should have realised could give rise to
  21     It was essential, as we've seen, to ensure zonal           21      an early gas incursion.
  22     isolation between the gas cap and the heel of the open     22         The third thing is that they were lacking basic
  23     hole section of the well.                                  23      information about the performance of the wells at the
  24        Secondly, NAE did have a plan of sorts which was        24      time that they opened them up. So they weren't able to
  25     prepared with or by Schlumberger but then it failed to     25      monitor the performance accurately and so didn't control

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   1    the opening up of the wells appropriately.                   1     to go to. So there's a dispute on the expert evidence
   2       Then within a week or so of opening up the well, the      2     what you can draw from that. But certainly this would
   3    gas-oil ratio had risen to levels which suggest a gas        3     be consistent with poor cementing.
   4    incursion. They were way above that level -- or they         4        But what you will also see is that the gas incursion
   5    began to be consistently above the natural GOR that you      5     was not limited to the heel. The measurements are
   6    would expect, but they didn't do anything about that for     6     not -- so that's at the first 20 metres or so from the
   7    about six months. Indeed, the action that they               7     heel you have a lot of gas going in, and then you have
   8    ultimately took was to undertake a work-over sequence in     8     a little patch which is running for about another
   9    December 2010 to January 2011, which comprised using         9     70 metres or so, where there is gas coming in but not so
  10    a production logging tool and then a gas shut-off           10     much. Then you get to the next little patch, which is
  11    operation. But by that time it is clear, I think, that      11     about a 10 or 11-metre patch, where again you have a lot
  12    gas coning had occurred and the GSO operation that was      12     of gas coming in and so on.
  13    undertaken was not able to rectify the problem of gas       13        What this shows is that as you go further down the
  14    incursion.                                                  14     production part of the well, you have gas coming in
  15       Now, we can see some of the difficulties that were       15     which is evidence of gas coning. So that is what was
  16    experienced in the aftermath of opening up the well in      16     discovered to be the position as at December 2010.
  17    the next slide, which shows the declining rate of           17        That leads me to the gas shut-off. You can see the
  18    production from Oyo-5. Red against a scale of thousands     18     effect of the gas shut-off on this slide. You have to
  19    of barrels on the left is the number of barrels that        19     read it with a little bit of care because in the middle
  20    were being produced per day from 5 December onwards. So     20     of it what you see is a period where the gas rate slumps
  21    there's a spike to start with for a small number of         21     to a very low level, or the gas-oil ratio slumps to
  22    days, then it relentlessly falls downwards. But running     22     a very low level. That's because the well was shut off.
  23    across that you have a continually increasing gas           23     It was closed for a substantial period before the GSO
  24    production rate and gas-oil ratio.                          24     operation was carried out. So there is a little spike
  25       You will notice at the top of the black line is          25     as that's happening but then it falls down.

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   1     shown the choke settings at the time that those             1        But what you can see essentially is that after the
   2     measurements were taken. So as the choke settings           2     GSO the amount of oil that was being recovered continued
   3     increased, you can see that there were increases in the     3     to decline and the gas-oil ratio continued to increase.
   4     gas amount and the gas-oil risk.                            4     So the GSO was not successful in the sense of stemming
   5        Now, a snapshot of the gas ingress into the              5     the problem of gas incursion. I don't think there is
   6     producing part of the well can be seen from this image,     6     any dispute about that.
   7     which is the result of the production logging tool          7        Now, that leads me to the final point that I was
   8     analysis in December 2010. What it shows is that            8     going to make, which is on the question of causation.
   9     over -- if you look at the right-hand side, the green       9     Here NAE, through its expert Mr Filippi, runs the
  10     blocks represent the proportion of all oil. Red blocks     10     argument that in effect the gas incursion and the change
  11     represent the proportion of gas. Blue will be water.       11     in GOR rates and so on were essentially unavoidable, and
  12     So there is very little water coming in for the first      12     they say the characteristics of the well and its
  13     seven or so rows, but the very first row is at the heel    13     proximity to the gas-oil contact meant that there was
  14     of the production part of the well. What you are seeing    14     always going to be gas coning. I think their evidence
  15     there is a very high amount of gas incursion coming in     15     will be to the effect that their model shows that
  16     through there.                                             16     serendipitously for NAE by opening it up rather
  17        Now, you're going to have to consider -- there is       17     aggressively or quickly they happened to achieve the
  18     a dispute on the expert evidence about this -- whether     18     optimal economic recovery. We will have to look at that
  19     that evidences the likelihood that there was a channel     19     evidence fairly carefully. But this chart provides
  20     running down from the gas-oil contact down through the     20     a comparison of the consequences of managing all four of
  21     casing, because this is the first point where that would   21     the active wells, Oyo-5, 6, 7 and 8. And when you do
  22     be expected to come in, is at the heel of the well.        22     look at these charts you do need to be very careful
  23        Equally it will be said that the pressure difference    23     about the scale. Because sometimes these are shown to
  24     is always going to be greatest at the heel of the well,    24     a log scale on the left-hand side, which completely
  25     and so it is the most natural place for the gas coning     25     masks the differences between the wells. But Oyo-5 is

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   1       the red one and it shows how the GOR changed for the               1       novation question and exclusions of liability, which
   2       cumulative barrels of oil, and it shoots up basically,             2       have been touched upon. After that, I will make some
   3       and, indeed, it goes off the scale on this particular              3       comments about NAE's adjustment claim against Allied,
   4       chart. It goes up to in excess of 20,000 standard cubic            4       and I will not deal with the deferred payments claim at
   5       feet per barrel.                                                   5       the moment, because it is subject still -- well, much of
   6          By contrast what you have there is Oyo-6, which is              6       the debate is subject still to the court's decision, and
   7       bumbling along at a much lower level. Oyo-6 doesn't                7       that is pending, but also because the issues have been
   8       even have an associated gas cap, so it is not really               8       addressed in submissions and probably don't need to be
   9       comparable, and you wouldn't be expect it to be behaving           9       repeated at this time.
  10       in the way of Oyo-5. But of interest is the fact that             10          Again, if there are any questions, of course I will
  11       Oyo-7 and Oyo-8, which are in the same reservoir but              11       be happy to answer them.
  12       being managed with a lower rate of production, are not            12          So on the slide presentation you see a copy of
  13       showing the same gas-oil ratio at all.                            13       an agreed table from the agreed witness statement, the
  14          So what this shows, I invite you to draw from it, is           14       agreed quantum expert report. I must tell you now that
  15       that actually more cautiously managed there did not need          15       this is the agreed statement that will change because
  16       to be this huge gas incursion or gas-oil ratio, and               16       Mr Moy's revision will result in some changes to the
  17       those things have not happened on Oyo-7 and Oyo-8.                17       quantum model, and I will touch on that in more detail
  18       I think my learned friend took you to a slide on Oyo-7            18       in a minute. But I understand that the figures on the
  19       for the purpose of saying look at the purpose of this             19       bottom three left-hand rows and the total will change.
  20       the gas -- the oil recovery is reducing. Be careful               20       It doesn't matter for current purposes how they will
  21       with that slide because you need to take into account he          21       change but I just wanted to make it clear that that is
  22       chock sizes as that was happening, and the choke sizes            22       about to change.
  23       change in Oyo-7, and those explain the production.                23          The issue of quantum gladly, perhaps, is one of less
  24          If you're looking at the GOR, which is also on the             24       complexity than the technical issues, and we are
  25       slide, you need to look at it by comparison to the GOR            25       indebted to the services of both sides' quantum experts

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  1       on Oyo-5, and you can see from this that the profile is             1       in that regard because there is almost more common
  2       really completely different.                                        2       ground between them than there are matters which
  3         So in short, what we say is that if the production                3       separate them.
  4       had been managed more cautiously and if there hadn't                4          The most important common ground between them is
  5       been a leak down this cementing, then the problems that             5       that both experts agree that Mr Taylor's model properly
  6       were encountered (inaudible) could have been avoided.               6       models the PSC and properly reflects the manner in which
  7         That's the end of my section. I'm sorry for ...                   7       the losses caused to the counter-claimants and their
  8     MR WADE: So that was in the end of the interesting section,           8       affiliates result from NAE's breaches of the PSC. And
  9       and I wonder if we might have a convenient break now for            9       I should say, if proven, because that is not a matter
  10      a cup of coffee and to relieve the transcribers?                   10       for the quantum experts but they are assessing the
  11    THE CHAIRMAN: Yes. Shall we take 15 minutes? By the way,             11       economic consequences of the breach.
  12      to the extent we've used PowerPoints or whatever, if you           12          So they agree on how you should -- or how the
  13      can send those on electronically to the Tribunal that              13       damages should be calculated in this case. You will see
  14      would be appreciated. We will see you back in                      14       as a result on the columns on each side it predicts for
  15      15 minutes.                                                        15       both parties. Both parties' experts predict that damage
  16    (3.05 pm)                                                            16       had occurred to Allied. There is a magnitude of
  17                 (A short break)                                         17       difference between them but it's nevertheless
  18    (3.18 pm)                                                            18       an interesting feature of the claimants' case that even
  19    MR WADE: May I?                                                      19       on their best case scenario they predict a loss to the
  20    THE CHAIRMAN: Yes, please.                                           20       counter-claimants resulting from the breaches which are
  21    MR WADE: So Mr Gunning has just shown us the inevitable              21       alleged.
  22      consequences of the failure to manage production from              22          In our submission, that's an unusual feature of this
  23      Oyo-5, and in the next few moments I plan to spend some            23       case and it's a signpost for the Tribunal as to where
  24      time talking about the financial consequences and effect           24       we're going to end up, and the big question we say is
  25      of that, followed by a few brief comments on the deed of           25       going to be not was there a breach but how much damage

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   1     has resulted from the breach.                                 1   THE CHAIRMAN: In fact because they were higher prices
   2        The other points which I would like to tell you            2     a couple of years ago.
   3     about in relation to this model are the points of             3   MR WADE: Correct. But it's more a question of quantities
   4     disagreement. The first and most important point of           4     than the price of oil, as I understand it.
   5     disagreement between the parties is which input goes          5   MR LEW: I think my point about quantities is that the oil
   6     into this model to calculate the loss? Dr Moy's               6     is still there. Even if you seek to produce it two or
   7     production forecasts, are they input into the model, in       7     three years later, you might produce a greater amount
   8     which case you get the damage subject to the change           8     but you're still able to produce the same amount --
   9     which is on the left-hand side of the table, or do you        9   MR GUNNING: But you receive the money later, and so if
  10     input Mr Filippi -- is it Mr Filippi?                        10     you're doing a net current value for it, it will
  11    MR NESBITT: Mr Filippi, I was also mispronouncing it.         11     discount in the cash flow later and you will get
  12    MR WADE: So Mr Filippi's model would result in the damages    12     a lesser amount than it's current -- I think that's
  13     on the right-hand side of that table.                        13     probably part of --
  14        The second big point of disagreement or the point of      14   MR WADE: The experts will tell us, but I also understand
  15     disagreement which has a big financial impact is the         15     that pressure depletes from the field over time and the
  16     timing in which Oyo-8 or the replacement wells Oyo-7 and     16     later you drill a well, the less you can extract from it
  17     Oyo-8 would have been drilled in the "but for" world.        17     in the circumstances where a well is producing.
  18     That is a point of disagreement which Mr Nesbitt has         18        The difference between the parties is that the
  19     already highlighted, and I am repeating that to say that     19     counter-claimants say that in circumstances where "but
  20     it has a big financial consequence as well. The earlier      20     for" world Oyo-5 was producing an income stream for
  21     they would have been drilled, the greater the income in      21     them, they would have hurried up and girdled their loins
  22     the "but for" world that the counter-claimants would         22     and drilled a new well to increase production from the
  23     have made, and the later the less income they would have     23     field and they would have no reason to delay at all
  24     made in the "but for" world. So that's a point on which      24     their production -- their drilling plans. But in the
  25     they disagree and it has a significant impact on the         25     real world they had to raise finance and the drilling of

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   1      damages.                                                     1     the new wells was delayed.
   2    MR LEW: Just explain that to me. You say if the well had       2        Mr Filippi says there is no reason for any
   3      been dug earlier, profits would have come through            3     difference in the "but for" and the real world as to
   4      earlier.                                                     4     when the new wells would have been drilled.
   5    MR WADE: Correct.                                              5        The third question on which there is a disagreement
   6    MR LEW: If the well has not been dug, the resource is still    6     between the experts is the question on whether Allied
   7      there.                                                       7     did or did not suffer loss on the transfer of its
   8    MR WADE: The resource is still there, but there is a time      8     interest to CPL. That is reflected in the second line
   9      limit within which we look at this partially because of      9     from the top, where Mr Taylor models a lot of
  10      the length of the leases and partially -- that's it,        10     28 million, whereas Mr Filippi says that the
  11      I think, it is the length of the leases I think which       11     counter-claimant -- that Allied in particular made
  12      govern the amount of money that could have been made out    12     a profit of 4.7 million on the sale of the interest on
  13      of the leases. So we're looking up until 2021.              13     to CPL.
  14         If the wells were sunk in 2012, then there would         14        That, with your permission, is as far as I want to
  15      have been more income -- it doesn't actually matter so      15     take the issue of quantum at this time.
  16      much because of the depletion of the oil from the wells     16        So moving on to the question of the deed of novation
  17      over time and they both deplete before the end of the       17     and, as I mentioned before, there are two elements to
  18      lease. But I am just being pointed out that there is        18     this now. One which was presented by Mr Shoesmith and
  19      also a discounting cash flow element to the timing of       19     which we do not address today and the other relates to
  20      the well. The earlier you are producing, the more           20     the third deed of novation. The majority of the
  21      income you can make from it.                                21     Tribunal will remember, as mentioned before, that this
  22    THE CHAIRMAN: Is there any effect in the changing price in    22     was an issue that you have already dealt with and
  23      oil?                                                        23     decided in the first preliminary issues hearing that we
  24    MR WADE: There will be an effect, yes, but that has been      24     held some two years ago now.
  25      taken into account --                                       25        Although the claimants tell us that this is an issue

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   1     which you haven't decided because you didn't make           1      they are entitled to an indemnity of any losses they
   2     a ruling on it specifically, the finding that you did --    2      have suffered, including as a result of breaches of the
   3     the ruling that you did make was at paragraph 241 of        3      PSC by themselves and by their affiliates. That, of
   4     your award, and by a majority then you decided that         4      course, answers, and I do so without the necessary
   5     clause 11.1 of the SPA:                                     5      detail at the moment, but it also answers the question
   6        "... does require the claimant to indemnify Allied       6      of whether it is right or wrong that CPL didn't bring
   7     in respect of pre-economic debt liabilities, including      7      a case in its own name in these proceedings.
   8     under the PSC losses suffered by Allied and its             8         Under clause 11.1 it doesn't need to and, therefore,
   9     affiliates, subject to the limitations and under            9      it didn't, but there would be a question of whether it
  10     provisions of the SPA."                                    10      would be allowed to under the SPA. But the SPA
  11        You may recall, although you didn't say so expressly    11      expressly allows Allied to recover CPL's losses, and
  12     here, that that was in response to arguments that the      12      that is, of course, part of the allocation of
  13     counter-claimants should not be allowed to rely on         13      liabilities between the parties to the particular
  14     claims under clause 11.1 because of the effect of the      14      contract. But they were also contemplating expressly
  15     third novation.                                            15      the inter-group and intra-group liabilities, and they
  16        So this, in our submission, is the starting point.      16      were thinking the losses aren't all going to accrue to
  17     From here you start and you don't need to revisit the      17      Allied, and so Allied is entitled to claim in respect of
  18     novation point at all. This is your fixed point of         18      its affiliates. That is expressly recorded in the SPA
  19     reference for starting and analysing the SPA.              19      but also in your award. That is the point from which we
  20        You already have our arguments in a sense, because      20      start in this part of the proceedings.
  21     you've heard them and they are recorded -- both oral       21         The third argument we made in our pre-hearing
  22     arguments and our written arguments are before you. But    22      submission -- preliminary point, sorry, in our
  23     in case it is necessary, then the real arguments don't     23      preliminary issues submissions to you, which you might
  24     change at all.                                             24      recall, of course, was that the deed of novation was
  25        This is a case by the way that NAE has run not only     25      a forward-looking document, and we analysed clause 2,

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   1     before you and failed. They ran it again before the         1     and we looked also -- and just stop me if this is not
   2     High Court in their jurisdictional challenge in             2     just sparking memories for you but you want to go to the
   3     an attempt to reverse your ruling on the grounds of         3     provisions, we looked at the provisions of clause 2 of
   4     jurisdiction, and there they failed too. So if we are       4     the deed of novation, all of which is forward-looking,
   5     now going at the third bite at this particular cherry,      5     the language of all of which is forward-looking, and we
   6     then we will meet that challenge as necessary.              6     looked at the exclusion of Article 17.2 of the PSC,
   7        The key points are that the SPA itself operates as       7     which you may recall.
   8     an allocation of liabilities or does contain                8        Do we have that on a slide? No, we don't.
   9     an allocation of liabilities between Allied and NAE, and    9        And Article 17.2 of the PSC is an Article under
  10     that allocation of liability was very carefully            10     which NAE would remain liable for the PSC going forward,
  11     negotiated and executed.                                   11     not only retrospectively but prospectively as well and,
  12        And the novation by contrast was just a mechanical      12     therefore, in line with the allocation of liabilities
  13     vehicle by which the transfer of the duties of NAE under   13     from the pre-and post-economic dates, so from the
  14     the PSC was moved to Allied. So you will recall,           14     economic date the prospective liabilities of NAE were
  15     perhaps, that under the deed of novation -- sorry, I am    15     expressly excluded by excluding the effect of
  16     not flicking ahead fast enough -- the key provision        16     Article 17.2 to the PSC.
  17     which allowed you to conclude that the deed of novation    17        I am conscious that for you Lord Hoffmann this might
  18     didn't affect the allocation of liabilities between the    18     not spark any memories and shouldn't really.
  19     parties was clause 3, which expressly says that nothing    19   LORD HOFFMANN: I have seen some of the documents.
  20     in this deed of novation affects the rights between        20   MR WADE: So I am quite happy to leave it there, on the
  21     Allied and NAE as agreed in the SPA.                       21     basis that we will probably revisit this issue in the
  22        Those rights as between Allied -- hopefully I'm         22     closing submissions and move on. If you want to revisit
  23     going backwards to the right place -- those rights as      23     any of those clauses and discuss them with me with them
  24     agreed between Allied and NAE are those which you          24     open, I will do so.
  25     determined in relation to 11.1 that they can claim that    25   THE CHAIRMAN: That's fine with the Tribunal.

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  1     MR WADE: So now turning to NAE's legal defences. NAE has              1        this, and Nigerian law, unlike English law, prohibits
  2       raised two legal defences to the claims against it.                 2        revision of contracts by conduct where there is a no
  3         The first is that Allied has agreed to vary by                    3        variation clause which requires variations in writing.
  4       conduct -- waive its claims under the PSC or vary them.             4          Turning then to the exclusion of limitation clauses.
  5       So those are the two defences that they raise on grounds            5          Mr Nesbitt introduced the issue to you, and two of
  6       of the operation of law. Our response to both of those              6        you will recall it from the preliminary issues hearing
  7       is quite similar. NAE in its submissions hasn't taken               7        as well. Mr Nesbitt took you to some pre-contractual
  8       account of the requirements of those defences, and under            8        exchanges of emails, the point there being really
  9       Nigerian law -- and this is at H1, is the reference, is             9        whether all of Allied's claims under any contract are
  10      the case H1, 19 -- under Nigerian law to prove waiver              10        excluded by the wording of clause 12 of the SPA.
  11      you must show that the representor intended to effect              11          The first point we make returns to the issue of the
  12      the legal relations between the parties.                           12        allocation of liabilities between the parties, and we
  13        There is no evidence at all, because it wasn't the               13        say that you should read clause 12 in that context. We
  14      case, that in anything that Allied did they intended to            14        have a carefully negotiated agreement in which pre- and
  15      change the legal relations between the parties.                    15        post-economic date liabilities were divided expressly
  16      Anything that they did was pursuant to the legal                   16        between the parties, and the Tribunal has to think of
  17      framework in which they were operating under the PSC,              17        how clause 12, which has exclusions of liabilities,
  18      and so any participation in Opcom meetings, any                    18        operates within that.
  19      compliance with subsidiary agreements, any secondments,            19          It is against that background that you need to look
  20      it was all done within the framework of written                    20        at what is being excluded. The language of clause 12 --
  21      agreements and concluded agreements, and were not                  21        and tell me if you want to have a look at it is at --
  22      intended to vary any of the terms of the PSC at all.               22   THE CHAIRMAN: Whichever you prefer.
  23        In any event, and this is another point that NAE                 23   MR WADE: You may recall that otherwise we can open up
  24      would have to prove, and I can't show that they relied             24        clause 12, which is at --
  25      on any representations by NAE, in the sense that we've             25   THE CHAIRMAN: I just happen to have it almost open in front

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   1      heard earlier today how NAE claims that Allied was fully            1        of me. That is my reason --
   2      participating in all of the operations and receiving                2       MR WADE: It is at bundle A, tab 1, page 26. Throughout
   3      information and engaging in management decisions. That              3        clause 12 you will see constant references to "exclusion
   4      is a line of argument which we have referred to as the              4        of liability for Claims". It is that provision which
   5      jointly agreed fallacy in our submissions. It is                    5        the respondents and counter-claimants rely on, when they
   6      a fallacy because it is factually unproven. But it is               6        say that nothing in clause 12 relates to the claims that
   7      also a fallacy in circumstances where NAE's witnesses               7        are being advanced by Allied and CINL and on behalf of
   8      tell you in their statements, for example Mr Carbonara              8        CPL, because all of clause 12 -- and it doesn't matter
   9      at paragraph 63, or Mr Cherri at paragraph 51, they tell            9        where you point at, but all of clause 12 relates to
  10      you that the Allied operatives were not people that they           10        capital C claims. When you turn at page 5 of the bundle
  11      trusted. I accept that I am paraphrasing here, but they            11        or, indeed, 5 of the contract itself to the definition
  12      do indicate a degree of lack of respect towards the                12        of "Claim" you see that:
  13      technical abilities of Allied's personnel, and to                  13           "A Claim means a claim means a claim for any breach
  14      an extent Allied's personnel themselves would accept               14        or alleged breach of any of the warranties or any other
  15      that compared with Eni and NAE's experience, they were             15        claim for any other breach of this agreement."
  16      the weaker party and they did not expect and would not             16           Now, I would ask you to -- of course, you don't have
  17      have expected NAE or Eni to rely on any of their                   17        to -- but I would ask you to underline the term "this
  18      recommendations or proposals. Indeed, they weren't                 18        agreement" because it is a defined term and because its
  19      relied upon. The same arguments are equally an answer              19        the point that I wish to emphasise to you. It is
  20      to the variation defence which is raised also in its               20        breaches of this agreement in respect of which any
  21      pre-hearing submissions.                                           21        matter is excluded.
  22         In relation to variation, the position is slightly              22           The definition continues:
  23      stronger from the counter-claimants' position because              23           "... in respect of this agreement or in respect of
  24      Nigerian law is very clear on the effect of no variation           24        any matter arising out of this agreement or any of the
  25      clauses, and we have Nigerian authority in the bundle on           25        completion documents."

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   1         So you can look it up, but the completion documents     1     therefore, you don't have jurisdiction under the PSC.
   2     are the deed of novation and the deed of assignment.        2        Having accepted our position and the correct
   3         The completion documents do not include the PSC, of     3     interpretation of the SPA in that regard, it is
   4     course.                                                     4     impermissible, in our submission, for NAE to change tack
   5         As arbitration lawyers you might be thinking to         5     and say to you now the "Claims" has no meanings.
   6     yourselves, well, if it's any matter arising out of,        6        The final point, and I make this with the
   7     then that sounds a lot like Fiona Trust and, therefore,     7     reservation that about -- a caveat about the importance
   8     it's any matter arising out of or in connection with it     8     of pre-contractual exchanges which in fairness would be
   9     will include the PSC, and that is indeed the                9     said against me have been relied upon by both parties in
  10     jurisdictional ruling paraphrased that you made. But       10     this arbitration for context. But as far as they are
  11     this is not an arbitration contract, and this clause,      11     dispositive, it is probably fair to say that when
  12     together with clause 12, needs to be read within the       12     Mr Malek made concessions in emails accepting deletions
  13     context of the SPA generally, and the context of the SPA   13     of parts of clause 12, you don't know and you can't know
  14     is that the parties negotiated and agreed an economic      14     whether he did so because he was alive to the definition
  15     separation of liabilities up to the economic date and      15     of "Claims". And, in our submission, he must have been,
  16     from the economic date, and the exclusion of liabilities   16     having drafted the contract. So when he gave up the
  17     and the references to "Claim" makes sense in that          17     wording you were referred to before in clause 12, he did
  18     context.                                                   18     so in the full knowledge that it made no difference
  19         You will notice also, although perhaps it's not the    19     whatsoever. It made no difference because the
  20     strongest of my points, that there is no express           20     definition of "Claims" protected the rights he wanted
  21     reference to -- although there are claims for breach of    21     protected in any event.
  22     warranty, there is no express reference to claims for      22        So to the extent that pre-contractual correspondence
  23     breach of an indemnity. Of course, the indemnity is        23     and exchanges have great weight or not, in this case
  24     an entirely different animal to the warranties. It is      24     they have done in relation to these. Of course, in
  25     expressly stated in the indemnities that Allied may        25     relation to the pre-contractual exchanges that we rely

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   1     recover damages or the losses of affiliates. That           1     on, the position is entirely different and we will get
   2     wouldn't be the same for any other type of claim under      2     to --
   3     the SPA.                                                    3   THE CHAIRMAN: We've understood the parties' flexibility
   4        Now, there are two more points that I would like to      4     about relying on pre-contractual exchanges.
   5     make orally about -- well, there will probably be more      5   MR WADE: Okay. So that was my final point on the issue of
   6     than two, but two that immediately come to mind that        6     the clause 12 exclusions.
   7     I would like to make orally about our submissions in        7        No, that wasn't the final point. My slides correct
   8     this regard. I suppose the first preliminary point 0,       8     me. The final point is that you should test -- whenever
   9     then, is that these are submissions which you accepted.     9     you think carefully about the clause 12 exclusions you
  10     So, again, our starting point is already from a position   10     should test the exclusion in relation to the terms of
  11     where you have understood our submissions in relation to   11     indemnity 11.7, which is the gas flaring indemnity. The
  12     clause 12 and you've made a ruling as to the operation     12     background to the gas flaring indemnity is that it was
  13     of clause 11.1 and 11.2, but 11.1 in particular.           13     entered in circumstances where the parties had already
  14        The second is, of course, we were deeply concerned      14     been told they were going to be fined for gas flaring
  15     as to the correctness of our submissions to you until      15     and Allied had been complaining about the gas flaring
  16     the jurisdictional hearing in which your first award was   16     for a great deal of time and NAE had done nothing to
  17     challenged. Our concern was alleviated at that point       17     correct it. In these circumstances, the indemnity at
  18     because counsel for NAE made the very same submission      18     clause 11.7 was entered into and NAE accepted liability
  19     against us in that case. The reference for that is at      19     for all of the gas flaring, for any fines arising from
  20     G26, tab 676, page 28, and lines 7 to 11. The argument     20     the gas flaring, up until the economic date.
  21     he was putting there was that, even though you have        21        The parties negotiated that from the economic date
  22     jurisdiction under clause 11.1 to address claims under     22     Allied would be responsible for any gas flaring and any
  23     the indemnity in clause 11.1, you can't have parallel      23     fines that arise in relation to that. If NAE's current
  24     jurisdiction for claims under the PSC because of claims    24     view of clause 12 is correct, then this indemnity has no
  25     being "Claims" aren't claims under the PSC and,            25     meaning whatsoever. That applies also by the way in

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   1      relation to thinking about the novation. The parties       1      like -- and I say this with almost certainty -- that NAE
   2      took the trouble to negotiate a set of indemnities,        2      was aware that Allied had served the dispute notice on
   3      including an indemnity for events of which they were       3      time, and they weren't aware of it from the very first
   4      well aware, and then by some magical operation of          4      moment but they became aware of it and they concluded
   5      clause 12 those provisions are emptied of any content.     5      that it was served on time.
   6      If that is the case, if clause 12 applies to disapply      6    MR LEW: You just said that this has come about from
   7      the first half of clause 11.7, why did the parties enter   7      disclosure.
   8      into it at all? Did they intend clause 11.7 to be          8    MR WADE: It has come about --
   9      disapplied? Was this a gotcha moment on behalf of Eni      9    MR LEW: Can you take us to those documents.
  10      or NAE? Did NAE think to itself "Well, excellent"?         10   MR WADE: Yes, I will. So let's go there, please. The
  11      I don't think so, I think parties must be taken to have    11     first document I would like to take you to is --
  12      negotiated in reasonable good faith and they would not     12   THE CHAIRMAN: Before you take us to their documents that
  13      have intended to agree one provision and then close it     13     you received on disclosure, am I correct that your case
  14      out by the back door.                                      14     is that Allied sent the notice to Abuja?
  15         So that's probably my last submission on the            15   MR WADE: Correct.
  16      exclusion clauses.                                         16   THE CHAIRMAN: And that somebody at NAE in Abuja sent to it
  17         Turning then to NAE's claim against Allied -- how       17     somebody else in Port Harcourt?
  18      are we doing for time?                                     18   MR WADE: Correct.
  19         Do I have another 15 minutes or so?                     19   THE CHAIRMAN: And that the stamp is, therefore, the Port
  20    THE CHAIRMAN: Yes.                                           20     Harcourt stamp but it is not the Abuja stamp?
  21    MR WADE: Yes. (Pause).                                       21   MR WADE: And that is now no longer disputed. NAE now
  22         So, first of all, again I must make my submissions      22     accepts that that is the Port Harcourt stamp.
  23      here without prejudice to all of the various               23   THE CHAIRMAN: But you actually have no record of how it was
  24      jurisdictional and other objections which we have          24     sent by Allied to Abuja?
  25      pending.                                                   25   MR WADE: Well, we have. The only evidence you have and the


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   1         I would like also to point out, of course, that we      1      only evidence in this arbitration, which is uncontested
   2      have dealt with the adjustments claim that is being        2      as of yet, is that Mr Kamoru Lawal emailed it from
   3      levelled by NAE against Allied at great length, for        3      Houston to the Abuja office from where it was delivered,
   4      example in our rejoinder and reply submissions at B1,      4      probably by hand, possibly by courier, although the lack
   5      480 to 485. There are numerous references here, but the    5      of evidence of a courier would suggest that it was
   6      short point here is that we maintain the arguments that    6      delivered by hand, and this was common practice in
   7      we have made in the past. So these submissions don't       7      Allied, to --
   8      replace them.                                              8    THE CHAIRMAN: Do we have a copy of that email?
   9         One of the key issues, though, which has arisen and     9    MR WADE: We do. We do not. We have searched. You ordered
  10      has been addressed today as well is the issue of the       10     us to search and we did search. And we don't.
  11      dispute notice and its timeliness.                         11       Nor do we have a copy of a later email in which it
  12         It has been put against us from the very beginning      12     was sent somewhere else. It is a lacuna in our case,
  13      of this arbitration, although in fairness not before       13     but we have witness evidence from the person who sent it
  14      then, that the dispute notice was served late. It was      14     as to how it was sent, and that will no doubt be tested.
  15      served on 15 August, instead of on 9 August. There is      15   THE CHAIRMAN: I had forgotten about that, but could you
  16      a stamp to show it. Our clients, the respondents, have     16     remind me, did the signatory of the letter indicate that
  17      been puzzled about this, knowing full well, as             17     he was in Houston on that day --
  18      Mr Kamoru Lawal's witness statement evidences, that they   18   MR WADE: I believe so.
  19      had disputed the dispute notice on the 8th or the 9th at   19   THE CHAIRMAN: -- in his witness statement?
  20      the latest. They were very confused by this, and we        20   MR WADE: I believe he was in Houston. It was emailed
  21      have been through a lengthy process of making enquiries    21     from --
  22      and asking for disclosure and eventually obtaining         22   THE CHAIRMAN: I don't recall that.
  23      disclosure, which shows that our clients were right.       23   MR WADE: It was emailed. I have met him in Houston so
  24         Not only are the respondents correct that they          24     I assumed he was there. He was travelling.
  25      submitted the dispute notice on time, but it looks         25   MR LEW: He emailed it from Houston?

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   1    MR WADE: I understand that it was emailed to Abuja.          1      like to take you, please, to an earlier tab in that
   2      I should clarify --                                        2      document, which is the tab before.
   3    MR LEW: Okay. So there ought to be a place from which it     3    LORD HOFFMANN: 579.
   4      was emailed and a place at which it was received.          4    MR WADE: This is an email in response from Mr Caropreso.
   5    MR WADE: Correct.                                            5      Internally he was asked whether he has received any
   6    MR LEW: And that hasn't --                                   6      dispute notice.
   7    MR WADE: It has not surfaced notwithstanding our best        7        Initially he answers no in this email, "I haven't
   8      efforts, and we --                                         8      received anything but I sent this letter."
   9    MR LEW: Assume that occurred, somebody printed out the       9    MR LEW: Which document are you looking at?
  10      letter.                                                    10   MR WADE: Sorry. (Pause).
  11    MR WADE: Somebody in Abuja printed out the letter, yes.      11       Sorry, I have --
  12    MR LEW: And delivered it.                                    12   THE CHAIRMAN: I accept the blame because I interrupted you.
  13    MR WADE: Correct, by hand and we have not been to            13   MR WADE: Yes, and I apologise for that blowing me off
  14      identify --                                                14     course. Now, may I ask you please to turn to tab 578 in
  15    MR LEW: You are presuming by hand.                           15     the same bundle.
  16    MR WADE: We are presuming by hand because there is no        16   MR LEW: What was the document you had us at before?
  17      courier document.                                          17   THE CHAIRMAN: We're now going to start at 578.
  18    MR LEW: So is there somebody who can actually say            18   MR WADE: If we can start at 578 and there is an email in
  19      "I printed it out and I took it"?                          19     English at the bottom of the page.
  20    MR WADE: No, there is not. Not for lack of asking. There     20       At the bottom of the page Mr Giannini asks
  21      is nobody who can recall it.                               21     Mr Caropreso whether, having delivered the final
  22    LORD HOFFMANN: You started off by saying that there were     22     adjustment statement on 24 July, and that's in the
  23      documents disclosed which made your point, and I don't     23     first, did Allied ever respond with a dispute notice,
  24      think we've seen them yet.                                 24     and that's final paragraph, in accordance with
  25    MR WADE: No, we haven't seen them yet we're getting there.   25     clause 5.5 of the SPA?

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   1      We're recalling the background --                           1         Mr Caropreso replies at the bottom of that page by
   2    THE CHAIRMAN: We're getting there.                            2      saying:
   3    MR WADE: -- I think is what the chairman was trying to do.    3         "I confirm that we have not received any dispute
   4      Is that correct, sir?                                       4      notice in relation to the final adjustment..."
   5    THE CHAIRMAN: Absolutely. Why don't we go to the              5         He i s writing on 27 August:
   6      disclosure documents? (Pause).                              6         "... and I attach the letter which I sent on
   7    MR WADE: So the first document I would like to take you to    7      23 August."
   8      is in bundle G21.                                           8         He also says:
   9    LORD HOFFMANN: Yes.                                           9         "The bank has confirmed we haven't received any
  10    MR WADE: At tab 580, 338. The tab is 580.                    10      payment from Allied."
  11    LORD HOFFMANN: 580?                                          11         Now, the letter, if you just turn one page over,
  12    MR WADE: Yes.                                                12      still in tab 578, at page 333, the Tribunal may
  13         No, it's not.                                           13      recognise this letter, it is the letter which you relied
  14    LORD HOFFMANN: It's in Italian.                              14      on in your second award as the basis for deciding that
  15    MR WADE: It looks like I have the wrong reference, anyway.   15      NAE was in good faith when it made its claim under the
  16      (Pause).                                                   16      adjustment guarantee.
  17         It is at page 388. Sorry, it is page 338 of the         17         Then if you could, please, turn now to tab 579, you
  18      tab, the same tab.                                         18      see Mr Caropreso sending an email to the same group of
  19    LORD HOFFMANN: Of 580?                                       19      people saying:
  20    MR WADE: Yes, of tab 580, yes.                               20         "Dear all, I send you the letter sent by Allied on
  21    LORD HOFFMANN: I only have six pages on 580.                 21      the subject."
  22    THE CHAIRMAN: Page 2 of the PDF.                             22         Then on the next page is the dispute notice, and
  23    LORD HOFFMANN: Oh, at the bottom. Yes.                       23      Mr Caropreso explains in his witness statement at
  24    MR WADE: But if I may, actually by way of additional         24      paragraph 37 -- I don't think we need to go there --
  25      background, as our background was interrupted, I would     25      that although this dispute notice was sitting on his

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   1     desk for at least almost two weeks, he hadn't noticed       1         Mr Giannini says:
   2     it. That is why he sent on the 23rd the letter to           2         "With regard to the letter received from Allied
   3     Allied, and that is why also on the 27th he sent the        3      relative to the final adjustments for the Jan/June 2012
   4     internal email saying "We haven't received anything".       4      costs we are preparing a draft report reply in which we
   5        But then he reached the bottom of his pile of papers     5      state that we are willing to hold a meeting in order to
   6     on his desk, or something else occurred, and he             6      establish the definitive amount."
   7     discovered that the dispute notice had been sent. We        7         And so if you go back to his previous email, you
   8     don't know how he discovered it, but it is now              8      know that he was going to do that if the investigation
   9     acknowledged that it was discovered.                        9      revealed that the dispute notice was served in time. So
  10        We also understand that the 15 August stamp was         10      on 29 August Mr Giannini says "Well, if it was turned in
  11     applied by Mr Caropreso's secretary, after it was          11      time we are going to open a dialogue and we are going to
  12     received in his office. So it was not applied in Abuja     12      agree or try and agree" -- well, I imply that from the
  13     at all but it was applied in Port Harcourt. We don't       13      words "open a dialogue".
  14     know how it arrived in Port Harcourt but that is where     14         But on 4 September you see that that is what they
  15     the stamp was received.                                    15      are doing. They haven't gone for the other option.
  16        Then if we go to tab 580 latterly at last, and that     16      They haven't demanded money. They haven't decided to
  17     is an internal Eni/NAE email -- in fact it's an internal   17      demand money. They've decided to open a dialogue.
  18     NAE email, in terms of the people who are on it, as far    18     MR LEW: The notice of dispute, what did that ask for?
  19     as I understand, and we turn to the English translation    19     MR WADE: Sorry?
  20     on page 388, and Mr Giannini is updating Mr Pagano on      20     MR LEW: What did the notice of dispute ask for?
  21     the developments with regard to the dispute notice.        21     MR WADE: The notice of dispute did two things, and I am
  22        He says in the first paragraphs:                        22      looking at it conveniently. It is at tab 579 on
  23        "We have received this. We need to investigate          23      page 335, but it did two things. It identified
  24     what's happening."                                         24      a particular item which should not have been claimed as
  25        Sorry:                                                  25      an adjustment, and it said: as a result, your notice

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   1        "We have received this."                                1       can't be final. So your final adjustment notice can't
   2        And he gives the background in the first paragraphs,    2       be final because it has an incorrect entry in it. It
   3     and it is the final two paragraphs from which I draw my    3       says: in any event we can't address this within the
   4     conclusions in a minute.                                   4       time, we don't know if it is right or wrong, and our
   5        He says:                                                5       interpretation of that letter is that we, therefore,
   6        "We are verifying with legal if the response from       6       challenge it because we need more time to evaluate the
   7     Allied was sent and delivered in the time defined by the   7       claims that you are making.
   8     SPA."                                                      8         So it concludes with a request for a meeting. But
   9        He says:                                                9       you will recall, and this is important, in my
  10        "If so or in which case [after the brackets] we will    10      submission, that once they had discovered the dispute
  11     open a dialogue with Allied. If it is not [he continues    11      notice NAE only intended to comply with that request for
  12     in the next paragraph] otherwise it our intention to       12      a meeting if the dispute notice was received in time,
  13     apply the SPA requiring the payment of the first           13      according to their investigation, and then they did.
  14     tranche."                                                  14      So --
  15        So an internal investigation is launched by NAE/Eni.    15   LORD HOFFMANN: Anyway, that's the evidence that shows you
  16     There is a bit of a gap in the documents and               16      were right?
  17     I understand that they were identified to us in the        17   MR WADE: Yes, that is the evidence that shows we were
  18     disclosure process, but they are privileged so we don't    18      right. It raises questions which are, I suppose, not
  19     have them, and that is not something we complain about.    19      for me to answer but it does raise questions about the
  20        But if you go to the next tab, at tab 581, we see       20      basis of the finding previously made about the good
  21     another update from Mr Giannini to Mr Caropreso and        21      faith nature of the claim made under the adjustments
  22     others, including Mr Pagano, and the subject is "Dispute   22      guarantee. Whether that would have had any difference,
  23     period with respect to the final adjustment statement      23      I don't know if it would, in terms of your award, but it
  24     under the SPA". You have the conclusion of the             24      is nevertheless an important question to think about as
  25     investigation.                                             25      you consider the evidence that you hear in this hearing.

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   1          (Pause).                                                 1        Mr Taylor concludes in relation to -- and this is
   2          I want to leave that issue for now. We'll revisit        2     how he conducted the investigation -- that for costs to
   3      it, I believe, in the course of the hearing. If you          3     be recoverable as adjustments they had to be permitted
   4      have any more questions about that, then I will happily      4     costs, and he considers that he is -- as a chartered
   5      address them. Or I will try to, when I say "happily".        5     accountant whom might have been appointed to conduct the
   6          On the slides I go through these very same emails        6     independent expert analysis or at least a person of
   7      that we've just seen. It is probably better to see them      7     similar qualifications, he has reviewed the contract and
   8      in the flesh.                                                8     he considers that there are categories of items, claims
   9          The slide there is the email covering the actual         9     which are permitted, and to fall within a claim that is
  10      letter which the Tribunal might recall on                   10     allowed the claims must be permitted under the contract.
  11      11 September --                                             11     The costs must have been incurred between the date of
  12    THE CHAIRMAN: That's the next letter in the series.           12     the SPA and completion, so 31 December to 28 June. They
  13    MR WADE: The next letter is when NAE does actually invite     13     must be supported by adequate third party documentation.
  14      Allied to hold a hearing on the 19th, and there are         14     So he agrees that the claim must be proven. And one of
  15      expressions of willingness to meet and resolve the          15     the other issues which arises from the adjustments
  16      issue. We rely on that -- initially we relied on that       16     process is that NAE had to show proof of payment.
  17      for waiver and now we rely on it as proof that the          17        Now, Mr Good, the expert appointed be NAE, doesn't
  18      dispute notice was received on time according to NAE's      18     agree with all of those points but he doesn't disagree
  19      own investigation and, alternatively, if that is not        19     with them either necessarily. His instructions prevent
  20      proven, then it is certainly evidence of waiver, and the    20     him from analysing the contract on the grounds that
  21      documents we've seen go to both issues as well.             21     these are legal questions. So he doesn't offer
  22          The other aspect which I would briefly address in       22     a different conclusion, he just doesn't say anything.
  23      relation to the adjustments, the Tribunal is aware that     23     So you have evidence as to how this clause should
  24      the respondents' case is that matters which shouldn't       24     operate from an expert accountant and you have another
  25      have been claimed were claimed within the adjustments       25     expert accountant who agrees with many of the

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   1       and our clients' alternative case in relation to this       1     mathematical calculations but not the basis under which
   2       claim is that if we are entirely wrong or misapplied the    2     they are applied.
   3       law, and the dispute notice was received late and not       3        There are two final points which can be made about
   4       waived, and the timeliness wasn't waived, and you do        4     Mr Taylor's analysis. The first one on the slide is
   5       have jurisdiction to determine the issue, then it would     5     I think a relevant and important one, although it's not
   6       be wrong for you -- it would be unconscionable and          6     the final answer. The first point is that on the date
   7       contrary to the parties' intentions for you to simply       7     of the final adjustment statement, the FAS, only
   8       rubber stamp a dispute notice -- sorry, a final             8     6.8 million of the 48 claimed was properly supported and
   9       adjustment statement which is known to be wrong.            9     within the dates permitted. So at the date of the FAS,
  10          So our case has always been put that if you do get      10     of the 48 million only 6.8 million was supported by the
  11       to considering the adjustments claim on its substance --   11     documents produced. That's relevant to your
  12       so this is our alternative case -- then you mustn't just   12     consideration of Allied's response to this final
  13       rubber stamp the final adjustment statement, you must      13     adjustment statement. Were they completely bonkers when
  14       look at whether the claims were validly made. We           14     they wrote back and said "We need more time, this
  15       invited the claimant to prove its claim. In the end,       15     doesn't make sense"? Or was their response a reasonable
  16       they tried to do that but, of course, they can't prove     16     one in the circumstances?
  17       the entire final adjustment statement, nor their claim.    17        The next point which isn't on this slide is that,
  18       In this regard, we have adduced expert evidence from       18     finally, following disclosure of additional documents by
  19       Mr Taylor in relation to which of the items claimed        19     Mr Good in relation to the final adjustments statement
  20       under the final adjustments statement were properly        20     claims, Mr Taylor concludes now that if you have
  21       claimed.                                                   21     jurisdiction to look at this at all, then the correct
  22          This is an area on which I should say the experts       22     amount that was properly claimed is 28.1 million. But
  23       agree less on, although they don't completely disagree.    23     he is only able to reach that conclusion on the basis of
  24       They agree on many issues, but the questions they don't    24     evidence provided after the close of submissions by
  25       agree upon I will highlight in a minute.                   25     NAE's expert witness.

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  1         That brings me to the end of my pre-hearing                        1     arbitration?
  2       submissions, subject to any questions or comments that               2   A. Yes, it is.
  3       you have.                                                            3   Q. And if you turn to the end of the document, page 59 in
  4     THE CHAIRMAN: Thank you very much. That's very helpful                 4     the bundle, is that your signature at the end of the
  5       from both sides.                                                     5     document?
  6         Now, it is 4.25 pm. We have on the schedule one                    6   A. Yes, it is.
  7       witness. Shall we start with that witness?                           7   Q. Is there anything that you wish to amend or add to your
  8     MR NESBITT: Do I have an opportunity to reply to Mr Wade?              8     witness statement?
  9     THE CHAIRMAN: No. Was that provided for in --                          9   A. No.
  10    MR NESBITT: It wasn't expressly provided for, but I think             10   MR NESBITT: Thank you, Mr Cerrito. If you wait there the
  11      the agreement was -- or the direction was that each                 11     respondents' counsel will have some questions for you.
  12      party would have two hours each for opening. I think                12             Cross-examination by MR WADE
  13      I've got a little bit of time left. I haven't                       13   MR WADE: Good afternoon, Mr Cerrito. You have your
  14      calculated it.                                                      14     statement there and have you opened it to the right tab?
  15        Yes, and I think Mr Wade said that he thought that                15   A. Yes.
  16      we might be longer in reply than in opening, as                     16   Q. I understand from your statement that between
  17      I recall, but I don't think it should come as a surprise            17     August 2009 and April 2012 you were the finance and
  18      but I am obviously in the Tribunal's hands. (Pause).                18     control manager for NAE; is that correct?
  19    THE CHAIRMAN: No. You will have a chance in due course to             19   A. That's correct.
  20      reply, but it may be in writing, so there will be no                20   Q. And you were responsible in relation to the PSC that's
  21      further submissions at this point.                                  21     relevant to this case and the OMLs for preparing
  22        Shall we have a 15-minute break and then we can                   22     financial statements, cost recovery and cash flow --
  23      start with our first witness?                                       23     internal control and cash flow and relations with
  24    MR NESBITT: That will be Mr Cerrito.                                  24     partners.
  25    THE CHAIRMAN: Very well.                                              25   A. Yes.

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  1     (4.24 pm)                                                              1   Q. Correct?
  2                   (A short break)                                          2   A. Correct.
  3     (4.38 pm)                                                              3   Q. You were also part of the management committee or Macom
  4                 MR GIUSEPPE CERRITO (called)                               4       as we refer to it; is that correct?
  5     THE CHAIRMAN: Good afternoon. Could you state your name                5   A. Correct, yes.
  6       for the record, please.                                              6   Q. And after April 2012 you became the general manager
  7     A. Yes, I am Giuseppe Cerrito.                                         7       corporate and finance control for NAOC.
  8     THE CHAIRMAN: Very good. And you've provided a witness                 8   A. Yes.
  9       statement in these proceedings.                                      9   Q. And I understand that NAOC is Eni's onshore producing
  10    A. Correct, yes.                                                      10       company in Nigeria; is that correct?
  11    THE CHAIRMAN: And you understand that it is your obligation           11   A. That's correct.
  12      to tell the truth?                                                  12   Q. And at the same time you remained a director of NAE --
  13    A. Yes, I understand.                                                 13   A. Yes, I became a director of NAE.
  14    THE CHAIRMAN: And that the failure to intentionally to tell           14   Q. -- in April 2012.
  15      the truth could have serious consequences for you?                  15   A. Correct.
  16    A. Yes, I know.                                                       16   Q. Okay. You say in your statement at paragraph 13, I'm
  17    THE CHAIRMAN: Very good. Claimant, would you like to                  17       not sure if you want to look at it, but please do if you
  18      introduce the witness.                                              18       want to, that you attended Macom meeting number 9 in
  19            Examination-in-chief by MR NESBITT                            19       September 2009?
  20    MR NESBITT: Thank you, Mr Chairman.                                   20   A. That's correct.
  21        Good afternoon, Mr Cerrito. Could Mr Cerrito be                   21   Q. And that is the Macom meeting in which the GSO was
  22      given bundle D1, please.                                            22       approved; is that correct?
  23        Mr Cerrito, if you could turn to tab 5 in that                    23   A. Yes, that's correct.
  24      bundle, please. The document there, is that a copy of               24   Q. And at that point you were also aware of the side letter
  25      the witness statement that you've given in this                     25       to the Macom -- to the GSO; is that correct?

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   1    A. Yes.                                                       1   Q. And so you pre-empted my next question, thank you very
   2    Q. Okay. Can I ask you, please, to look at that side          2     much. My next question which you have just answered, is
   3      letter. It's in folder G12 at tab 291. It starts at         3     it correct that the AFE was approved at the amount you
   4      page 18. You can see at the top there is a heading          4     have just stated? I think it is 50.963 --
   5      "Side letter to the PSC on OML 120 and 121 regarding        5   A. I think so.
   6      Oyo-5 well intervention". Can you see that?                 6   Q. -- and that's referred to in paragraph 26 of your
   7    A. Yes.                                                       7     statement, isn't it?
   8    Q. Can you please turn to the final page of that document,    8   A. Yes.
   9      which is at 21. You see that there is a signature block     9   Q. And is it correct that there is no further AFE? There
  10      there which is signed and dated on 1 October -- well,      10     was no additional AFE after that?
  11      between 1 and 4 October 2012 -- 2010, I'm sorry. 2010.     11   A. Yes --
  12    A. Yes.                                                      12   Q. That was --
  13    Q. And just briefly, is the signature on the top right       13   A. -- this is correct.
  14      left-hand side, so the top left-hand side under NAE, is    14   Q. -- the final one?
  15      that the signature of Mr Pagano?                           15   A. There was no possibility to have a new AFE.
  16    A. Yes, that's correct.                                      16   Q. Okay. So now can I please ask you to turn to bundle --
  17    Q. And was Mr Pagano -- at that time, was he the directing   17     it's a new bundle to me, E3, at tab 4. (Pause).
  18      manager or the general manager of --                       18         That is the joint statement between Mr Nicholas Good
  19    A. Managing director and vice-president of the company.      19     and Mr Mark Taylor, both of whom are the quantum experts
  20    Q. Of NAE? Okay.                                             20     in this arbitration.
  21         Can you please turn to the second page of this          21         Do you see that?
  22      document at paragraph 2. In that paragraph you see that    22   A. Yes.
  23      Allied agreed to pay for the Oyo GSO -- if you don't       23   Q. You do. Can I ask you, please ... (Pause).
  24      mind I will just call it the GSO.                          24         Could I ask you, please, to turn to page 101 in that
  25    A. Yes.                                                      25     tab. 101. Turn to paragraph 5.2.

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   1    Q. That's correct, Allied agrees to pay?                      1   A. 5.2?
   2         Can you please also look at paragraph 4, and can         2   Q. Yes.
   3      you -- I won't ask you to read it to the Tribunal unless    3   A. Yes.
   4      the Tribunal wants it read. I find that generally --        4   Q. And the entry there is "Oyo-5 GSO costs".
   5    THE CHAIRMAN: No.                                             5        Can you see in the third column or the column to the
   6    MR WADE: But you see there that -- is it correct that if      6     right --
   7      there was an expenditure in excess of 10 per cent of the    7   A. Yes.
   8      AFE, then any expenditure in excess of that had to be       8   Q. -- can you see it says:
   9      approved by Macom? Is that correct?                         9        "The experts agree that the B1 documentation
  10    A. Yes, in excess of 10 per cent of the approved             10     referred to by Mr Taylor ..."
  11      authorisation of our expenditure.                          11        We'll go there in a second:
  12    Q. And if it was not approved by Macom, then Allied would    12        "... records an expenditure by Allied ..."
  13      not have to pay the excess, would it?                      13        It doesn't say that, let me read you what it says:
  14    A. Well, it is not written in this way because it is         14        "The experts agree that the B1 documentation
  15      written:                                                   15     referenced by Mr Taylor and Allied's schedule detail of
  16         "The costs overrun shall be presented to Macom for      16     GSO costs exhibit MPJT18 records expenditure of
  17      approval and if approved the financing of such costs of    17     44.5 million between April 2011 and March 2013 and notes
  18      overrun shall be the sole responsibility of Allied in      18     that the partial invoice supported received [and there
  19      accordance with the payment obligation."                   19     is a reference there] ties to amounts included in
  20         If it was not approved, well, it is not written         20     Allied's schedule of GSO costs."
  21      which are the consequences.                                21        Do you see that?
  22    Q. I understand. Thank you. We've read the provision         22   A. Yes, I saw that.
  23      and --                                                     23   Q. Good. In the paragraph below that, there is a reference
  24    A. However, just for clarification, the AFE was approved     24     to a different document:
  25      for $50.9 million.                                         25        "The experts also note that the schedule of Oyo-5

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Day 1                                                      NAE Arbitration                                                      15 June 2016

   1      GSO costs prepared by NAE shows 43.1 million paid by        1    A. Yes, 59,697,438.2 (sic).
   2      Allied and its affiliates which is 1.4 million lower        2    Q. Do you understand that to be the total cost of the GSO?
   3      (sheet 4 Oyo-5 GSO) workbook exhibited at MPJT24."          3    A. Well, I do not have this evidence because in the last
   4         Do you see that?                                         4      exchange we made between us and Allied we arrived at 56
   5         Then there is a reference to the fact that the           5      point something. In the range of 56 million.
   6      difference is probably due to the fact that the NAE         6    Q. Okay --
   7      document was produced earlier.                              7    A. Then in all that there were invoices not approved by
   8    A. Well, we draft the --                                      8      Allied. There were negotiation ongoing with some
   9    Q. I'm just asking --                                         9      contractors which were -- to which Allied was trying to
  10    A. -- the payment until June 2012.                            10     reduce the amount of the invoices, like Schlumberger.
  11    Q. Correct. So the reference explains there the difference    11     So I'm not able to say which is the final amount.
  12      between the two schedules; correct? That one produced       12   Q. So can I ask you, please, to turn to folder F20 at
  13      earlier than the other?                                     13     tab 24. That is the other document we looked at before
  14    A. Correct.                                                   14     in the joint expert report. This is easier to identify
  15    Q. So you agree that Allied paid -- of the GSO costs Allied   15     and it might be easier for you in particular, but if you
  16      paid $44.5 million towards the GSO costs? Do you agree      16     look on the first page, 110, you see that there is the
  17      that?                                                       17     final adjustment statement. That is the title there.
  18    A. Well, I have -- I had evidence for 43 million. The         18   A. Yes.
  19      additional 1.4 I believed the experts was able to get       19   Q. And if you go to page 114 --
  20      the evidence. We received the evidence until June 2012      20   A. Yes.
  21      for $43 million.                                            21   Q. -- we have there a breakdown of the GSO costs.
  22    Q. That's what --                                             22   A. Yes.
  23    A. Which Allied paid and recovered.                           23   Q. Is that correct? If you look at the total amount of US
  24    Q. -- what you agree. And you do not agree the figure of      24     dollars, that is an amount you were just mentioning --
  25      44.5 of which you're not aware?                             25     the approximation you were just mentioning, isn't it?

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   1    A. I -- well, I do not have direct evidence of the             1   A. Well, I --
   2      additional 1.4.                                              2   Q. It's a bit higher than you said, it is 57.
   3    Q. Yes.                                                        3   A. That's correct, 57. I'm not sure that all the costs
   4    A. I have the evidence for 43.                                 4     included in these table were supported by final
   5    Q. Can I ask you, please, then, to go to folder F20 --         5     invoices, in the sense that at that time there were
   6      sorry, F19 is -- that's the one he agrees.                   6     still a discussion and a negotiation with contractors to
   7         Can you open, please, F19 at tab 18. This document        7     finalise the cost.
   8      is -- which you can glean from the index prepared by         8   Q. I see.
   9      claimants' counsel., this document is exhibit MPJT,          9   A. We were providing a table like these frequently. We
  10      which was referred to in the table you just looked at in    10     tried to reconcile both positions.
  11      the joint statement at paragraph 5.2.                       11   Q. I understand. Thank you.
  12         Please don't worry, I'm not going to ask you to          12        So here you have also the lower amount, the amount
  13      agree the amounts here.                                     13     paid of 43.08 million, which is the amount paid by
  14    LORD HOFFMANN: You did say 19?                                14     Allied --
  15    MR WADE: It is F19, tab 18.                                   15   A. Yes.
  16    LORD HOFFMANN: Oh, tab 18. Sorry.                             16   Q. -- and we said it's the lower amount because this is
  17    MR WADE: I am going to ask you to turn to the final page of   17     an earlier document; correct?
  18      that printout of a spreadsheet.                             18   A. Correct.
  19    A. Yes.                                                       19   Q. And turning back to the question of the level of the
  20    Q. Page 278.                                                  20     FAE, we said that the FAE was approved costs of the GSO
  21    A. Yes.                                                       21     at $50,963,912, and that's correct. And if we add
  22    Q. I will ask you, please, to look at column 9, 9 starting    22     10 per cent to that, would you agree that the total is
  23      from the left and going right, under the heading "Final     23     just over 56 million?
  24      invoice amount endorsed". Can you please read out the       24   A. Yes, that's correct. However --
  25      total of the final invoice endorsed there?                  25   Q. And --

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   1    A. -- this was -- if I can clarify, this was one of the                1       you were part of the team that negotiated the SPA
   2      points, because just for your understanding, this table,             2       amendment.
   3      since it is including the payment of March 2012, means               3   A. Yes.
   4      that this is a table prepared more than one year after               4   Q. Can you please tell us or tell me who else was on the
   5      the GSO was sent, and there is a clear -- it was                     5       team.
   6      reflecting what was happening during that period that                6   A. Well, the team is usually composed by the lead
   7      there were negotiations ongoing with the contractor.                 7       negotiator, the --
   8      The invoices were still under discussion. The payments               8   Q. Can I stop you. Can you please tell me the name and
   9      were not done. The contractors were claiming for the                 9       their role straightaway?
  10      payments. And the value -- final value of the GSO was               10   A. Yes, Mr Vicini was the lead negotiator of -- for that
  11      not yet closed.                                                     11       transaction. Then we have Mr Ellis Ebohon for the legal
  12         This was an estimate prepared in -- I believe in                 12       aspect and --
  13      June or in -- between May and June 2012 and --                      13   Q. Was he involved in that transaction?
  14    Q. Mr Cerrito, I'm sorry --                                           14   A. Well, to look at the legal aspect, to cover the legal
  15    A. -- it is not the final estimate.                                   15       aspects, of course.
  16    Q. I'm sorry to interrupt, and I apologise to the Tribunal            16   Q. Was anybody else involved in that PSC amendment?
  17      for the interruption. Because of the time I want to                 17   A. Yes. Probably not -- well, the team -- the main part of
  18      move on.                                                            18       the team was composed by myself, by Mr Vicini and by the
  19    THE CHAIRMAN: Mr Cerrito, I think the point was what was              19       legal party.
  20      the amount that was authorised?                                     20   Q. And was Mr Pagano involved at all?
  21    MR WADE: Right.                                                       21   A. Of course, but it was not him holding the direct
  22    THE CHAIRMAN: And I think --                                          22       negotiation. During a negotiation there is always
  23    MR WADE: I am loath to interrupt you at all but                       23       a team which is following the amendment of the
  24      I apologise.                                                        24       documents, all the aspects relevant to the negotiations,
  25    THE CHAIRMAN: So if you could just answer the questions as            25       and then at management level to which we are presenting

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   1      directly as possible.                                                1       the results of the negotiation, which is deciding about
   2    A. Mr Chairman, the point -- just because if in June 2012              2       the --
   3      we arrived at this amount, because we get this amount in             3   Q. And was Mr Casula also part of the management level of
   4      June 2012 more or less, because in April we were still               4       the team?
   5      earning something which was a lower amount, which was in             5   A. Yes, of course. He was the chairman of the company.
   6      the range of 55/56 million. We have communication                    6   Q. And he did participate in negotiations in relation to
   7      between the parties, we can see. Since we were in                    7       the amendment?
   8      June 2012, we were closer to the completion of the SPA,              8   A. Not directly in the negotiation. All our exchange of
   9      the completion date. At that time there was no                       9       emails or communication between the two negotiations
  10      possibility to call for a Macom to revise the AFE.                  10       teams.
  11    THE CHAIRMAN: Wait a second. That's fine. Now you're                  11   Q. So not at the lower level?
  12      explaining why it wasn't approved, as far as I've                   12   A. Not at your -- in the negotiation team directly. Of
  13      understood.                                                         13       course, he was part of the management team to which we
  14    A. This is my --                                                      14       were referring to.
  15    THE CHAIRMAN: You weren't asked that question directly.               15   Q. And if the management part of the team reached
  16      The lawyers for the claimant can ask you questions in               16       an agreement or a decision with the management part of
  17      redirect --                                                         17       the other side's team --
  18    A. I'm sorry.                                                         18   A. Yes.
  19    THE CHAIRMAN: But --                                                  19   Q. -- was that the decision that you had to implement in
  20    MR WADE: But in fact my next question was going to be, was            20       your drafting?
  21      there ever an approval of the costs beyond 10 per cent?             21   A. Well, if there is a decision, if there is a decision at
  22      And I think you just said that there was never approval             22       a higher level, usually the management level call the
  23      for more than the additional 10 per cent. I understand.             23       negotiation team asking for the implementation of -- for
  24      Thank you.                                                          24       a proposal which include the implementation of such a
  25         Moving topic, then, you say in your statement that               25       decision.

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  1     Q. I understand, thank you.                                            1       is currently the chief executive, CEO, of Eni at the
  2     A. This is the process.                                                2       moment.
  3     Q. And when you were negotiating the SPA amendment, NAE's              3   Q. And in the cc line, the copied line, you see the people
  4       primary objective, and perhaps both parties, but NAE's               4       are mentioned Mr Magnani, Mr Ranco. Is it Ms Ranco?
  5       primary objective was to achieve completion, wasn't it?              5       Mr Dall'Omo, Mr Pagano, Mr Bollini. I think that's a
  6     A. Yes, it was.                                                        6       Mr, or it might be that that is a lady.
  7     Q. And the reason you were so keen to achieve completion               7         Are those people in the cc line, are they board
  8       was that the deal that you secured was -- and by "deal"              8       members of Eni's exploration and production division or
  9       I mean the payment that was agreed under the SPA -- was              9       were they directors of some other company?
  10      a vastly inflated payment for the interest that was                 10   A. They were at that time in charge of various departments
  11      being sold, wasn't it?                                              11       in the exploration and production division.
  12    A. Well, I didn't understand really the --                            12   Q. The subject of this email is "Nigeria OML 120 and 121
  13    Q. So the --                                                          13       assignment update"; is that correct?
  14    A. So the payment --                                                  14   A. Yes.
  15    Q. -- payment that Allied promised to pay NAE was vastly in           15   Q. I should say perhaps, members of the Tribunal, that
  16      excess -- vastly means by a very great deal -- in excess            16       I will be finished very soon. This is the last document
  17      of what the interest was worth. That's correct, isn't               17       I intend to take -- just because of the time.
  18      it?                                                                 18   THE CHAIRMAN: Thank you very much.
  19    A. Well, I do not agree with this sentence, in the sense              19   MR WADE: So we're not staying all night.
  20      that I believe we provided to -- in the sense that in               20         Can you briefly quickly read the email to
  21      the documents, the value of our asset in our book was in            21       Mr Descalzi, which starts with "Claudio".
  22      the range of $240 million.                                          22   A. Yes:
  23    Q. Can I ask you please to open G21.                                  23         "Below is the note shared with the competent
  24    THE CHAIRMAN: Were you finished?                                      24       function that illustrates the final condition with
  25    MR WADE: Sorry, I didn't mean -- I apologise if I had                 25       respect to the represented to the board of directors,

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   1      interrupted. I thought you had reached a natural                     1       the primary difference is the guarantee given for the
   2      conclusion.                                                          2       balance of the consideration. Now ultimate parent
   3    A. The value of the asset in our books was $240 million,               3       company guarantee originally bank guarantee."
   4      more or less, if I remember well, but the range is in                4   Q. I'm sorry, I didn't mean you to read it out loud, if
   5      this one in this way, and so the value of the asset was              5       I want you to read out loud I will ask you to. That's
   6      not so far -- the consideration was not so far from the              6       very kind of you. But I do invite the Tribunal to read
   7      value of the asset. This was the object -- the                       7       the email, I just don't want to waste time on reading it
   8      objective of our -- I mean, the target of our                        8       out loud.
   9      transaction, this value.                                             9         But on the penultimate line before the end of the
  10    Q. Can I ask you to turn to volume G21, please, at tab 550.           10       email, it says "the first $100 million are already
  11    LORD HOFFMANN: Tab?                                                   11       paid."
  12    MR WADE: Tab 550.                                                     12         Correct?
  13         The first page of the exhibit is 107, and --                     13   A. Correct.
  14    A. Yes.                                                               14   Q. And the signature is now scheduled on the 28th. Is it
  15    Q. -- the English is at 109. Can I ask you, please, to                15       fair to say that this email was presenting the terms of
  16      turn to page 109.                                                   16       the agreement that had been reached in relation to the
  17    A. 109.                                                               17       assignment of the OMLs in June 2012?
  18    Q. At the top of that page, can you see that the first                18   A. Well, I was not part of this email. The email was sent
  19      email in this chain is an email from Mr Casula to                   19       on the 26th. I suppose that this is confirming the
  20      Mr Descalzi, Claudio Descalzi?                                      20       terms of the agreements which were analysed on the 28th.
  21    A. Yes.                                                               21   Q. So the first amendment agreement?
  22    Q. Can you please explain to the Tribunal who Mr Descalzi             22   A. The first amendment --
  23      was at the time and who is he now?                                  23   Q. This is informing the directors of the terms of the
  24    A. Yes. Mr Descalzi was the chief operating officer of the            24       first amendment; correct?
  25      exploration and production division at that time, and he            25   A. I guess. I mean --

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Day 1                                                     NAE Arbitration                                             15 June 2016

   1    Q. And can you turn to the next page, please, and although    1   A. Yes.
   2      we don't have a signature, we're looking at the email       2   Q. You see that there? And that's the term that was
   3      which Mr Casula was forwarding to Mr Descalzi from          3     agreed, wasn't it?
   4      Mr Pagano, in which the terms are actually summarised.      4   A. Yes.
   5    A. Which email is it?                                         5   Q. Further down, under the heading "Conclusions", there is
   6    Q. So the email which you started reading out loud was the    6     a comment, bullet point 3:
   7      email from Mr Casula to Mr Descalzi and he is forwarding    7         "Already with the payment at closing of the first
   8      an email from Mr Pagano, isn't he?                          8     tranche of the consideration..."
   9    A. Yes.                                                       9         And that's a payment that had already been made:
  10    Q. And the email from Mr Pagano has the same heading,        10         "... Eni obtains better value compared with the
  11      121 -- "120/121 assignment update", and the second         11     expected residual value in the event of no assignment.
  12      paragraph starts:                                          12     It is believed that even with the new terms reported
  13         "In the context of the realisation process of the       13     above, the assignment opportunity is in Eni's interest
  14      Eni ENP portfolio" ..."                                    14     and thus should be pursued."
  15         I stop there for a second, since we're there, at        15         So my question to you is that Mr Pagano here is
  16      this time Eni had decided to sell off a number of its      16     describing that even with a payment of $100 million,
  17      assets; is that correct? Do you know if that's correct?    17     about 40 per cent of the agreed price, Eni has already
  18      Around June 2012, Eni was in a process, a general          18     made better value than keeping the asset? That's what's
  19      process, of selling off exploration and production         19     he's saying here; right?
  20      assets?                                                    20   A. Well, the fact that it is a do nothing profile -- so
  21    A. General process, I cannot say. To sell oil well 120 to    21     looking at the value based on --
  22      121.                                                       22   Q. Can I first ask you, is that what he is saying here?
  23    Q. Well, if you can't say, then you can't. But he says       23   A. This is what he said but it is not --
  24      here -- he explains the nature of the holdings in the      24   Q. And therefore --
  25      OMLs, and he goes on to say at the conclusion of the       25   THE CHAIRMAN: Just a second, if you would like to add a

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   1      farm-out process on 29 December, NAE and Allied, I am       1     comment, please do.
   2      paraphrasing, agreed a price of 250 million and he gives    2   A. If I can explain, the point that the value of the asset
   3      the schedule of payments in the paragraph below.            3     is calculated only on the do nothing profile of the two
   4    A. I'm sorry, I'm --                                          4     wells was giving the value which is, of course, a low
   5    Q. He lists the schedule of payments that's agreed, and       5     value of the asset. Of course, when you make
   6      then at the bottom of 109 there's a list of agreed          6     an evaluation of the asset you have various scenarios.
   7      comments.                                                   7        In the case, if we were looking at the redevelopment
   8    A. Yes.                                                       8     of the asset, it is -- because when we evaluate an asset
   9    Q. Then at the top of 110 there is a discussion about bank    9     we have usually different scenarios. If we were looking
  10      guarantees or guarantees, and then in the paragraph        10     at the redevelopment of the asset with additional
  11      after that, starting on 1 June --                          11     investment, additional intervention, it possible the
  12    A. 2012.                                                     12     value was different from the negative one represented in
  13    Q. -- "Allied notified NAE of its difficulties in            13     these -- in the present email, in the sense that --
  14      finalising the transaction under the terms described       14   THE CHAIRMAN: Just a second but I am just looking at the
  15      above. After further discussion, after having extended     15     email. The email says -- it doesn't talk about other
  16      via mutual accord the long-stop date to 28 June the        16     scenarios. It talks about --
  17      parties agreed as following ..."                           17   A. It is --
  18         Then again there is a list of payments.                 18   THE CHAIRMAN: "The first tranche of the consideration Eni
  19         And then there is a section sign, I don't know what     19     obtains a better value compared to the expected residual
  20      that's called, that section sign. It says:                 20     value in the event of no assignment."
  21         "The adjustments related to the costs sustained by      21        And I think the comment was, do you have any comment
  22      NAE in the period from January to June 2012 shall be       22     on that? This is not your email, I don't believe, and
  23      paid by Allied following the issuance of a parent          23     do you have any comment on that particular sentence?
  24      guarantee by CAMAC International in favour of NAE for      24   A. The only comment that I can add to this email is the
  25      the corresponding value."                                  25     fact that I was the finance manager of the company and

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  1       I know -- I know that the net value of the asset at that             1       we were never asked for the additional evidence.
  2       time was $240 million. I believe that we represented                 2   Q. If they had attended that meeting and -- you were
  3       this value to our internal -- to Eni's board of                      3       willing to provide the additional evidence?
  4       directors. I needed to check what we represented to                  4   A. Of course. At that time probably not all -- at that
  5       them, but I remember that this was one of the                        5       time probably not all the documents. If you are
  6       information provided to the top management for                       6       referring to the meeting of September 19, probably not
  7       submission of the approval to the Eni board of                       7       all the documents were still available in September,
  8       directors. One of the information was the value in our               8       because the time to recover all the invoices, accept all
  9       books was $240 million.                                              9       the invoices and make the payment probably was not
  10    THE CHAIRMAN: But he doesn't mention that in his email.               10       enough to have all the documents in September. But, of
  11    A. No, because this is an internal email to the management.           11       course, we were providing what we had been able to get
  12      It is not the what it was represented to the Eni board              12       at that time.
  13      of directors. The Eni board of directors, the approval              13   Q. And if in the meeting in September the invoices showed
  14      was got before that email, because we represented -- we             14       that you had asked for too much, would you then accept
  15      presented our deal to the Eni board of directors before             15       a lower payment?
  16      this email. So it was the -- the deal was already                   16   A. If there was a clear mistake, why not?
  17      approved. What he was presenting to the CEO at that                 17   MR WADE: Thank you. I have no more questions.
  18      time was an updated situation on the negotiation but not            18               Questions from THE TRIBUNAL
  19      the full picture of the value of the asset.                         19   THE CHAIRMAN: Were you involved in sending the final
  20    MR WADE: Do you by any chance know why Mr Pagano is not               20       adjustment statement to Allied?
  21      giving evidence in this arbitration?                                21   A. Yes, I was.
  22    A. No, no, I don't know.                                              22   THE CHAIRMAN: Were you involved in sending the supporting
  23    Q. One final question then, please. You believe that it's             23       data to Allied?
  24      correct that if -- that a party should only be entitled             24   A. Not directly. The supporting data that were sent in
  25      to claim costs if he can prove that he's paid them.                 25       July 20 -- sorry, in June 2012 dealt -- of course

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   1      That's correct, isn't it?                                            1       I know, because the activity was done by Mr Caropreso
   2    A. Well, this was not the intention of the parties. At the             2       which was the finance management at the time and he told
   3      time we finalised the adjusted -- the final adjustment               3       me that he collected -- he took at least two weeks to
   4      statement, because in June 2012 -- in July 2012, when we             4       collect all the available documents with his own
   5      presented the final adjustment statement, there was, of              5       department, involving two or three staff of his own
   6      course, no time to recover all the supporting documents              6       department. So they collect all the documents
   7      of the cost included in the final adjustment statement,              7       available, they scanned copies of the invoices, and
   8      because, of course, there were -- there were invoices                8       the -- and they downloaded the entire books of the
   9      not yet received. So the final adjustment statement was              9       company from our SAP system. So we -- as company we
  10      based for some months on an estimate -- on costs which              10       have a subsystem in which we were booking all the
  11      were supposed to be the final value, in the sense that              11       transactions. The transactions were transparent to
  12      in the management of a contract with a third party                  12       everybody, in the sense that downloading all the
  13      contractor you receive the invoice after the service has            13       transactions, everything was tracked, the right
  14      been rendered. Therefore, for the invoices relevant to              14       transaction, the wrong transaction and the reversal of
  15      June even to me the final invoice and, of course, the               15       each transaction.
  16      payment that usually make after 40/45 -- six days has               16   THE CHAIRMAN: And that information, when was that provided?
  17      not been made. So it was not possible in the short                  17   A. It was provided together with the final adjustment
  18      period provided by the SPA to provide to Allied all the             18       statement, one day before the final adjustment
  19      supporting documents with evidence of the payment                   19       statement. There was a CD provided by letter --
  20      already -- all the payments done.                                   20   THE CHAIRMAN: I see that the date of it is July 23 but
  21         But despite this factor, we -- after the submission              21       I also see the receipt is apparently exactly the same
  22      of the final adjustment statement we gave the                       22       time by Allied. Do you have any explanation for that?
  23      opportunity to Allied to sit together, to reconcile the             23       Was it sent out on July 23 or July 24?
  24      position, to provide additional information, if they                24   A. I cannot answer. I believe it was the 23rd -- usually
  25      needed, to provide additional evidence. Unfortunately,              25       our -- what we were doing -- this was not the case but

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  1       usually we were advancing to our partner the letter by             1                             INDEX
  2       emails, because this was our general practice, advancing           2                                                 PAGE
  3       the letter by emails, then providing the original                  3       Housekeeping .........................................1
  4       document by courier.                                               4
  5     THE CHAIRMAN: Yes. So you provided all of this material on           5       Opening submissions by MR NESBITT ....................5
  6       a CD-ROM and they received it on July 26 when they                 6
  7       received the final adjustment statement --                         7       Opening submissions by MR SHOESMITH .................30
  8     A. Yes --                                                            8
  9     THE CHAIRMAN: -- is that correct?                                    9       Further opening submissions by ......................48
  10    A. -- we have the evidence that they received -- we have            10             MR NESBITT
  11      the stamp on the letter. In the letter -- the original            11
  12      letter -- the original letter that we provided to them            12       Opening submissions by MR WADE ......................82
  13      is stamped by Allied on July 26.                                  13
  14    THE CHAIRMAN: So they would not have had a chance to review         14       Opening submissions by MR GUNNING ...................90
  15      the CD before they received the final adjustment                  15
  16      statement; is that correct?                                       16       MR GIUSEPPE CERRITO (called) .......................158
  17    A. Well, in the CD there was already the breakdown of the           17
  18      costs --                                                          18            Examination-in-chief by MR NESBITT ..........158
  19    THE CHAIRMAN: Excuse me --                                          19
  20    A. Yes, I don't believe they were able to --                        20            Cross-examination by MR WADE ................159
  21    THE CHAIRMAN: They received them virtually at the same              21
  22      time?                                                             22            Questions from THE TRIBUNAL .................183
  23    A. Yes.                                                             23
  24    THE CHAIRMAN: That was the only question.                           24
  25    A. Yes, I believe, yes.                                             25

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  1     THE CHAIRMAN: Okay.
  2          Redirect?
  3     MR NESBITT: No redirect, thank you Mr Chairman.
  4     THE CHAIRMAN: Thank you very much. No further questions,
  5       then. You are released, Mr Cerrito. Thank you very
  6       much for your testimony.
  7     A. Thank you everybody.
  8     THE CHAIRMAN: Shall we now adjourn until tomorrow morning
  9       at 10.00 am?
  10    MR NESBITT: If we must, Mr Chairman.
  11    THE CHAIRMAN: I look forward to seeing you at 10.00 am.
  12    (5.30 pm)
  13         (The arbitration adjourned until 10.00 am
  14                 on Thursday, 16 June 2016)
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